Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.9 Filed 09/03/13 Page 1 of 162

EXHIBIT
4

_ Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.10 Filed 09/03/13 Page 2 6f162

 

 

 

Plaintiff ce vs. Ce Defendant

Federal Home Loan Mortgage Cor Nitin Amersey
Ocwen Loan Servicing, Llc

TAKE NOTICE
Bring this NOTICE with you.

The case of Federal Home Loan Mortgage Cor vs. Nitin Amersey

has been set for JURY TRIAL on September 24, 2013 at 9:00 AM.

before the Hon. M. Randall Jurrens, District Judge.

You must appear in courtroom 303 on the above date at the time scheduled.
All requests for adjournment must be in writing and directed to

the Hon. M. Randall Jurrens, District Judge.

Date: August 6, 2013 Jury Clerk: Courtney Eggebrecht
Phone number: 790-5387
FORM: CIS250P-JT

 

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.11 Filed 09/03/13 Page 3 of 162
 

Case 4:13-eV-13753-TLL-PTM~ ECF'No. 4-2) Pégelb.12 Hiled-o9/b3/13- Page 4of 162! |. — —-.

See

 

 

Plaintiff VS. 7 Defendant

Federal Home Loan Mortgage Cor Nitin Amersey _ .
Ocwen Loan Servicing, Lic

TAKE NOTICE
Bring this NOTICE with you.

 

The case of Federal Home Loan Mortgage Cor vs. Nitin Amersey

has been set for SETTLEMENT on September 13, 2013 at 9:00 AM

before the Hon. M. Randall Jurrens, District Judge.

You must appear in courtroom 303 on the above date at the time scheduled.
No case that is set can be adjourned except by written stipulation or for

cause shown upon oath. All cases are called promptly at the time specified,

and on those not answered by either party, default or dismissal may be entered.

Date: August 7, 2013 | | Deputy Clerk: Gwen Rhodes
Phone number: 790-5366
FORM: CIS250P-NJ

 

 

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.13 Filed 09/03/13 Page 5 of 162
 

£

* Gase 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.14 Filed 09/03/13 Page 6 of 162

STATE OF MICHIGAN —

 

Deborah S. Lapin (59027)

Attorney for Third-Party Defendant —

1760'S. Telegraph Road, Suite300
Bloomfield Hills, MI 48302.

= (248)335-5000

7th DISTRICT JUDICIAL COURT

~ Federal Home Loan -

Mortgage Corporation, 7 , oO

Case No. 13-1199-LT(5)-
Plaintiff, Hon. M. Randall Jurens
| DEFENDANT'S FIRST SET OF.
REQUESTS FOR ADMISSION Ds
Nitin M. Amersey,
Defendant.
‘Nitin M. Amersey,
| Thisd Py Plaintiff,

Ves:

~ Ocwen Loan Servicing, LLC,
Third-Party Defendant. | co

Trott & Trott, P.C. Jerome D. Goldberg, PLLC. ~
Donald J. King (P55358) Jerome D. Goldberg (P61678) :
_ Attorney for Plaintiff Attomeys for Defendant/Third-Party Plaintiff

31440 Northwestern Hwy., Suite 200. 2921 East Jefferson, Suite 205 OS
Farmington Hills, MI 48334 Detroit, MI 48207

(248) 723-6452 oO (313) 393-6001 |

Herz Schram -~ Kathy H.: Murphy (P51422)

Attorney for ee Th Party Plaintiff

_ P.O. Box 51164

Livonia, MI 48150.
(734) 578-1887

 

DEFEND. SE

TSETOFR

FOR AD Iss! N.

NOW COMES DEFENDANT NITIN M. AMERSEY, by and through his attomeys |

_ JEROME D. GOLDBERG, PLLC, and KATHY H. MURPHY, and submits the following First .
 

' Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.15 Filed 69/03/13 Page 7 of 162

Set of Requests for Admission to Plaintiff Federal Home Loan Mortgage Corporation (“Freddie
Mac”). |

 

1. “Defendant” refers to Nitin M. Amersey.
2. “Freddie Mac”, “Plaintiff,” “you” and “your” refer to Freddie Mac and its
officers, directors, employees, agents and all other persons acting or purporting to act on its — |
3. “Comm mamanication” means any transtnission or exchange of information between
two or more persons, orally or otherwise, including, without limitation, any correspondence,
conversation, or discussion, ‘whether face-to-face or by letter, telephone, telegraph, telex,
telecopier, el electronic mail, electronic text or any other medium. |
4. - To “deni or set forth the 1 “identity” of a person means: Oe
| @) in the case ofa natural person, to ) state the, person’ s  name.and current (or
last known, so indicating) address, telephone number, employer, and title or position:
(ii) in the case of an entity other than a natural person, to state the entity’s
name, nature (corporation, partnership, limited liability company, trust, ete.) and current
(or last known, so indicating) address, telephone number, and primary line of business or .
activity | Oo
5. “Documents” tueans “documents” as defined under MCR 2. 310(2), including |
without limitation all. original and draft pieces of paper bearing any writing, printing, typing or
other marks of any kind, whether human or machine readable; all information kept by electronic,
electromagnetic, photographic, or mechanical means; and all nonidentical copies of original

documents, Please note that e-mail messages and other information stored on computers or
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.16 Filed 09/03/13 Page 8 of 162

inguiry. This includes (but is not limited to) information and documents in the possession of
your attomeys, accountants, agents, or other persons directly or indirectly employed by you or
connected with you or your attorneys. _ .

11. The responses requested herein shall be returned to the offices of Jerome D.

Goldberg, PLLC, 2921 E. Jefferson Avenue, Suite 205, Detroit, Michigan 48207.

12, Produce all documents in full and-unexpurgated form, organized and labeled to .

correspond with the categories in the discovery request pursuant to MCR 2.3 10(CX6).
13. CLAIM OF PRIVILEGE OR OTHER PROTECTION: with respect to any

document or information you withhold by claiming that it is privileged or subject to protection as

- trial preparation materials, or for any other reason, state the privilege or other ground for non-

production and deseribe the nature and subject m matter of the documents, communications, or

“things not produced or disclosed Gncluding the type « of document or communication, the date it —

"was made, the’ author 0 or r maker, ‘and all recipients) i in @ manner er that will enable other patties to | |

assess the applicability of the claimed privilege or protection. if a portion of atty otherwise
discoverable document contains information subject to a claim of privilege or protection, delete
or redact those portions of the document subject to the claim of privilege or protection, atix an
indication of the location and size of the portion deleted or redacted, and produce the document
along with the information described in this paragraph.

14, At such time as you become aware of information responsive to these discovery

' requests, which is ‘not included i in your initial response, you are requested pursuant to MCR

2.302(E) to reasonably make supplementary responses and willfully disclose all such

information.

REQUESTS FOR ADMISSIO
Case 1:13-cv-13753-TLL‘PTM ECF No. 1-2, PagelD.17 Filed’ 09/03/13 Page 9 of 162

1. Please admit that you were the owner of a beneficial interest in the Property at the
time of the Sheriff’s sale of the Property. oo - mo

RESPONSE:

2, Please admit that you were taken over and placed in conservatorship by the __
federal government under the control of the Federal Housing Finance Authority (“FHFA”) in

_ September of 2008 and that you are still under the FHFA’s control. -
_ RESPONSE: ;

3. Please admit that you and Bank of America and/or Ocwen Loan Servicing, LLC,
are parties to a contract with the federal government in which you and Bank of America and/or.
Ocwen Loan Servicing, LLC, as lenders agreed to perform loan modifications on all of your and
Bank of America’s and/or Ocwen Loan Servicing, LLC’s loans, respectively, in accordance with -
the Home Affordable Modification Program, and pursuarit to which you are being paid over
seven billion dollars (the “Servicer Participation Contract”). oo
RESPONSE: : . |

4. _- Please admit that pursuant to the Servicer Participation Contract, the duty to

-modify loans extends to mortgage loans that: are secured by one-four unit property that are not

vacant or Condemned; are delinquent or in default; and meet a net present value test for the
modification, and that the duty applies to loans that are currently in foreclosure. |
RESPONSE: oo,

‘5. Please admit that you received a bail out from the féderal government under the
TARP program or another similar program. .
RESPONSE:

6. Please admit that, in return for receipt of bail-out funds from the federal
government, you were expected to use such fimnds to assist homeowners. If your answer is
anything other than an unqualified admission, provide documentation thereof. -

RESPONSE: -

_ J. Please admit that you foreclose on more borrowers facing foreclosure than you
assist If your answer is anything other than an unqualified admission, provide documentation
ereot.

RESPONSE:
 

~* Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.18 Filed:09/03/13 Page 10 of 162

8. . Please admit that you use bail-out fands from the federal government to foreclose
on homeowners. If your answer is is anything other than an unqualified admission, provide
documentation thereof, a
RESPONSE:

- a Please admit that borrowers in active. litigation are eligible for the Home
_ Affordable Modification Program. - '
RESPONSE:

 

10. Please admit that Defendant met the criteria for the Home Affordable
Modification Program before the instant action and that he still meets those criteria today. If -

your answer is anything other than an unqualified admission, provide documentation thereof.
RESPONSE: . |

11. Please admit that you, Bank of America and Ocwen Loan Servicing, LLC, have —
refused to modify the Loan. If your answer is anything other than an unqualified admission,
. provide documentation thereof. .
RESPONSE:

12... Please admit that you, Bank of America and Ocwen-Loan. Servicing, LLC, have. -
failed to. engage in loss mitigation efforts including a reasonable modification pursuant to

applicable law. If your answer is anything other than an rnqualificd a admission, provide
documentation thereof.
RESPONSE:

 

P.O. Box 51164
_ Livonia, MI 48150
(734) 578-1887

Email: kathybourphy@gmail. com
DATED: August 2, 2013
b are . ven
Case 1:13-cv-13753-TLL:PFM ECF No. 1-2, PagelD.19 Filed 09/03/13 Page 11 of 162

CERTIFICATE OF SERVIC

 

_ The undersigned certifies that a copy of the foregoing document was served « on August 2, 2013,
- by first-class U.S. mail to Donald King, 31440 Northwestern Highway, Suite 200, Farmington —
Hills, Michigan 48334.

 

 

 

 
 

‘
L

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.20: Filed'09/03/13 Page 12 of 162

. STATE OF MICHIGAN

 

70th DISTRICT JUDICIAL COURT
Federal Home Loan
Morigage Corporation,
| Case No. 13-1199-LT(5)
Plaintiff, Hon. M. Randall Jurrens
DEFENDANT’S FIRST SET OF
INTERROGATORIES AND.
REQUESTS FOR PRODUCTION
OF DOCUMENTS
Vi
Nitin M. Amersey,
Defendant...
Nitin M. Amersey,
Third-Party Plaintiff, |
ws oy, ee i ee ee foe eee ee eae ne sere ee oe
. Ocwen Loan Servicing, LLG,
Third-Party Defendant —
/
Trott & Trott, P.C. Jerome D. Goldberg, PLLC
Donald J. King (P55358) Jerome D. Goldberg (P61678) .
Attomey for Plaintiff Attorneys for Defendant/Third-Party Plaintiff.
' 31440 Northwestern Hwy., Suite 200 . 2921 East Jefferson, Suite 205
Farmington Hills, MI 48334 Detroit, ME 48207
(248) 723-6452 . (313) 393-6001
Deborah S. Lapin 59027) Kathy H. Murphy (P51422) ;
Herz Schram Attorney for Defindant/Third-Pasty Plaintiff
_ Attorney for Third-Party Defendant P.O. Box 51164
1760-8: Telegraph Road, Suite 300° - Livonia, MI 48150
Bioomfield Hills, MI 48302 (734) 578-1887

(248) 335-5000
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.21 Filed 09/03/13 Page 13 of 162

 

~ PRODUCTION OF y DOCUMENTS
NOW COMES DEFENDANT NITIN M. AMERSEY, by and thiough his attorneys

' JEROME D. GOLDBERG, PLLC, and KATHY H. MURPHY, and submits the following First
Set of Interrogatories and Requests : for Production of Documents to Plaintiff Federal Home Loan
Mortgage Corporation (“Freddie Mac’ ). -

PLEASE TAKE NOTICE that the following discovery requests are directed to Plaintiff
and its predecessors and assignees (hereinafter collectively referred to as “Plaintiff”) under the
provisions of MCR 2.309 and MCR 2.310.

You are required to answer these Interrogatories and Requests for Production of
Documents and furnish such information as is available to you including all information within -
. your knowledge or that you can obtain from n anployeos, agents, representatives, s sureties,
attorneys or indemnitors. Coo,

These discovery requests shell be deemed continuing and supplemental answers shal be
- furnished: whenever information is received-by~you which- is: in- any :-way different ‘from that-~
submitted i in answer to these interrogatories.

- Bach Iinterrogatory solicits all information available to Plaintiff, including that information
obtainable by Plaintiff from Plaintiff's attorneys, investigators, agents, employers and
. representatives.

_ These Interrogatories are to o be answered i in detail. if you cannot answer r the Interrogatories
in full, answer to the extent possible and explain your inability to answer the remainder.

If any of the answers to these Interrogatories may be derived from papers, records, tape :
recordings or documents in your possession, or under your control, such ; as employment records,
eaming records, and the like, please ‘attach a copy thereof to your answer, or in the altemative,
please describe each of said documents with specificity and state where and when these documents
_ will be available to Defendants’ counsel for i inspection and copying. .

A. When identification of any person or party is requested herein, give his or her- @:
name, (ii) current address, (iii) phone number, and (iv) employer's s name, e, (v) employer s
address and (vi) employer’ s phone number, if any.

 B.. When identification of any document, letter or other writing is requested, give @ its
date, (ii) the author or addressor, (iii) the addressee, (iv) the recipients of all copies, (v) the
present location thereof, (vi) the identity of the person presently in custody, control of
possession thereof, and (vii) state whether you will Produce it upon request without the .
necessity of a court order.
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.22 Filed 09/03/13 Page 14 of 162

C.  Asuised herein; “Defendant” and “Defendant/ Third-Party Plaintiff” means Nitin M.
Amiersey, as well as his agents, attorneys, representatives or any other person. acting on his
behalf.

D. __Asused herein, “Freddie Mac”, “Plaintiff” “you” and “yout wi” refer to Freddie Mac
and its officers, directors, employees, agents and all other Persons acting or Porporting to
act on its behalf.

EAs used herein, “document” includes the original and any copy of eonrespondence,
notes, records, schedules, tables, charts, reports, tape recordings, memoranda, telegranis,,
letters, invoices, orders, order forms, messages (including reports of telephone -
conversations and conferences), minutes, inter-office and intra-office communications and
all other written or printed maiter of any kind.

~*F As used herein, “Loan” means the mortgage loan made by Bank of America
(“BOA”) to Third-Party Plaintiff June 20, 2008, in the amount of Three Hundred Seventy- ~
One Thousand Six Hundrd and 00/100 ($371,6,000.00), evidenced by a note in that amount —
made by Third-Party Plaintiff to BOA dated June 20, 2008 (the “Note”) and secured bya -
mortgage granted by Third-Party Plaintiff to BOA on June 20, 2008 (the “Mortgage”), on
_ the property commonly known as 5 Appleshire Drive, Freeland, Michigan 48623 (the
~ »“Property”), the- Mortgage being: the subject of a Purported assignment ‘from BOA: to
Ocwen dated September 4, 2012. .

‘INTERROGATORIES -

 

1. Identify each person who answers these i interrogatories and each person n (attach pages if
Recessary) wlio assisted, including attorneys, accountants, employees of third party.
entities, or any other person consulted, however briefly, o1 on the content of any ariswer to
these interrogatories.
ANSWER:

2. For each of the above persons, please state whether they have personal Inowiedge
regarding the subject Jo Joan transaction.
ANSWER:

3. Other than people identified above, identify any and all persons who have ar had personal °
knowledge of the subject loan transaction, underwriting of the. subject loan transaction,
securitization, sale, transfer, assignment or hypothecation of the subject loan transaction,
_ Modification of the subject loan transaction, or the decision to seek enforcement o
(including, but not limited to, foreclosure) of the note or mortgage in the subject loan
transaction.
ANSWER: -

4. Identify by name and title any person(s) in custody of any document which refers to any _
instruction or authority to enforce the note or mortgage in in the subject loan transaction. .

3
 

\ Case 1:13-

Cv-13753-TLL-PTM ECF No. 1-2, PagelD.23 Filed-09/03/13 Page 15 of 162

ANSWER: |

Staie the names of all persons or entities, in order of assignment, who ¢ at any time were
constructive holders or holders in due course , of the note obligating Defendant i in the .

_ Subject loan transaction.

ANSWER:

. Desoribe in detail Freddie Mic’ 8 role i in the subject Joan transaction aS an investor. a

ANSWER:

Describe in detail Freddie Mac’ 8 oversight role in ensuring that HAMP as well as Freddie
Mac’s modification ‘guidelines, rules and regulations are followed and were. followed i in
this matter.

ANSWER:

. Describe in detail how and why Freddie Mac can provide oversight i in ensuring that oe ,
Freddie Mac modification and HAMP guidelines, rules and regulations are followed on ,

the one hand and foreclose against Defendant on the other.

ANSWER:

10.

=

12,

13.

Regarding the subject note, , specify. the dates of any endorsements, assignments and/or

~allonges, as well as the name, address, telephone number, job title; and job description of .

the signatories on any and all endorsements, assignments and/or allonges, including their

_relationship to. Freddie Mac, on-the-date.of any-such endorsement, assignment orallonge. aos os

ANSWER:

Have you ever received any bailout money of any kind from the United States

government, either pursuant to TARP or otherwise? If 0, please identify the amount of - |

money you received and how and when the money was spent/used/allocated. In your

answer, please disciose with spécificity the extent to which any such funds were used'to

provide loans, funding for loans or a market for loans for honieowners i in Saginaw
County, Michigan. .
ANSWER: a

Identify each person consulted i in the preparation of your Answers to these introns, a
and Requests for Production of Documents. 7
- ANSWER:

Identity each document referred to or consulted by you in 1 preparation of your Answers to.
‘these interrogatories and Requests for Production of Documents.
AN SWER:. 2

Identify each person you intend to call as a witness in this action. .
 

i ow Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.24 Filed’09/03/13 Page 16 of 162

ANSWER: ©

4, ‘Describe the policy and czitetia guidelines that Freddie Mac used i in deterinining the: ‘basis a
’ for the default under the ‘Subject mortgage loan other. than: the > non-payment of the
_monthly payment amount. ©
_ ANSWER:

45, Describe the policy and criteria guidelines that Freddie Mac 1 ‘uses “for inguities and
analysis for effectuating reasonable modifications for borrowers. —
“ANSWER:

16. Describe and identify in detail any and all. policies, guidelines, rules, regulations find a
merhoranda that outline Freddie Mac’s procedures to ensure compliance ‘with the Making
Home Affordable Act for residential loan modifications...

ANSWER:

17. When and how (ese in: deta did Freddie Mac become, the owner of the subject mo,
~~ tmortgage-and/ornote? -~ 7 —
| ANSWER:

* 18. Describe in detail Freddie Mac’ 8 mosh to the subject mortgage loan,
ANSWER: -

19. Is the subject mortgage loan securtized i in any fashion? If, $0, explain how in detail,
ANSWER:

20. How much has Freddie Mac paid to any servicer or lender in connection with the subject
mortgage and/or loan? Please describe any and all payments in detail. * ae oe
- ANSWER: .
 

Gase 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.25 Filed:09/03/13 Page 17 of 162

 

1. Identify and produce all documents that were provided to Defendant as part of amy . _
modification of the subject mortgage loan. .
ANSWER: |

2: Produce the complete servicing file for Defendant including . all notes; memoranda, a
electronic data, payment history, and correspondence reemding ‘the subject mortgage
loan. - ;

ANSWER:

3. Identify and produce all disclosure statements or other notices of. Defendant’ $s “rights a
_ given to Defendant in connection with any modification options given to Defendant. ot
ANSWER:

4. Produce a copy of the subject note and any and all. assignments, edorsements, or
- - allonges. .
ANSWER:

__5, Identify and produce all acconntings, ledger cards, ledger sheets, or other: documents, ce

including computer data, reflecting payments, charges, and costs incurred on the ‘Subject
mortgage loan. .
ANSWER:

6. Identify and produce all correspondence i in Freddie Mac’ $ possession, custody, or control ‘
between anyone concerning any modification or modification negotiations regarding. the
subject loan transaction, .
ANSWER:

7. Identify and produce all telephone log sheets or other internal memoranda 0 or notes 3 in

Freddie. Mac’s possession, custody, or control concerning any mortgage loan made. to
Defendant, including but not limited to, the subject mortgage joan. -

ANSWER:

8. Identify and produce any and all contract or agreements between. Freddie Mas and ainy .

_ Originator, owner or servicer of the ° subject: mortgage Joan, including all exhibits and ©
schedules thereto. :
‘ANSWER:
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.26 Filed 09/03/13 Page 18 of 162

9. Identify and produce all - documents containing the statements, recollections, or -
impressions of witnesses with knowledge of any aspect of any mortgage loan made to —
Defendant, including but not limited to, the subject mortgage foam, whether prepared bye

. Freddie Mac, its agents or others.
AN NSWER:

KATHY H. MURPHY

Kathy H.Miurphy (P5 lon oe

Attorney for Third-Party Plaintiff

P.O. Box 51164 .
Livonia, MI 48150"

(734) 578-1887

- Email: in com

 

_ DATED: August 2, 2013
I s+ @ase 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.27 Filed’0/03/13 Page 19 of 162
|

CERTIFICATE OF ERVICE

The undersigned certifies that a copy of the foregoing document ¥ was served on August 2, 201 3,-
by first-class U.S. mail to Donald King, 31440 Northwestern Highway, § Suite 200, Farmington
Hills, Michigan 48334,

 

~~ Kathy H. Murpily
 

Case 1:13-cv-13753-TLL:PTM ECF No. 1-2, PagelD.28 Filed 69/03/13 Page 20 of 162
 

Case

LAW OFFICES HERTZ SCHRAM PC

 

 

:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.29 Filed'09/03/13 Page 21 of 162

STATE OF MICHIGAN
IN THE 70™ JUDICIAL DISTRICT COURT

FEDERAL HOME LOAN MORTGAGE
CORPORATION,

Plaintiff, Case No. 13-1199-LT(5)
Hon. M., Randall Jurrens

Vv.

NITIN M. AMERSEY,
Defendant/Third-Party Plaintiff,

v~

OCWEN LOAN SERVICING, LLC,

 

Third-Party Defendant.
TROTT & TROTT, P.C. JEROME D, GOLDBERG, PLLC
~ Donald JAKing (P55358)— > Jerome D:-Goidberg (P61678) © mf
Attorney for Plaintiff Attorneys for Defendant/Third-Party Plaintiff
31440 Northwestern Highway, Suite 200 2921 East Jefferson, Suite 205
Farmington Hills, MI 48334 ' Detroit, MI 48207
(248) 723-6452 (313) 393-6001
HERTZ SCHRAM PC Kathy H. Murphy (P51422)
Deborah S. Lapin (P59027) Attorney for Defendant/Third-Party Piaintift
Attomey for Third-Party Defendant Ocwen P.O. Box 51164
~ Loan Servicing, LLC Livonia, MI 48150
1760 S. Telegraph Road, Suite 300 (734) 578-1887

Bloomfield Hills, MI 48302
(248) 335-5000

THIRD-PARTY DEFENDANT OCWEN LOAN SERVICING, LLC’S
ANSWER TO DEFENDANT/THIRD-PARTY PLAINTIFF
NITIN M. AMERSEY’S THIRD-PARTY COMPLAINT
Third-Party Defendant Ocwen Loan Servicing, LLC (“Ocwen”), by and through its
attomeys, Hertz Schram PC, for its Answer to Defendant/Third-Party Plaintiff Nitin M.

Amersey’s (“Third-Party Plaintiff’) Third-Party Complaint, states as follows:

 
 

Case

 

LAW OFFICES HERTZ SCHRAM PC

 

:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.30 Filed 09/03/13 Page 22 of 162

JURISDICTION/PARTIES
1, Ocwen neither admits nor denies the allegations contained in this Paragraph for
the reason that it is without knowledge or information sufficient to form a belief as to the truth
of the allegations contained therein.

2, Ocwen admits the allegations contained in this Paragraph only to the extent that

it is a limited liability company.

3. Ocwen neither admits rior denies the allegations contained in this Paragraph for
the reason that it is without knowledge or information sufficient to form a belief as to the truth
of the allegations contained therein.

4, Ocwen denies the allegations contained in this Paragraph as Third-Party Plaintiff
is not entitled to any relief as his claims are without merit, ;

FACTUAL BACKGROUND

5. “Ocwen repeats and incomporates its responses to Paragraphs 1 through 4 as if
fully stated herein.

6. No response is necessary as the referenced Exhibit speaks for itself. To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue. |

7. No response is necessary as the referenced Exhibit speaks for itself To the |
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue.

8. Ocwen neither admits nor denies the allegations contained in this Paragraph for
the reason that it is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained therein.

 
~ Casq 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.31 Filed'09/03/13 Page 23 of 162

 

 

LAW OFFICES HERTZ SCHRAM PC

2%, Ocwen neither admits nor denies the allegations contained in this Paragraph for
the reason that it is without knowledge or information sufficient to form a belief as to the truth
of the allegations contained therein. |

10. — No resporise is necessary as the referenced Exhibit speaks for itself. To the

extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same

as untrue. Ocwen neither admits nor denies the allegations that Third-Party Plaintiff promptly

submitted his application for the reason that it is without knowledge or information sufficient to
form a belief as to the truth of the allegations.
11. No response is necessary as the referenced Exhibit speaks for itself. To the

extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same

aguntrue,

_ 12. No response is necessary as the referenced Exhibit speaks for itself, To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue.

13. No response is necessary as the referenced Exhibit speaks for itself. To the |

extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same

“as untrue, —

14... To the extent that a response is required in regard to the Exhibit referenced in
the first sentence of this Paragraph, the Exhibit speaks for itself. To the extent that any
allegations are inconsistent with the referenced Exhibit, Ocwen denies the same as untrue.
Ocwen denies the remaining allegations in this Paragraph for the reason that they are untrue.

15. To the extent that a response is required in regard to the Exhibit referenced in
the first sentence of this Paragraph, the Exhibit speaks for itself, To the extent that any
allegations are inconsistent with the referenced Exhibit, Ocwen denies the same as untrue,

Ocwen denies the remaining allegations in this Paragraph for the reason that they are untrue.

3

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.32 . Filed 09/03/13 Page 24 of 162

i6. To the extent that a response is required in regard to the Exhibit referenced in
the first sentence of this Paragraph, the Exhibit speaks for itself’ To the extent that any
allegations are inconsistent with the referenced Exhibit, Ocwen denies the same as untrue,
Ocwen denies the remaining allegations in this Paragraph for the reason that they are untrue.

17. No response is necessary as the referenced Exhibits speak for themselves. To
the extent that any allegations are inconsistent with the referenced Exhibits, Ocwen denies the
same as untrue. |

18. No response is necessary as the referenced Exhibit speaks for itself. To the

extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same

 

as untrue. By way of clarification, the Exhibits referenced (Exhibits 13 and 14) clearly state

that the review of the Borrower Response Package and the process of foreclosure may proceed _

comply with Michigan’s foreclosure by advertisement statutes.

LAW OFFICES HERTZ SCHRAM PC

19. No response is necessary as the referenced Exhibit speaks for itself To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
"as untrue.

20. No response is necessary as the referenced Exhibit speaks for itself. To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue. By way of clarification, the Exhibit referenced (Exhibit 16) clearly states that the
review of the Borrower Response Package and the process of foreclosure may proceed at the

same time. Ocwen further denies any implied allegation in this Paragraph that it failed to
comply with Michigan’s foreclosure by advertisement statutes.

21. Ocwen denies the allegations contained in this Paragraph for the reason that they

are untrue.

 

at the same time. Ocwen further denies any implied allegation in this Paragraph that it failed to

 
Cas

 

LAW OFFICES HERTZ SCHRAM Pc

 

P 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.33 Filed 09/03/13 Page 25 of 162

22. ‘No response is necessary as the referenced Exhibit speaks for itself. To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue.

—~- 23, - No-response-is- necessary as-the- referenced Exhibit speaks for itself. To the

extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same

as untrue.

24. No response is necessary as the referenced Exhibit speaks for itself. To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue.

25. No response is necessary as the referenced Exhibits speak for themselves. To
the extent that any allegations are inconsistent with the referenced Exhibits, Ocwen, denies the
same as untrue. By way ¢ of clarification, the Exhibits referenced (Exhibits | 17, 18 and 19)

clearly st state e that the review of the Borrower + Response Package and the process of foreclosure

may proceed at the same time. Ocwen further denies any implied allegation in this Paragraph

that it failed to comply with Michigan’s foreclosure by advertisement statutes.

26. No response is necessary as the referenced Exhibit speaks for itself. To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue. .

27. | No response is necessary as the referenced Exhibit speaks for itself. To the
extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue. By way of clarification, the Exhibit referenced (Exhibit 20) clearly states that the
review of the Borrower Response Package and the process of foreclosure may proceed at the
same time. Ocwen further denies any implied allegation in this Paragraph that it failed to

comply with Michigan’s foreclosure by advertisement statutes.

 
 

Casgq 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.34 Filed'09/03/13 Page 26 of 162

 

 

areuntrue,

LAW OFFICES HERTZ SCHRAM PC

WHEREFORE, Defendant Ocwen requests that this Honorable Court dismiss this
action, with prejudice, and that a judgment of no cause of action be entered in favor of

Defendant Ocwen, with costs and attomey fees awarded to it and for any other relief as may be

~ proper.

COUNT 1 - ILLEGAL FORECLOSURE
_ _ENVIOLATION OF MCE 600.3204, 3205a AND 3205¢

28.  Ocwen repeats and incorporates its responses to Paragraphs 1 through 27 as if
fully stated herein.

29. No response is required as the statute speaks for itself.

30. No response is required as the statute speaks for itself.

31.  Ocwen denies the allegations contained in this Paragraph for the reason that they

~ 32>-~-"No response is necessary as the referenced Exhibit speaks for-itself-—-To the- me

extent that any allegations are inconsistent with the referenced Exhibit, Ocwen denies the same
as untrue.

33.  Ocwen denies the allegations contained in this Paragraph for the reason that they

are untrue.

34.  Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue.
35.  Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue.
| 36,  Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue. |
37. | Ocwen denies the allegations contained in this Paragraph for the reason that they

are untrue.

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.35 Filed09/03/13_ Page 27 of 162

 

 

LAW OEFICES HERTZ SCHRAM PC

38. Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue.

39.  Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue. |

40.  Ocwen denies the allegations contained in this Paragraph for the reason that they

 

are untrue.
41. | Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue.
42. Ocwen denies the allegations contained in this Paragraph for the reason that they
are untrue.

_ 43. Ocwen denies the allegations contained in this Paragraph for the reason that they _
are untrue. |
a “44, No response is required as the statute speaks for itself.

45. No response is required as the statute speaks for itself. Ocwen neither admits
nor denies the allegations contained in the last sentence of this Paragraph for the reason that it
is without knowledge or information sufficient to form a belief as to the truth of the allegations
contained therein. | |

46, Ocwen neither admits nor denies the first and third sentences of this Paragraph
for the reason that it lacks sufficient information to form a belief as to the truth of the
allegations contained therein. As to the allegation contained in the second sentence of this
Paragraph, no response is required as the Sheriff's Deed speaks for itself. Ocwen denies the
allegation in the final sentence of this Paragraph for the reason that they are untrue. _

‘47. | Ocwen denies the allegations contained in this Paragraph for the reason that they

are untrue,

 
Case

 

 

|
LAW OFFICES HERTZ SCHRAM PC

1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.36 Filed 09/03/13 Page 28 of 162

WHEREFORE, Defendant Ocwen requests that this Honorable Cowt dismiss this
action, with prejudice, and that a judgment of no cause of action be entered in favor of
Defendant Ocwen, with costs and attorney fees awarded to it and for any other relief as may be
proper.

Respectfully Submitted,

HERTZ SCHRAM PC

   
 
    

Beborah S. Lapin (P59027%
Attomey for Third-Party Defendant Ocwen
Loan Servicing, LLC
1760 8S. Telegraph Road, Suite 300
Bloomfield Hills, MI 48302
(248) 335-5000
Dated: July 26,2013

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.37 Filed'09/03/13 Page 29 of 162

 

i
LAW OFFICES HERTZ SCHRAM PC

 

STATE OF MICHIGAN
IN THE 70™ JUDICIAL DISTRICT COURT

FEDERAL HOME LOAN MORTGAGE
CORPORATION,

Plaintiff, Case No. 13-1199-LT(5}
Hon. M. Randall Jurrens

v.
NITIN M. AMERSEY,

Defendant/Third-Party Plaintiff,
v.

OCWEN LOAN SERVICING, LLC,

 

Third-Party Defendant.
TROTT & TROTT, P.C. JEROME D. GOLDBERG, PLLC
Donald J-Kang (P55358) ---—---e- Jerome D.- Goldberg (P61678) - -------—-
Attorney for Plamtiff Attorneys for Defendant/Third-Party Plaintiff
31440 Northwestern Highway, Suite 200 2921 East Jefferson, Suite 205
Farmington Hills, MI 48334 Detroit, MI. 48207
(248) 723-6452 (313) 393-6001 —
HERTZ SCHRAM PC Kathy H. Murphy (P51422) °
Deborah 8, Lapin (P59027) Attorney for Defendant/Third-Party Plaintiff
Attorney for Third-Party Defendant Ocwen P.O. Box 51164
Loan Servicing, LLC Livonia, MI 48150
1760 S. Telegraph Road, Suite 300 (734) 378-1887
Bloomfield Hills, MI 48302
(248) 335-5000

f

 

THIRD-PARTY DEFENDANTS’ AFFIRMATIVE DEFENSES
1, . Third-Party Plaintiff's claims are barred by his failure to state .a claim upon
which relief can be granted,
2. Third-Party Plaintiff's claims may be barred, in whole or in part, by the statute

of limitations.

 
 

Case|i1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.38 Filed'09/03/13 Page 30 of 162

 

i :
LAW OFFICES HERTZ SCHRAM PC

 

3. Third-Party Plaintiff's claims are barred by his failure to plead with required
specificity the causes of action. | |
A, The court may lack jurisdiction over this matter.
‘3... Third-Party Plaintiff s-claims are barred by his failure to state a valid cause of
action against Third-Party Defendant Ocwen.
6. Third-Party Plaintiffs claims are barred by the doctrine of estoppel. .
7. Third-Party Plaintiff's claims are barred by the statute of frauds.
8, Third-Party Plaintiff's claims are barred by the doctrine of waiver.
9. Third-Party Plaintiff's claims are barred by unclean hands.
10. Third-Party Plaintiff's claims are barred by the doctrine of laches.
1, Third-Party Plaintiffs claims ae bared by lack of onsdertion,
12. Third-Party Plaintiff failed to name all necessary parties to this action.
13, Third-Party Plaintiff has no interest in the property based upon the expiration of
the statutory redemption period.
14. Third-Party Plaintiff lacks standing to bring this action based upon the
expiration of the statutory redemption period.
15. Third-Party Plaintiff is obligated to Third-Party Defendant Ocwen pursuant to
the terms and conditions of the Mortgage.
16. Third-Party Plaintiff is obligated to Third-Party Defendant Ocwen pursuant to
the terms and conditions of the Note.
17. Third-Party Plaintiff complied with all requirements of Michigan’s foreclosure
by advertisement statutes. |
18. . MCL 600.3205 does not permit a completed Sheriff's Sale to be set aside.
19. Third-Party Plaintiff failed to bring his claim for an alleged violation of MCL

600.3205 prior to the foreclosure sale or during the statutory redemption period.

10

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.39 Filed’09/03/13 Page 31 of 162

 

 

: LAW OFFICES HERTZ SCHRAM PC

20, Third-Party Plaintiff failed to mitigate his damages.
21. Third-Party Plaintiff suffered no loss or damage as he failed to redeem the
property.
Third-Party Defendant Ocwen reserves the right to allege other defenses and/or amend

this Answer consistent with the knowledge or information that may be forthcoming during

 

discovery in this action.
Respectfully Submitted,

TZ SCHRAM MA.

‘wt

Aeborah S. Lapin MMS
Attorney for Third-Party Defendant Ocwen
Loan Servicing, LLC a
1760 8. Telegraph Road, Suite 300 |
Bloomfield Hills, M1 48302
ot ee Semen 024893525000
Dated: July 26, 2013

11

 
~ Cas 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.40 Filed 09/03/13 Page 32 of 162

 

LAW OFFICES HERTZ SCHRAM PC

 

(248) 335-5000

STATE OF MICHIGAN
_ IN THE 70™ JUDICIAL DISTRICT COURT

FEDERAL HOME LOAN MORTGAGE
CORPORATION,

Plaintiff, | 7 Case No. 13-1199-LT(5)
, Hon. M. Randall Jurrens

+ i
NITIN M. AMERSEY,
Defendant/Third-Party Plaintiff,

¥.

OCWEN LOAN SERVICING, LLC,

 

Third-Party Defendant.
TROTT & TROTT, P.C. JEROME D. GOLDBERG, PLLC
Donald J. King (P55358) Jerome D; Goldberg (P61678)-. -
Attorney for Plaintiff Attorneys for Defendant/Third-Party Plaintiff
31440 Northwestern Highway, Suite 200 2921 East Jefferson, Suite 205
Farmington Hills, MI 48334 Detroit, MI. 48207
(248) 723-6452 (313) 393-6001
HERTZ SCHRAM PC Kathy H. Murphy (P51422)
Deborah S. Lapin (P59027) Attorney for Defendant/Third-Party Plamtiff
Attormey for Third-Party Defendant Ocwen P.O. Box 51164
Loan Servicing, LLC Livonia, MI 48150
1760 S. Telegraph Road, Suite 300 (734) 578-1887

Bloomfield Hills, MI 48302

PROOF OF SERVICE
‘On July 26, 2013, Deborah A. Cripps, being first duly sworn, deposes and says that she
is employed by the law office of Hertz Schram PC and, in that capacity, did serve a copy of
Third-Party Defendant Ocwen Loan Servicing, LLC’s Answer to Defendant/Third-Party

Plaintiff Nitin M. Amersey’s Third-Party Complaint and this Proof of Service upon the

 
 

Case/1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.41 Filed 09/03/13 Page 33 of 162

following parties by enclosing it in a sealed envelope, postage fully paid and depositing it into

the United State mail addressed to:

Donald J. King, Esq. Jerome D. Goldberg, Esq.
TROTT & TROTT, P.C. JEROME D. GOLDBERG, PLLC
31440 Northwestern Highway, Suite 200 292] East Jefferson, Suite 205
Farmington Hills, MI 48334 Detroit, MI 48207

Kathy H. Murphy (P51422)

Livonia, MI 48150

 

/Déborah A. Cripps, Legal Assistant
Hertz Schram PC

 

LAW OFFICES HERTZ SCHRAM PC

 

P.O. Box 51164 : ctf

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.42 Filed 09/03/13 Page 34 of 162
 

Case 1:13-cvi{1

TROT & FROFT, PC.
3 (440 NORTHWESTERN
HIGH! AY. SEITE 200
PFARMINGTOS [1ILLS, MI
48334-2425

| otherwise fully advised in the premises;

13753-TLL-PTM ECF No. 1-2, PagelD.43 Filed:09/03/13 Page 35 of 162

. +

STATE OF MICHIGAN
a

70" JUDICIAL DISTRICT COURT

FEDERAL HOME LOAN MORTGAGE

 

CORPORATION. oe
Case No. 13-1199LT(5)
Plairitiff. Hon.

pee

v _

Ge
NITIN M. AMERSEY and ALL OTHER _t r35
OCCUPANTS. — A ms
Defendants. iS “4

Donald J. King (P55358) | -Goldt yo

Jerome D. Goldberg (P61 678)
JEROME D. GOLDBERG, PLLC
Attorneys for Defendant

Thomas 4. Balinski (P41771)
TROTT & TROTT, P.C.

Attomeys for Plaintiff 2921 East Jefferson. Suite 205

~~ 31440 Northwestern Hwy-; Suite 200- ~~ Detroit, Michigati48207—
Farmington Hills. Michigan 48 48334. (313) 393-6001

~ .(248)642-25.15 .

T&T No. 318199E03. Kathy 11, Murphy (P5142)

Attorney for Defendant
P.O. Box 51164

- Livonia, Michigan 48150
(734) 578-1887

. ORDER FOR ESCROW

Ata session of said Court, held in the City of Saginaw and
County of Saginaw, State of Michigan.

on: i
MM. Randall

PRESENT: HON. erm
-pistttfoun Judge

This matter having been stipulated by the parties hereto and. the Court being

   

at

IT IS HEREBY ORDERED that the Defendant shall deposit, as escrow. with the

Court as follows:

 

 

 
 

Case 1:13-cv

days of each payment’s due date.

obligation to comply with this order.

Trot & Paorn 8c,
SI 4AUNORTHAESFERS
FlGBY VY. SL EER 200
FARAUNGTOR 1 Lis, Mi
48354-3525

13753-TLL-PTM ECF No. 1-2, PagelD.44 Filed,09/03/13 Page 36 of 162

v V.

$2000 on or before June 17. 2013: and
$2000 monthly beginning July 15, 2013, until further order of the Court.

If IS FURTHER ORDERED that payments must be paid to the Court within 7
iT IS FURTHER ORDERED that Plaintiff must not interfere with Defendants”

{fT IS FURTHER ORDERED that if Defendants do not comply with this order.

Defendants waive the right to a jury trial as to the possession issue.

IT IS SO ORDERED.

_ This Order does not resolve the last pending claim

and does not close this case.

District Court Judge’

 
 

The undersigned stipulate 'to the
entry of the above Order and waive

. ATRUECOPY
~ CHESYL B. JARZABKOWE.

Thomas A. Balinski (P41771)

 

TROTT & TROTT. PC spurt
Attorneys for Plaintiff Giertof the our ex .
‘Date 3013. Clas ies

a ne . 4
[Ott JSAtar gfe
Kathy” Murphy (951492)
Attorney for Defendants

Dated: June 13.2013

 

ho

 

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.45 Filed 09/03/13 Page 37 of 162
Case 1:13-0v-13753-TLL-P[M) ECF No. 1-2, PagelD.46 Filed

ogoaiae Page 38 of 162

| STATE OF MICHIGAN
IN THE 70th JUDICIAL DISTRICT COURT

Federal Home Loan
Mortgage Corporation,

Plaintiff,
Vv, -

Nitin M. Amersey,
Defendant.
Nitin M. Amersey,

Third-Party Plaintife,
.

Ocwen Loan Servicing, LLC,

Third-Party Defendant

- Trott& Trott, PC

Donald J. King (P55358)

~-—Attomney for Plaintiff-——----

31440 Northwestém Hwy., Suite 200
Farmington Hills, MI 48334
(248) 723-6452

Case No. 13-1199-LT(5)

Jerome D. Goldberg, PLLC.
Jerome D. Goldberg (P61678)

_” “Attomeys” for “Defendant” and ‘Third-Party

Plaintiff

2921 Hast Jefferson, Suite 205
Detroit, MI 48207

(313) 393-6001

and

Kathy H. Murphy (P51422)

Attormey for Defendant and Third-Party

Plaintiff
P.O. Box 51164
Livonia, MJ 48150

(734) 578-1887
/

DEFENDANT’S ANSWER TO COMPLAINT, AFFIRMATIVE DEFENSES AND

THIRD-PARTY COMPLAINT AGAINST OCWEN LOAN SERVICING, LLC

NOW COMES Defendant, Nitin M. Amersey, by and through his attorneys Jerome D.

Goldberg, PLLC, and Kathy H. Murphy, and in answet to Plaintiff's complaint, states as follows.
 

) :

CJ
1, N/A
2, N/A
3. N/A

| 4. Admit. Defendant lives at the premises.

Deny. Neither Plaintiff nor its mortgage servicer, Ocwen Loan Servicing, LLC

um“

COcwen”), complied with the regulations set forth i in MCL 600.3204, 600.3205 or 600.3205c¢
or with’ the federal regulations of the Home Affordabte Modification Program (“HAMP”)
developed pursuant to the Emergency Economic Stabilization Act, 12 USC 5219, Thus, the
foreclosure sale and subsequent eviction are illegal under both Michigan law and federal law.

Pursuant to MCL 600.3204(4), failure to abide by requirements in MCL 600.3205a or

 

 

~advising Defendant of ithe information contained therein and also violated 600. 3205 by failing

to extend a permanent modification to a Defendant, a qualified borrower, or to provide
Defendant with Ocwen’s calculations,

“In addition, Defendant was not offered a loan modification according to the terms of the

federal Home Affordable Modification Program, under which the servicers for loans owned or

insured by Plaintiff are obligated to evaluate borrowers for a loan modification pursuant to the

its terms. Defendant provided Ocwen with evidence of a monthly income of $6,500.00, Under
the HAMP guidelines, 31% of Defendants’ gross income would result in a Payment of

$2,015.00. The property sold at Sheriff's sale for $395 987. 24, That ¢ amount amortized over 40
 

 

137 l PTI : - agelD. 8 Filed 09/03/13 P
* -CV-13753-TLL- M -EC No. 1 2, ia
Case 1:13 C ( ‘j Oy

years at 2% would result in a monthly principal and interest payment of $1,199.15, plus
approximately $800 for taxes and insurance, for a total monthly payment of $1,999, 13, which is
| below the 31% HAMP threshold.

6. _ Admit. Plaintiff Federal Home Mortgage Corporation, a/k/a Freddie Mac, is a
governmental unit which is required to subject homes where it owns or backs the loans to loan
modifications pursuant to the Home Affordable Modification Program and Emergency Economie’
Stabilization Act, 12 USC 5219. (See Exhibit i) Because Freddie Mac is a governmental unit,
and was on information and belief the owner of Defendant’s loan at the time of the Sheriff's sale-
on October 26,2012, the Sheriffs sale Constitutes a deprivation of Defendant's property interest

without due process of law in violation of the 5" amendinent to the U.S, Constitution See

Federal Home Loan Morigage Corporation v Kelley, 30" Circuit Court for the County of -

- Tngham, ‘Case No. 12-000885-AV (attached as as Exhibie 2, in which Judge Aquilina held ‘that
~Freddie- Mas, also the Plaintiff it in that case, was a state actor, In 2008, pursuant to the federal
Economic Recovery Act of 2008, Freddie Mac, as well as the Federal National Mortgage
Association, a/k/a Fannie Mae, were both taken over by the federal government’s Federal
Housing Finance Agency, which, as Judge Aquilina held, has authority over 100% of the stock,
all officers of the company, and every director,
7, Defendant neither admits nor denies,
8. Admit.
9, Admit Plaintiff asks for a judgment of possession,
10. Defendant requests a juty trial in this matter,

WHEREFORE Defendant tespectfully requests the Plaintiff's complaint be dismissed,
 

M3 Filed 09/03/13 Page 41 of 162
13-cv- -TLL-PTM \ECF No. 1-2, PagelD.49 19/0
Case 1:13 Cv 13753 Vy

\
AFFIRMATIVE DEFENSES
OSA LIVE DEFENSES
d, The foreclosure sale and subsequent attempted eviction are iilegal under Michigan

law and federal law. Neither Plaintiff nor its mortgage servicer, Ocwen, complied with the
regulations set forth i in MCL 600. 3204, 600.3205a or 600.3205¢ or with the federal regulations
of the Home Affordable Modification Program developed pursuant to the Emergency Economic
Stabilization Act, 12 USC 5219, |
2. Pursuant to MCL 600. 3204(4), failure to abide by requirements in MCL
660. 3205a or 600.3205¢ prohibits a lender from foreclosing on a borrower by advertisement.
3. Plaintiff, through its servicer Ocwen, violated MCL.3205a by failing to send the

notice required thereunder advising Defendant of the very detailed information required

including the right of the borrower to a meeting with the lender’s representative to discuss and be

~ properly ‘evaluated for a loan modification, ‘Plaintiff through Ocwen, also violated 600.3205¢ by
failing to extend a permanent modification to a Defendant, a 1 qualified b borrower, 0 or r to o provide: 7
Defendant with Ocwen’s calculations.

4, In addition, Defendant was not offered a loan modification according to the terms
of the federal Home Affordable Modification Program developed pursuant to the Emergency
Economie Stabilization Act, 12 USC 521 9, under which the servicers for Freddie Mac owned or
insured loans are obligated to evaluate borrowers for a loan modification pursuant to the HAMP
and suspend foreclosure activity pending that evaluation, (See Exhibit 1) Defendant qualified
fora modification under the HAMP but was illegally denied a modification pursuant to its terms,
Defendant provided Ocwen with evidence of a monthly income of over $6,500. Under the
HAMP guidelines, 31% of Defendants’ gross income would result in a payment of $2,015.00.

The property sold at sheriff's sale for $395,987.24, That amount amortized over 40 Years at 2%
Case 1:13-cv-13753-TLL-PTM |

09/03/13 Page 42 of 162

yECF No. 1-2, PagelD.50 Filed
tf

rl

would result in a principal and interest payment of $1,199.15, plus approximately $800 more for
taxes and insurance, resulting in a monthly payment of $1,999.15, which is under the 31%
HAMP threshold, Failure to modify a loan in conformance with federal regulations has been:
held to be a defense to foreclosure under Michigan law. (Exhibit 3, Judge Donald Miller
opinion)
5. Because Freddie Mac is a governmental unit, and was on information and belief
the owner of Defendant’s oan at the time of the Sheriff's sale on October 19, 2012, the Sheriff's
sale constitutes a deprivation of Defendant’s property interest without due process of law in
- violation of the 5" amendment to the U.S. Constitution, (See Exhibit 2, attached)
6, Plaintiff has failed to state a claim upon which relief can be granted,
WHEREFORE, Defendant Nitin M. Amersey requests that this action be dismissed or set
‘for trial for all issues so triable, = /
Respectfully submitted,
JEROME D, GOLDBERG, PLLC

Lh Ney Yih ge<,
Ferome D. Goldberg (P61678)
/ Attorneys for Defendant and Third-Party
Plaintiff

2921 East Jefferson, Suite 205

Detroit, MI 48207 _

Phone (313) 393-6001

     
  

and

 

Kathy H. Murphy (P51422) CG

Attorney for Defendant and Third-Party
Plaintiff

P.O. Box 51164

Livonia, MI 48150

Phone (734) 578-1887

DATED: June 6, 2013
 

Case 1:13-cv-13753-TLL PIM) ECF No. 1-2, PagelD.51 Filed porosias Page 43 of 162
 

,ECF No. 1-2, PagelD.52 Filed 09/03/13 Page 44 of 162

:13-cv-13753-TLL-PTM.
Case 1:13 } i Cy
Jury Demand
Defendant demands a jury trial in the above cause.
Respectfully submitted,

JERQME D. GOLDBERG, PLLC
Jepome D. Goldberg (P61678)
Atiorneys for Defendant and Third-Party

   

2921 East Jefferson, Suite 205
‘ Detroit, MI 48207
Phone (313) 393-6001

and

Kathy HOMurphy (PSt4a0K

Attorney _for_Defendant -and~ThirdsParty- -

Plaintiff

P.O, Box S164
mo comromnnnnmen is ene MI48150

Phone (734) 578-1887

DATED: June 6, 2013
62
Case 1:13-cv-13753-TLL-PTM ; ECF No. 1-2, PagelD.53 Filed 09/08/13 Page 45 of 1

 

 

 

 

 

 

Onlginal - Court ~ Plalntl
Approved, SCAO ist copy - Defendant any cont. Roun
STATE oF MICHIGAN CASE NO,
Oth JUDICIAL DISTRICT _
JUDICIAL cmoure SUMMONS AND COMPLAINT 13-1199-L1(8)
COUNTY PROBATE : .
Court address Court telephone no,
111, Michigan Avenue, Saginaw, MI 48602-2019 (989) 790-5562
[Plaintiffs namers), address(es), and telephone nafs). | Defendant's name(s), address(es), and telephone noe),
Nitin M., Amersey ¥ Ocwen Loan Servicing, LLC, c/o Resident Agent,
5 Appieshire . a CSC- Lawyers Incorporating Company
__|Freeland, Michigan 48623 - . 601 Abbot Road
(989) 414-1407 Bast Lansing, Michigan 48823 (877) 858-3855

 

Plaintiffs atfomey, bar no., address, and telephone no.

Jerome D. Goldberg, PLLC / Jerome D. Goldberg (P61678)
2921 E. Jefferson Ave, Ste 205, Detroit, MI 48207

(3.13) 393-6001

Kathy H. Murphy (P51 422)

P.O. Box 51164, Livonia, MI 48150 (734) 578-1887 } |

SUMMONS | NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued.

2. YOU HAVE 21 DAYS after receiving this summons to file a written answor with the court and serve a copy on the other party

 

 

 

 

 

 

   

3. Ifyou do not answer or take othar action within the time allowed, judgment may be entered against you forthe relief demanded
in the complaint, sapere Parsee
Poh 12, TSP, etoar aumerens :

 

 

 

 

me “This-simmons 4s.invalld-unless served Onur before lis oxplation date,” =" Sn
This document must be sealed by ihe seal of the court,
COMPLAINT Acti elegans formation thats raquirto bein the captor ofoverycemplaintandis tobe coimpleted
~“by the plaint if. Actiial allegations and the claim for ratte must ha Stated on additional complaint Pages and attached to this form.
_Famlly Division Cases

LJ Therelsno other pending orresolved action within the jurisdiction ofthe family division ofcircult courtinveiving the family orfamily
members of the parties. «

C] An action within the jurisdiction of the family division afthe circuit court involving the family orfamily members ofitie parties has

 

 

 

 

 

 

been previously filed in i Court,
The action [lremains — [Jisno fonger —_ pending. The docket number and the Judge assigned to the action are: °:
Docket no. Judge Bar ho. mm
General Civil Cases se er

 

 

 

 

 

 

 

 

 

 

 

     
   
  

 

 

 
  
 

 

 

         
   

  

 

 

been previously filed in Court.
The action [Jremains — ["Jis ne ionger pending. The docket number and the judge assigned to the action are:
Docket no. Judge : Bar no. |
[VENUE] Va
Plaintifi(s) residence (include oily, townahlh an yladax) i ‘ey Z, Defendant(s) residence (include city, township, or village}
Freeland, Saginaw, Michigan .s* .\ ee re? te State of Delaware
Pa yo Lest tly yo ey oe
Place whare action arose or busitdsa wardieted \er] ett
County of Saginaw, Michigah 2 340 1! 2 © oh
pbs 2 tae ott A ee
te Anes “ys rrt —
ped we = /
Date oe We fo RE Signature prAttomey/piaintit

use ofa disability orifyou require a forsign language interpreter to help

Ifyou require special accomnfgaéi i$ re Fool
you fully participate in court pride ere Pike court immediately to make arrangements.

elles
MGO1 (3/08) SUMMONS AND chin Ba

 

\
Pa Wwe 2,102(3)(41), MCR 2.104, MOR 2.105, MOR 2.107, MCR 2.1 13(C)(2)(8), (b), MGR 3.206(A)
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.54 Fileqoyos/1s Page 46 of 162

DEFENDANT’S THIRD-PARTY COMPLAINT AGAINST

OCWEN LOAN SERVICING, LLC.

NOW COMES Third-Party Plaintiff Nitin M. Amersey, by and through his attorneys,
Jerome D, Goldberg, PLLC, and Kathy H. Murphy, and for his Complaint against Third-Party
_Defendant Ocwen Loan Servicing, LLC, states. as. s follows:

JURISDICTION / PARTIES

 

L. Third-Party Plaintiff Nitin M, Amersey is a resident of Freciand, Saginaw County,
Michigan.
2. Third-Party Defendant Ocwen Loan Servicing, LLC (“Ocwen”), is a Delaware —

limited liability company doing business in Saginaw County, Michigan.

3. The incident which is the subject’ of this action took place in Saginaw County,
Michigan.
4, This action is for injunctive relief pursuant to MCR 3.310, declaratory relief

"pursuant to MCR 2.605 and damages. This court has jurisdiction over this matter pursuant to
MCR 4.201G.
FACTUAL BACKGROUND

5. Third-Party Plaintiff incorporates by reference paragraphs 1-4.
. 6. On June 20, 2008, Third-Party Plaintiff granted Bank of America, N.A. (“BA”), a
mortgage (the “Mortgage”) (Exhibit 4) on Third-Party Plaintiff's home located at 5 Appleshire,
Freeland, MI 48623, to secure a promissory note to BA in the amount of $371,600.00.

7. On September 4, 2012, BA assigned the Mortgage to Ocwen (Exhibit 5).

8. In carly 2010, Third-Party. Plaintiffs house payments’ doubled from
approximately $2,000.00 to $3,926.04 because of a property tax issue, Third-Party Plaintiff's

taxes should have been homesteaded, but no responsible party filed a homestead form. BA
Ti iled-O9/ 162
Case 1:13-cv-13753-TLL-PTM) ECF No. 1-2, PagelD.55 File/69/03/13 Page 47 of 162

overpaid taxes and would not take responsibility for contacting the taxing authority to correct the —
mistake, and instead charged Third-Party Plaintiff for the mistake,

9. In addition, Third-Party Plaintiff suffered from some health problems that caused

finaricial hardship.

10. By letter dated March 26, 2012, BA noted that Third-Party Plaintiff had missed
--- several mortgage payments and encouraged him to apply for a HAMP modification (Exhibit 6).
. Third-Party Plaintiff promptly submitted his application in April of 2012,
1]. By letter dated May 9, 2012, BA acknowledgéd receipt of Third-Party Plaintiff's
application. (Exhibit 7}
12. On May 24, 2012, in the midst of BA’s evaluation of Third-Party Plaintifi’s
HAMP modification application, BA informed Third-Party Plaintiff that it was transferring the
Servicing. of Third-Party Plaintiff's mortgage loan to Oowen effective June 18 2012. (Exhibit 8)

13. __ Just one day later, on_ May. 25, 2012,.BA requested more information from “Phird-

Party Plaintiff regarding his HAMP modification (Exhibit 9), which Third-Party Plaintiff
provided, .

14, “In June of 2012, Ocwen sent Third-Party Plaintiff an application for a
modification requesting return of the package in 30 days, (Exhibit 10) Ocwen ignored the
previously supplied modification package that Third-Party Plaintiff had supplied to the prior
servicer, BA. Despite this fact, Third-Party Plaintiff provided the requested information and,
after frequent requests for additional information, which is the practice of Ocwen and all major
mortgage servicers, by mid-September of 2012 Ocwen had received the requested information

for Third-Party Plaintiff to be evaluated for a loan modification.
| TLL- 1 0. 1-2, PagelD.56 Filed 0
Case 1:13-0v-13753-TLL PTH CFN

 

9/03/13 Page 48 of 162 .
C)

15. Third-Party Plaintiff received correspondence from Ocwen dated July 6, 2012
(Exhibit 12), informing him that he was in arrears, in defavli and that he owed $19,898.12 and
that failure to bring his account current could result in Ocwen’s election to “exercise [its] right to

foreclose”. The letter did not contain the information mandated by MCL 600.3205a (set forth
below),
oon = 16, Third-Party Plaintiff teceived several other letters from Ocwen in July and August
of 2012 indicating that he was behind on his payments, as well as another application package,
None of those letters contained the mandatory information, (Exhibit 12)

17, By letter dated Sepiember 19, 2012, Ocwen acknowledged receipt of Third-Party

Plaintiff's application, {Exhibit 13) By letter dated September 20, 2012, Ocwen requested

further information (Exhibit 14), stating that failure to provide the documents by October 5, .

2012; “may delay your application process.”

~ s+ 18... The above letter failed to inéntion that Ocwen had already published foreclosur
notices on September 12 and September 19" setting forth a Sheriff's sale date of October 12,
2012, (Exhibit 15)

19. By letter dated September 25, 2012, Ocwen requested further documentation,
again stating that failure to provide the documents by October 10, 2012, “may delay your
application Process.” (Exhibit 16) .

20. The above letter also failed to mention that yet another foreclosure notice would
be published the next day, announcing the planned Sheriff's sale of October 12%, (See Exhibit
15) | |

21. With a letter dated October 5, 2012, Third-Party Plaintiff submitted requested

documentation,

10
 

\ 03/13 Page 49 of 162
1-2, PagelD.57 Filed 09/0:
Case 1:13-cv-13753-TLL-PTM ECF No g ar

22. - By letters dated October 9, 2012, Ocwen acknowledged receipt of Third-Party

Plaintiff's package and requested further information, again stating that failure to provide the

documents by October 24, 2012, “may delay your application process,” (Exhibit 17),

23. A letter dated October 11, 2012,

stated that failure to provide the documents by October 26, 2012, “may delay your application

process,” (Exhibit 18).

24. Via another letter, also dated October. 11, 2012, Ocwen submitted the same

application package to Third-Party Plaintif¢ that it had submitted in June and August, this time

requesting return of the package by November 10, 2012. (Exhibit 19)

25. The above letters also failed to mention ‘that a final foreclosure notice had been

published on October 3" of the Sheriff's sale planned for October 12". (See Exhibit 15) a
B65 By letter dated October 25, 2012, Ocwen again acknowledged receipt of Third-
Party, Plaintiff's application for assistance and ‘stated that it was “processing [his] request as 7
quickly as possible,” (Exhibit 20)
27. The above letter failed to mention that Third-Party Plaintits property had

already been sold at a Sheriffs sale on October 19, 2012. (Exhibit 21)

COUNT I - ILLEGAL F ORECLOSURE
IN VIOLATION OF MCT, 60

0.3204, 32053 and 3205¢
eee Oa, 3205a and 3205¢

28, Third-Party Plaintiff incorporates by reference patagraphs 1-27,

29. MCL 600.3204(4) provides that a party shall not commence proceedings

to foreclose by advertisement if one or more of the following apply: “(a) Notice has not

been mailed to the mortgagor as required by section 32054.”

30.° MCL 600.3205a(1) provides that the written notice referenced above shall contain

all of the Sollowing information (emphasis added);

I
 

| iled 09/03/13 Page 50 of 162
Case 1:13-cv-13753-TLL-P[M} ECF No. 1-2, PagelD.58 Filed Pe g

(a) The reasons that the mortgage loan is in défault and the amount that is due and
owing under the mortgage loan,

(b) The names, addresses, and telephone numbers of the mortgage holder, the
. mortgage servicer, or any agent designated by the mortgage holder or mortgage
' setvicer.

(A designation of 1 of the persons named in subdivision (b) as the person to
contact and that has the authority to make agreements under sections 3205b and
3205¢, ...

'(d) That within 30 days after the notice is sent, the borrower may, either by
contacting the person directly or by contacting a housing counselor from the list
enclosed with the notice, request a meeting with the person designated under
subdivision (c) to attempt to work out a modification of the mortgage loan to
avoid foreclosure.

(e) That if the borrower requests a meeting with the person designated under
subdivision (c), foreclosure proceedings will not be commenced until 90 days
after the date the notice is mailed to the borrower, ,

(f) That if the borrower and the person designated under subdivision (c)reachan
agreement to modify the mortgage loun, the iiortgage will not be foreclosed if the
_ borrower abides by the terms of the agreement,
(g) That if the borrower and the person designated under subdivision (c) do not
agree to modify the mortgage loan but it is determined that the borrower meets
criteria for a modification under section 3205c(1) and foreclosure under this
_ chapter is not allowed under section 3205c(7), the foreclosure of the mortgage
_ will proceed before a judge instead of by advertisement.

(h) That enclosed with the notice is a list of housing counselors prepared by the
Michigan state housing development authority and that the borrower may request
a housing counselor from the list to attend any meetings with a person designated
under subdivision (c), .

(i) That the borrower has the right to contact an attorney, and the telephone
numbers of the state bar of Michigan's lawyer referral service and of a local legal
aid office serving the area in which the property is situated,

(j) The number of days in the redemption period that will be available to the
borrower if the property is eventually sold at a foreclosure sale under this chapter,
unless the property is abandoned and section 3241 or 324 1a applies.

(&) That, under section 3278, if the property is sold at a foreclosure sale under this
chapter, the borrower will be held responsible to the person who buys the property

12
 

- 59 Filed 99/03/13 Page 51 of 162
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.5 ee

at the mortgage foreclosure sale or to the mortgage holder for damaging the
property during the redemption period.

31. As noted above, not one of the more than fifteen letters that Ocwen sent to Third-
Party Plaintiff between June and October of 2012 contained all of the information described in
MCL 600.3205, In fact, all of the letters taken together do not even contain all of the
information described in MCL 600.3205a,

32. The July 6, 2012 letter ftom Oewen (Exhibit 10), informing Third-Party Plaintiff .
that he was in arrears, in default and that he owed $19,898.12 and that failure to bring his
account current could result in Ocwen’s election to “exercise [its] tight to foreclose,” was the

_ most detailed letter that Third-Party Plaintiff received, It did not provide the full amount due on

the mortgage loan, only the airearage. It provided “Important Information for Customers in

Washington,” listing statewide foreclosure hoflines available to them and two further Paragraphs...

~ that one could reasonably infer concerned only borrowers from the state of ‘Washington, one tk that

a HUD _ counseling | agency might | ptovide h help ‘and another in larger, bold type that the
borrower’s “failure to contact a housing counselor or attorney may result in [the borrower’ s]
losing certain opportunities, such as meeting with your lender or participating i in mediation in
front of a neutral third party.” Michigan law does not provide for “mediation in front of a neutral
third party.”

33, The information in the July 6, 2012, fetter (Hxhibit 10) does not meet the very
detailed requirements of MCL 600.3205a set forth in paragraph 29 above,

34. There is no recitation of the names, addresses, and telephone numbers of, or a
designation of, the mortgage holder, the mortgage servicer, or any agent designated by the
mortgage holder or mortgage servicer as the person to contact and that has the authority to make

agreements under sections 3205b and 32050, MCL 600.3205a(1)(b) and (c). Instead, Third-

13
 

 

My iled 09/¢ 52 of 162
Case 1:13-cv-13753-TLL-PTM y ECF No. 1-2, PagelD.60 Filed 09/08/18 Page

Party Plaintiff was informed of the name of his “relationship manager,” who would be his
“designated representative for resolution inquiries and submission of documents” — nog someone
who had the authority to make agreements,

35. There is no statement that within 30 days after the notice ‘is sent, the borrower
may, either by contacting the person directly or by contacting a housing counselor from the list
enclosed with the notice, request a mecting with the person designated under subdivision (c) to
attempt to work out a modification of the mortgage loan to avoid foreclosure. MCL,
600.3205a(1)(d). The only time period mentioned was August 6", the date by which Third-Party
Plaintitf should send in his payment, And no list of housing counselors was included in the
letter.

‘36. There is no statement that if the borrower requests a meeting with the person
designated under subdivision (c), foreclosure proceedings will not be cortimencéd wntil 90 days
- after the date the notice is mailed to.the borrower, MCL 600.3205a(1)(e).--——-

37. There is no statement that if the borrower and the person designated under
subdivision (c) reach an agreement to modify the mortgage loan, the morigage will not be

_ forectosed if the borrower abides by the terms of the agreement. MCL 600.3205a( 1)(f).

_ 38. ~~ There is no statement that if the borrower and the person designated under
subdivision (c) do not agree to modify the mortgage loan but it is determined that the borrower
meets criteria for a modification under section 3205c(1) and foreclosure by advertisement was
not allowed under section 3205c(7), the foreclosure of the mortgage would proceed before a
judge instead of by advertisement, MCL 600.3205a(1)(g),

39.. There is no statement that enclosed with the notice is a list of housing counselors

prepared by the Michigan state housing development authority or that the borrower may request

14
 

nad ; iled 09/03/13 Page 53 of 162
Case 1:13-cv-13753-TLL-PTM j ECF No. 1-2, PagelD.61 ried Py g

a housing counselor from the list to attend any meetings with a person designated under
subdivision (c), nor is there any such enclosure. MCL 600.3205a(1)¢h). Instead, information is
given concerning help for customers in the state of Washington.

40. There is no statement that the borrower has the right to contact an attorney, or the
telephone numbers of the state bar of Michigan's lawyer referral service or of a local legal aid
office serving the area in which the property is situated. MCL 600,3205a(1)(i). Instead, again,
information is given concerning help for Customers in the state of Washington.

41. There is no statement of the number of days in the redemption period that will be
available to the borrower if the property is eventually Sold at a foreclosure sale, MCL
600.3205a(1)(j).

42. There is no statement that if the property is sold at a foreclosure sale by

_ advertisement, the borrower ‘will be held responsible té the’ person who buys the property at the

Mortgage foreclosure. sale_or. to the. mortgage -holder for damaging-the property diting the"

redemption period. MCL 600.3205e(1)¢,
43. Not only did none of the correspondence from Ocwen contain any meaningful
portion of the requisite information, the information that the correspondence did contain was
. egregiously misleading. Third-Party Plaintiff vas repeatedly told that failure to return
application packages by certain dates “may result in delay of the application process,” rather than
what actually occurred ~ that, apparently regardless of what documents Third-Party Plaintiff did
or did not return, Ocwen was preparing to, and did, sell Third-Party Plaintiff's home at a
sheriff's sale, |
44. MCL 600.3204(4)(g) also provides that a party ‘shall not commence proceedings

for a foreclosure by advertisement if “[cjalculations under section 3205c(1) show that the

15
.

under section 3205 (7),

45. MCL 600.3205(c)(3) States that if the mortgage loan has been sold to a
government-sponsored enterprise (like Freddie Mac in the present case), the standards for a loan
modification under the Michigan statute that must be followed by the servicer are the
modification guidelines dictated by the governmental entity. Freddie Mac backed loans are
subject to the HAMP guidelines, which provide that the payments should be set at 31% of gross
income including principal and interest and Property taxes and insurance.

46. Thirty-one per cent of Defendants’ pross income is $2,015.00. The property sold
at sheriff's sale for $395,987.24, That amount amortized according to HAMP guidelines, i.e,
over 40 years at 2% interest, would result in a principal and interest payment of $1,199.15, plus _

_ ‘approximately $800 more for tes aid Iisurance, resulting in a monthly payment of $1,999.15,

Which is, under_the.31% HAMP threshold. “Tihs “Third-Party Plaintiff qualifies for a loan

modification under HAMP.,

 

47, MCL 600.3205¢(5)(a) requires that a lender send borrowers a copy of their
calculations relative to their eligibility for a loan modification, Third-Party Plaintiff? was never
sent a copy of the calculations relative to his modification pursuant to MCL 600.32050(5)(a),

WHEREFORE, Third-Party Plaintiff respectfully tequests that this honorable Court issue

an order providing that:.

I, The illegal Sheriff's sate occurring on October 19, 2012, be declared void; and

2. The eviction action stemming from this illegal foreclosure be dismissed,

16
Case 1:13-cv-13753-TLL-PEM ECF No. 1-2, PagelD.63 Fileq-09/03/13 Page 55 of 162.

Third-Party Plaintiff demands a trial by jury.

DATED: June6,2013 0”

JURY DEMAND

17

Respectfully submitted,

JEROME D. GOLDBERG, PLLC
Aires Uehen

eee ome D. Goldberg (P61678)
tiorneys for Defendant

2921 East Jefferson, Suite 205
Detroit, MI 48207

Phone (313) 393-6001

and
Mathes, Hn
Kathy H. Qyfurphy (P51422) (/

Attorney for Defendant. and Third-Party
Plaintiff

P.O, Box 51164
Livonia, MI48150 ~~
Phone ne (734) 57 578-1887

 

 
Case 1:13-ov-13753-TLL-PTM ECF No. 1-2, PagelD.64_ Filed,

Exhibit 1
Exhibit 2
Exhibit 3
Exhibit 4
Exhibit 5
Exhibit 6
Exhibit 7
Exhibit 8
Exhibit 9
Exhibit 10

~ Bxhibit 11—~

.Lixhibit 12. ...

Exhibit 13
Exhibit 14
Exhibit 15
Exhibit 16

Exhibit 17

Exhibit 18

Exhibit 19
’ Exhibit 20

Exhibit 21

09/03/13

INDEX OF EXHIBITS -
HAMP Regulations

Opinion of Judge Aquilina

Opinion of Judge Miller

Mortgage

Corporation Assignment of Mortgage

March 26, 2012 Letter from Bank of America
May 9, 2012 Letter from Bank of America
May 24, 2012 Letter from Bank of America
May 25, 2012 Letter from Bank of America

June 12, 2012 Letter from Ocwen

“July 6, 2012 Letter from Ocwen

July/August Letters-from-Ocwen---~-- <<< <->

September 19, 2012 Letter from Ocwen
September 20, 2012 Letter from Ocwen
Proof of Publication of Foreclosure Notice
September 25, 2012 Letter from Ocwen
October 9, 2012 Letter from Ocwen
October 11, 2012 Letter from Ocwen
October 11, 2012 Letter from Ocwen
October 25, 2012 Letter from Ocwen

Sheriff's Deed

Page 56 of 162
Case 1:18-cv-13753-TLL-P{M} ECF No. 1-2, PagelD.65 Filed09/03/13 Page 57 of 162

EXHIBIT 1
y

Case tts-cv-13793-TLL-P] My ECF No. 1-2, PagelD.66 Filed, \

i

09/03/13 Page 58 of 162

Announcement (2-05 Fe | April ad, 2009
, ("Reposted May 15, 3609)

 

Amends these Guides: Servicing

Reissuance of the Introduction of the Home Affordable Modification
Program, HomeSaver Forbearance™, and New Workout Hierarchy

b

Introdaction

This Aanouncement (05-05R) is a reisquance of Announcement 09-05, which was originally
issned om March 4, 2009. This Announcement provides additional poticy clarification and
instruction and supersedes Annonacement 09-05 iu its entirety. Policy clarifications and
nev instructions that are incorporated into this Announcement are identified by bald type.
(Gther minor editorial changes are included in this document but wat Identified in bold.)

*Heposted with “HAMP” in Hew af “EMP”,

. Deckgrowsd” soa

"On February 18, 2009, President Otnma amounced the Homeowner Affordshliy and Stability

Pian to help up to 7 to 9 million familics restructure or refinance their mortgage loans to avoid
foreclosare. As part of this plan, the Treasury Department (Treasury) announced 2 national
modification program alined at helping 3 to 4 tnillion at-risk homeowners — both these who are
in default and those who are at imminent risk of defimlt ~ by reduchg monthly payments to
sustainable levels. Treasury issued uniform guidance for loan modifications across the mortgage
indusiry in Supplemental Directive 09-01 on April 6, 2009. This Announcement provides

guidance to Feemie Mae servicers for adoption and implementation of the Tome Affordable

Under the HAMP, servicers will use uniform loan modification process to provide eligible

borrowers with sustainable monthly payments, The HAMP implementation goidetines set forth
in this Announcement apply to all eljeible one- to four-unit owner-occupied properties securing

Fannie Mae portfolio mortgage loans and MBS pool
The HAMP will replace the Streamlined Modification Program introduced in Announcement 08~

33 and the Early Workout™ program anncunced in Announcement 08-31. The ITAMP will expire

All Fannie Mac-approved servicers must participate in the program for all eligible Fannie Mae
portfolio mortgage loans and MBS pool mortgage loais guarniteed by Fannie Mae,

 

Announcement 99-05R } Page 1

loans guaranteed by Fannie Mas, -

Ex. &
 

, faxes, hazard insurance, flood insurance,

" Case 1:13-cv-13753-TLL-PTM yECF No. 1-2, PagelD.67 Filed 99/03/13 Page 59 of 162
: fo (oy

4

4s am alternative, the servicer may require a borrewer to submit the required

documentation to verify the borrower's eligibility sud income prior to preparing 2 Trial
Period Piaw. Upox receipt of the documentation and determination of the borrower's

eligibility, the servicer may prepare and send to the borrower s firm offer solicitation
indicating the borrower is eligible for the HAMP using the SIGTARP Fraud Notice, the
HAMP Tris} Pertod Plax Cover Letter (Step One - Income Verified), and the Tria! Period

A borrower is eligible for the HAMP if the verified income documentation confirms that the
monthly mortgege payment ratio prior to the modification is greater than. 31 percent. For

purposes of this Announcement, “monthly mortgage payment mic” is the ratio of the borrower's
current monthly mortgage payment to the borrower's monthly gross income (or the borrowers’

' combined monthly gross income in the case of co-borrowers),

‘

Detormining the Monthiy Martgage Payment

The “monthly mortgage payment” includes the monthly payment of principal, interest, property

condominium association fees and homeowner's
association fecs, a8 applicable (including any escrow payment shortage amounts subject to the
60-month repayment pian). When determining « borrower's monthly mortgage payment ratio,

payment. The monthly mortgage payment must not include mortgage insurance premiums
__ Payments or payments due to holders of subordinate Hens,

Determining Gross Monthly Income

 
 

Sea

Case 1:13-cv-13753-TLL-PTMy ECF No. 1-2, PagelD.68 FileqOoi03/13 Page 60 of 162

HAMIP and specific fnetification with supporting details if the request for modification
under the HAMP was denied, Records must also be retained to document the reason(s)
thet 2 Trial Period Plan is not finalized. If 2 borrower under an HAMP modification loses
good standing, the servicer mast retain documentation of its consideration of the borrower
for other foreclosure preveation alternatives, Servicers must retels HAM? documentation
as preseribed in Servicing Guide, Part I, Section 405: Record Retention.

Temporary Suspension of Foreclosure Proceedings

Servicing Guide, Part VIM, Section 105.01: Temporary Snapension of Proceedings

To engure thet a borrower currently at risk of foreclosure has the opportunity to apply for the
HAMP, servicersshould not proceed with a foreclosure sade until the borrower has béen
evaluated for the program and, if eligible, on offer to participate in the HAMP has been made,
Servicers mast use reasonable efforts to contact borrowers facing foreclosure to determine
thelr eligibility for the RAMP, including in-person contacts at the servicer’s discretion. -
_ Servicers must not conduct foreclosure sales on mortgage. loans previously referred to
foreclosure or refor new mortgage loans to foreclosure during the 30-day period that the
borrower has to submit documents evidencing an intent to sccept the Trial Period Plan offer.

   

to be made through the end of the month preceding the month in which the foreclosure sale
. is scheduled to occur.

Mortgage Insurer Approval

Executing the HAMP Documents

Servicers taust use a two-step process for HAMP modifications, Step 1 involves providing a
Cpeument outlining the terms of the forbearance (the Trial Period Plan), and step’? tavolese

 

Announcement 09-05R Page 16
 

Case 1:13-cv-18753-TLL-PTM) ECF No. 1-2, PagelD.69 Filed pejosi1s Page 61 of 162

EXHI

 
oe _
Case 1:13-cv-13753-TLL- PIM) ECF No. 1-2 PAGETETOT Fier) 20/08 Rage $2. ot 62 .
AA

STATE OF MICHIGAN
IN THE 30™ CIRCUIT COURT FOR THE COUNTY OF INGHAM

 

FEDERAL HOME LOAN
MORTGAGE CORPORATION,

-Plaintif@Appellee, ___», OPINION AND ORDER
| HON. ROSEMARIE BE. AQUILINA
¥

MICHAEL R, KELLEY
and KATHRYN M. KELLEY,

Docket No: 12-000885-AV

Defendants-Appellants,

 

Ata session of said Court held in the City of
oe ee cree te nee dea SB County of Ingham, State of Michigan, ~~~
. this 12" day of February, 2013

ee PRESENT: | The Honorable Rosemarie: E. Aquilina :
30" Judicial Circuit Court Judge

' This matter comes before the Court on Michael and Kathryn Kelly’s (“Defendants”)
appeal from a District Court decision granting: possession of property to the Federal Home Loan
Mortgage Corporation (“Plaintif?’), This Honorable Court having reviewed all-briefs, motions,
supporting documents, and. being Tully appraised of the issues, states the following:

BACKGROUND FACTS
On Match 21, 2003, Defendants executed a morigage with First National Bank of
America, The mortgage was recorded on April 24, 2003 with the Ingham County Register of
Deeds,
First National Bank assigned the mortgage to ABN AMRO Mortgage Group, Inc. (“ABN |
AMRO”) on March 26, 2003 and recorded the assignment with the Ingham County Register of

SET Mtn Ble rt nie ans .

 
Case 1:

Subject to 5 Amendment limitations on its ability to foreclose by advertisement? The District

13-cv-13753- TLL-PTM “ECE Noo 12; PageID:7t~-Filed- pans Rage 63. 0f 162 |
\ J

Deeds on November 25, 2003. ABN AMRO later merged into CitiMortgage, Inc, » maintaining
the name CitiMortgage, Inc., but remained the mortgagee of record through the foreclosure sale
without assignment and notice ftom ANB AMRO to CitiMortgage.-

As a result of Defendants failure to comply with the terms of the mortgage, the loan fell
into default. A foreclosure sale was ultimately held on October 20, 2011 with Plaintiff, as the
successful purchaser, A Sherif Deed on mortgage sale was recorded with the Ingham County
Register of Deeds on October 27, 2011 and given identification number 201 1- 038810.

Pursuant to MCL 600.3 240(7), Defendants had six months during which they could have
tendered redemption, They failed to do so.

PRO CEDURAL HISTORY

Several questions were brought i in District Court, First, was Plaintiff a Federal actor ee

 

” “Court answered this question in the negative and ‘Defendants appeal this decision, Second, did

Plaintiff fail to comply with Michigan Foreclosure Law, MCL 600.3204(3), requiring a record

‘chain of title? The District Court answered this question in the negative and Defendants appeal

this decision, Third, did Plaintiff comply with Michigan Foreclosure Law, MCL 600.3212,
requiring identification of the foreclosing assignee? The District Court answered this question in
the positive and Defendants appeal this decision. Lastly, did Plaintiff comply with Michigan

Foreclosure Law, MCL 600.3205a(1), tegatding pre-foreclosure modification? The District

. Court answered this question in the positive and Defendants appeal this decision,

L

- DEFENDANTS’ ARGUMENT

Plaintiff is Is a Federal Actor subject to st Amendment Limitations on jis ability to
Foreclose by Advertisement. :
 

‘

- Ny . - | ] w 6 O 162
Case 1 . 13 CV: 13 ( . . . -

Defendants argue Plaintiff admitted to acting as the Federal Govemment in several
instances. Throughout the month of January 2011, Plaintiff filed 13. Covenant Deeds in the
Ingham County Register of Deeds. Each was claimed to be exempt by Plaintiff under MCL
207.526(b)(i) and MCL 207,505(h)(i), both of which are exceptions from State and County
transfer taxes; reserved when the transferor is the United States or a political subdivision thereof.
A second sot of deeds, Sheriff's Deeds by which Plaintiff took ownership of the homes during

| the same period, also claims this same exception umder MCI, 207.5 05(h) (ii).

Furthermore, Defendants argue Plaintiff is a Federal Entity as a matter of law.
Defendants cite Lebron v National Railroad Passenger Corporation, 513 US 374; 115 SCt 961
(1995) as the case establishing the test for determining whether a private entity is a Federal actor,

Under Lebron, a company is a Federal actor where the Goverment sreates the corporation by

‘special law, for furtherance of Government objectives, and retains for itself permanent authority

a ee *e appoint a majotity of tis dirédtors 6 of that corporation. Defendants argue the level of control

the Government has on Freddie Mac is sufficient to declare it a p ederal actor,

' In 2008, Congress passed the Economic Recovery Act of 2008 (“BRA”) and the Federal
Housing Finance Agency (“FHFA”), Under this Act, the FHFA, a federal agency, became

| Ae ee ne sb

conservator of both Plaintiff and Fannie Mae. The FHFA is tasked with reorganizing,
rehabilitating, and winding up their affairs with no specific end date of the conservatorship and ;
no automatic provisions will return Plaintiff to its original status as a private entity. |

Defendants also claim the control exerted by the Government on Plaintiff far exceeds the
control of Amtrak discussed in Lebron, In Lebron, Amtrak was created by special’ statute,
explicitly for the furtherance of Federal Government goals, and the President appointed 6 of the

8 directors — 75%, Amtrak was found to be a Government entity. Along with its control, the

 
 

Case 1:13-cv-18753-TLL-PTM) ECF No. 1-2, PagelD.73 Filedo9/o3/1s Page 65 of 162

Federal Government acted as a policymaker at Amtrak and no provision existed that would
automatically terminate control upon‘a termination of a temporary financial interest. Id at 399.
Here, the FAFA has authority over 100% of the stock, all officers-of the company, and every. .
director. The Government’s position in this case is strikingly similar. Its coritro] over Plaintiff
not only matches the control over Amtrak, but exceeds it. .

1. Plaintiff did ‘not comply with Michigan Foreclosure Law, MCL 600.3204(3),
requiring 2 Record Chain of Title, -

Defendants argue the District Court’s decision which held Plaintiff complied with MCL
600.3204(3) is incorrect, because it misstates the argument made by Defendants. Defendants do
not argue a second assignment took place between ABN AMRO to CitiMortgage and it was

unrecorded, Defendants argue because CitiMortgage is not the original mortgagee,. an

assignment was required subsequent to the merger from ABN AMRO to CitiMortgage. That _

assignment never took place and was unrecorded in violation of MCL 600.3204(3),

The argument is based on statutory interpretation of MCL 600.3204(3) and Winiemko v
GE Capital Mig Serv Inc No, 177827, 1997 WL 33354482 (Mich Ct App Jan 17, 1997). At the
time Winiemko was decided, MCL 600.3204(3) stated when an assignment was made it must be
recorded. However, today the statute provides, in part:

If the party foreclosing the mortgage is not the original mortgagee, a record chain
of title shall exist prior to the date of sale,..evidencing assignment of the mortgage
to the party foreclosing the mortgage. [MCL 600,3204(3)]
Defendants claim this language requires an assignment any time a new party takes hold of the

mortgage, even if it is the same company that has metged into a new entity.

HI. Plaintiff did. not comply with Michigan Foreclosure Law MCL 600.3212, requiring
Identification of the Foreclosing Assignee,

 
Case 1:13-Cv-13753-TLL-PTM yECF No. 1-2, PagelD. 74 rnen?

 

9/0373 Page 66-0

JS

Defendants state, pursuant to MCT 600,3212(a), every notice of foreclosure by
advertisement must include the name of the foreclosing assignee. The District Court decided this
provision was not violated because CitiMortgage is @ post-merger name, which includes ABN
AMRO, and ABN AMRO was the last assignee required to be named on the notice.

Defendants reiterate ABN AMRO did not survive the merger and the merger was not
equivalent to a hame change, as the District Court has surmised. At the very least, Defendants
argue this creates an issue of material fact requiring discovery to determine the identity of who
retained Trott & Trott, P.C., to perform the foreclosure. Defendants state it is CitiMortgage, but
the company is not listed anywhere, as the statute requires,

ry, Plaintiff did not comply with Michigan Foreclosure Law, MCL 606.3205a(1),
regarding Pre-forectosure Modification,

Lastly, Defendants argue the foreclosing party must serve written notice of right relating---—~--

_ 10.4 meeting to discuss modification of the mortgage, pursuant to MCL 600.3205(@)(1).. Two...

problems arise. First, if Plaintiff sent notice, it infers Plaintiff was the foreclosing party and
‘therefore is in violation of the notice requirement above. Second, if Plaintiff is not the
foreclosing party, but notice was sent on its behalf, then the actual foreclosing party did not send
notice in violation of MCL 600.3205(a)(1), producing a void sale and Sheriff's deed. |
Therefore, if the foreclosing party is unclear, and Defendants relied on-the notice to meet
and modify their loan, which was ’ventually denied, the foreclosing entity could not have had
authority to settle as required by MCL 600,3205(a)(1}(c} - they would not know whom to seek
authority from. Subsequently, either the sale is invalid because the foreclosing party did not
provide the necessary notice and negotiator authorized to settle under 3205(a), or the foreclosing

party was Plaintiff, who was not assigned the mortgage as required before the sale.

eee

 
 

Case 1:13-cv-13753-TLL- PTM

PLAINTIFF’S ARGUMENT

L District Court correcily applied Lebron to hold Freddie Mae is not a Government
Actor for Constitutional Purposes,

Under Lebron, a private corporation is deemed a government actor for purposes of a
constitutional challenge when Congress created the corporation by special law, for the
furtherance of government objectives, and retained for itself permanent.authority to appoint a
majority of the directors of a corporation, Lebron supra, at 400. The District Court recognized
the conservatorship of Freddie Mac by the FHFA does not establish permanent control under

Lebron.
Herron v Fannie Mae, 857 F Supp 2d 87, (DDC 2012) Agrees, stating when the FHFA,

ser'ves as conservator, it steps into the shoes of the private corporation, Fannie Mae,. Therefore,

OR ti ne

Plaintiff argues, the FHA. directs Freddie-Mac-as the ‘successor to that" Corporation’s 8 private ~

_ “rights, titles, powers, and | privileges”- not in the Government's. capacity, - However, these cases —

are not recorded, and therefore not binding, but persuasive,

Th addition, Plaintiff states even if the conservatorship did establish Government control
over Freddie Mac, any control would not be “permanent” as Lebron requires. The FHFA was
empowered to act as conservator or receiver of Freddie Mac for purposes of “reorganizing,
rehabilitating, and winding up its atfairs.” 12 USC 4617, The enabling statute expressly allows
the FHFA to have temporary, complete control over Fannie Mae, but not permanent,

Lastly, as to tax exemptions on transfers, Plaintiff states Government-created
corporations are often held to be tax-i immune, but courts have also frequently found them not to
be subject to constitutional treatment as government actors, citing Hall v Am Nat'l Red Cross, 86

F3d 919, 922 (CA 9 1996). Also, its enabling statute allows for tax exemptions. See 12 USC

1452.
CF No. 1-2, PagelD. 76 Filed 09/03/13 Page 68 of 162

Case 1:13-cv-13753-TLL- PTM. 5
, \

I, A Foreclosure is Not a Government Action,

Pursuant to Cramer y Metropolitan Sav And Loan Ass ‘n, 401 Mioh 252; 257 NW2d 20,
(1977), the Michigan Supreme Court adopted the Sixth Cirouit’s analysis of the Michigan
Foreclosure by Advertisement Statute adopied by the Michigan Court of Appeals i in National
Airport Corp v Wayne Bank, 73 Mich App 572; 252 NW2d 519 (1977). These cases held the
power of sale is incident of the private right to contract Therefore, a mortgagee who exeréises a
foreclosure option is telying on a contract remedy, and not on a right created by statute. The
State cannot be said to be significantly involved, through “encouragement,” in the challenged
conduct, and a due process question is consequently not presented, | Cramer, supra, at 259,
i. Defendants are Time-Barred fram Raising Certain Arguments, |

Plaintiff contends, since the foreclosure proceedings had been initiated, the redemption

~~ period had passed, and the sheriff's sale has occurred, Defendants 1 no longer have rights in and
---title to the property-and: therefore; aré barted from bringing certain defenses. Plaintiff cites Awad

» Gen Motors Acceptance Corp, unpublished opinion per curiam of the Court of Appeals, issued
{April, 24, 2012] (Docket No 302692), Overton » Mortgage lee Registration Sys, No 284950, |
2009 WL 1507342 (Mich Ct App My 28, 2009); and Sweet Air Jnvestment, Inc y Kenny, 275
Mich App 492, 497; 739 NW2d 656 (2007) as stating that once the redemption period has ended,
and Defendants made no effort and took ino action to redeem, they cannot show prejudice and a
claim of inadequate notice is without merit. |
IV. The Foreclosure Process Complied with Michigan Statute,

Plaintiff focuses primarily on Defendants’ contention that an assignment is required
between ABN AMRO and CitiMorigage after a merger where ABN AMRO became

CitiMortgage. Plaintiff cites several unpublished cases from 2012 dealing with the exact same

a ee

 

 
 

 

>

Case 1:13-0v-13753-TLL-PTI ECF No. 42, PagelD.77 "Filed Op/G3its “Page 69 of 162 ~~ ee

\.

__’ Merger issue and the exact same company. The cases of Sesi v Fed Home Loan Mtg Corp, 2012
US Dist LEXIS 24348 (ED Mich Feb. 27, 2012) and Meyer v CitiMortgage Inc, 2012 US LEXIS
19548 (Feb. 16, 2012) state that it was not necessary io assign Defendants’ mortgage to itself
because, under New York Law, the merger of ABN AMRO to CitiMortgage allowed
CitiMorigage to: |
| Possess all the rights, privileges, immunities, powers and purposes of each of the
constituent corporations [and] all the property, real and personal, including
subscriptions to shares, causes of action and every other asset of each of the
constituent entities shall vest in such surviving consolidated corporation without
further act or deed. [NY Bus Corp Law Sec 906(b)(1)-(2)]

Because no assignment was necessary between ABN AMRO and CitiMortgage, Plaintiff
asserts the notice given to Defendants was not faulty, and even if there was an error, pursuant to
Jackson Inv v Pitisfleld Product Inc, Corp, 162 Mich App 15 0; 413 NW2d 99 (1987) the error:

~. would only render the foreclosure voidable and not void. There is no evidence showing
~~Defendants would-have “been any better-off had the correct information been on the notice.
Defendants knew about the foreclosure sale, were unable to, and did not take any. action to
prevent the sale, and took no action duting the redemption period following the sale, Therefore,
Plaintiff maintains no section of the foreclosure statute was violated.
CONCLUSION OF LAW

This Court reverses the District Court's decision of two grounds, First, this Court finds
Plaintiff, as it currently conducts business, a government entity requizing 5" Amendment Due
Process notice and hearing for actions depriving individuals of life, liberty, or property. In
addition, the Court finds that pursuant to MCL 600.3204(3), Michigan is a notice state requiring
assignment of the mortgage from ABN AMRO fo CitiMortgage in the occurrence of a merger .

between the companies,

 
 

CF No. 1-2, PagelD.78 Filed 09/03/13 Page 70 of 162

Case 1:13-cv-13753-TLL-PTM 1-2, ' }
I, Freddie Maé is a Government Entity Requiring 5 Amendment Due Process
Procedure, co |

Aside from Plaintiff fi iling tax exemptions ; as the United States under MCL 207. 5260) and
505 (h)(i), rather than under its own enabling statute, under Lebron, a company is a Federal actor
where the Government creates the corporation by special law, for furtherance of Government
_ objectives, It retains for itself permanent authority to appoint a majority of the directors of that
corporation. The only issue here is whether the Federal Government tetains permanent control .
over Plaintiff, This Court holds that it does. In 2008, the Federal Government passed the ERA,
creating the Federal Home Loan Mortgage Corporation. Pursuant to 12 USC 4617, the FHFA is
. Conservator of both Plaintiff and Fannie Mae with duties to reorganize, rehabilitate, and wind up

their affairs. In regard to permanence, there is no determined end date in which Plaintiff will

' become a private entity, nor is there an automatic provision. that -will-tevert Plaintiff toa private”

entity, The FHFA controls every aspect of Plaintiff's business and its Board of Directorsis— --

: appointed by and answers to the Director of the FHFA,
Though conservatorship is described as a temporary status of a company, the procedures and
provisions in place in this. case make the conservatorship, in all practicality, permanent, Because
Plaintiff is 2 government entity, foreclosure by advertisement is prohibited and constitutional due

process procedure must be applied,

Hi, CitiMorigage Violated MCL 600. 3204(3) when it did not Retain Chain of Title on
Defendants’ mortgage as the new foreclosing party.

This Court respectfully disagrees with the astern District’s decisions in Meyer and Sesi
and interprets MCL 600.3204¢3) to require an assignment of the mortgage upon a merger

between companies where the mortgage holder ceases to exist and the surviving company, or a

new company, takes its place,
 

Cése 1:13-cv-13753-TLL-PTM &CF No. 1-2, PagelD.79 Filed 09/03/13 Page 71 of 162

Sd

e .

Michigan is a notice state, and under Plaintiff's construction of the law, individuals with
little experience in the realm of mergers and acquisitions could have their mortgages sold around
to several companies, each making an assignment record, but if one decides to merge and
completely change its haine, no assignment record would be needed. Hypothetically, a company

‘could merge several times, changing its name every time, without requiring a chain of title
notios, This would leave the individual searching for its mortgage holder if something were to
happen, as inthis case. . .

In order for individuals to be able to remedy problems that arise in their mortgage, the

legislature amended MCL 600. 3204(3) from applying if assignments needed to be made, to

requiring assignments in every. situation where the foreclosing entity is not the original

mortgagee, In this case, ABN AMRO ceased to exist when it ‘merged with CitiMortgage, Tne.

~different entity that is required to be | assigned the mortgage under MCL 600. 3204(3),

_ Because of this failure to assign the mortgage from ABN AMRO to CitiMorigage, Inc.,
Plaintiff violated the notice requirements of MCL 600.3212(a) requiring notice of the foreclosing
assignee. In this case, the assignee is CitiMortgage, Inc, not ANB AMRO. .

THEREFORE, iT IS ORDERED that the District Court's decision granting Plaintiff
possession be reversed and Plaintiffs complaint be dismissed. In compliance with MCR

2.608(A)(3), this Court finds this decision as the last pending olaim and closes this case,

IT IS SO ORDERED.

10

Because of this, CitiMortgage, Inc. is not synonymous with ABN AMRO, but is an entirely .

 

ete:
Te

” Case 1:13-cv-13753-TLL-PEM ECF No. 1-2, PagelD.80 Filed og/os/i3 Page 72 of 162
. \

PROOF OF SERVICE
I hereby certify 1 served a copy of the above Order upon Plaintiff and upon Defendants

by placing the Order in sealed envelopes addressed to the attorney of each party and deposited
them for mailing with the United States Mail at Lansing, Michigan, on February 12, 2013.

i poe (P75166)

A a ee rr rs ere

il
- Case 1:13-cv-18753-TLL-PTM ECF No. 1-2, PagelD.81 Filed 09/03/13 Page 73 of 162
Le . . I

s
EXHIBIT 3
‘ Case 1:13-¢y-13753-TLL-PTM ECF.No. 1-2, PagelD..82 Filed o9io3/13 Page 74 of 162

 

STATE OF Micon, AN
“MACE ee :

   

 

  

 

a Fe OR  Ga88 No 2009-2627
SUSAN HASS aid ROBERT WARS, pe

 

 

 

 

 

) M 6 ie coi Ben Stn es Weld
te ity a a: at ta 23 “i :

 
 

Case. 1; 13- “CV- 18753. TLL- PTM CF No. 1- 2, »PagelD. 83. Filed o9/0s/13 Page 75 of 162

.

    

. wi a endl af tiaie fen: ated hae a ;

   
    
  

 

: 9 531 D8: “wiontiy opm 6 Teduded by 7
ot iit jh

: uw the: come tiereas, whichever oveureg fists However
: ted: thle aston Proposab ‘i Jaen €

us for 1. it,

enianed tine aid a

 

  

oo Pitt Canis “ie ‘tat

   

te til: ,
 

~Case':13-cv-13753-TLL-PTM ECF No. 1-2,-PagelD.84 Filed 99/08/13 Page 7601162.

 

spiel preety eotitd that ep al i eo ie matey a trusteo foe Hasoo a0 Ne atid fee

a "a Wells mango is the aptuat ovine: andor Servier of 'HASCO 2007. Nex: They fitter assert
s that Able a Wells Paty ‘are esta the: saitie, Alentvty,

: } they insta that thor is
eon ine si ot nial it repatig abt eel ‘ ‘onsbip, th suport of the

    
  

positon, v tay

   

ey en a: copy of the ost. of e .
oityage ‘ort MRS : Abjellee Lappin Exhibit ay a copy of a white pages peat an 7
i

“he Titernoe (Appétit iit ao

   

7 A uELY 4G: ‘he Heth itn autos ‘with fie Diaitict ou iat me
oo. ae ' — ate tot eet to velo ite pier fda setts sine tie sri
ation stibsequei te ti Shins Site,

   

Ales aot ‘anit,

the Coit is pine that ae, are nites = aa of a

   

and. ‘a ORY oF ¢ tie > Shes s Deed & on Moree Sito oS . | o .
* Case 1:13-¢v-13753-TLL-PTNY. ECF No..1-2, PagelD.85, “Filed 0g/03/13 Page 77 of 162.

 
" Case 1:13-¢v-13753-TLL:PTM ECF No.:1-2, PagelD.86 . Filed poesia Page 78 of 162

 

 

   
 

Fe EES i iltion tna tr ig see 7
_ Miners & ertigexabdfeation, ety @ brbich of contact by ayo thedeily nen

=e tn donno ind ti Sips Sate vuld
sasha ce en te a ER

 

 
/. Cage’:13-cV-13753-TLL-PTM For No. 1-2, PagelD.87 Filed 09/03/13 Page 79 of 162

( OD

7 <Ot eben te 2069
Ait at mi Pn

 

 

 
-. Case 1:1S-ev-18753-TLL-ATH ECF No, 1-2, PagelD.88 Files 09/08/13 Page 80 of 162 2.

 
Case 1:13-cv-13753-TLL-PTM ECF No..1-2, PagelD.89. Filed 09/03/13 Page 81 of 162

 

: Sale wit whi to" rooover tele sropetty! ‘ Ths, sty le not oes achieved 8 the .
o “fe of the Shattr Sale in chi jn, mn

 

 

ng ro Mito ind n Vig ate
 

: Case 1:13-cv-13753-TLL-PTM .ECF No. 1-2, PagelD.90 Filed.09/03/13 Page 82 of 162

i any oven, the Court st: contre be quoted. three” factors ‘under, ‘Sinpploeentany ns

ar Directive. 08.01 as. a a-eliole

      
  

obi pia: - Teta Shatltys Sale wore ‘6 be used as the .

rst et, sudh rs would seer te 3c ronan,

 

. . sucnige urider thé Biter Court's shld sis the 1 Shee Site out-ott date woul tender it -

7 Tnoot: Porguiat to, the third. t fen, Aili ara ‘not inset fro het see

 

 
, Case {19-ow-19759-T PIM EGF No. 1-2, PagelD.91 . Filed 09/03/13 Page 83 of 162

a cout: proved "Webs: ihevely ing o et. prone ag deine: 0 ® Appalloe's a -
os clin pean. OT oe

 

   
 
   

‘the Court noe ot ade ay of Paypal semana aunts inant ‘as. |

 

 

ieredin. the AEB “Distiet Coun ig Ss

“this mater i ‘apREny Reval > for procesdings ‘consistent with the instant © =>

oe = Ao ae ore oo

 

 
 

Case 1a3-ov-18753-TLLPTM ECF No. 1-2, PagelD.92 Filed 09/03/13 Page 84 of 162

( (J

EXHIBIT 4
 

Case 1:13-0v-19753-TLL-PTM ECF No. 1-2, PagelD.93 Filed ogioai13 Page 85 of 162
. ~, LL

++

 
   

WED OL

O okinnn The Co
LO CeaTieo
Bay Cr, Al

hori.
i oN

Me tiidrad WH “OaHaR

      

campieayun suse
Ee

OFFICIAL, BEAL Pamnit Sciunty, Michigan
Register Of Desde

whe

Jury G7, 286 BE
| MORTGAGE |

Return To: .0AN # oa -
FLS-700-Di-D1, JACKSONVILLE POST: CLOSING
BANK OF AMERICA oe
9000 SOUTHSIDE BLVE , BLOB 700, FILE RECEIPT DEPT
JACKSONVILLE, Fl. 32286

DEEINITIONS |
Wards used in multiple sedtloas of tliu déoumient ave defined below and other words are défined
iq Sections 3, 11, 13, 18, 20. and 21, Cartan cules. regarding the usage of words used in this
document are also provided it Seotion 16 .

{A) *Seonrity Inatrimont” moans thie document, whtoh is dated JUNG 26, 2008,
together with all Riders to this dooument,
(8) "Borrower" ig N(TIN M AMERSEY , BINng, le rary -

Horrower's Address 18 B APPLESHIRE, FREELAND, 1 48629
. Hocrower ia the-nidrigagor vader thus Seourlty Instrument

MICHIGAN - Single Funnly ~ Pattie Mtac/treddin’ Mae UNIFORM iisTaUMERT Form 9022 4/i4

ET: ~ Bilal carn . fl

Roggio 10 Pitt eee teen . | |
VP Mértgnge Bolutrans 1601521-728 CNEL OG2ES/08 1 23 PAM ETNA) FSSA LO IA

20 6¢(4)

 
Case 1:13-cv-13753-TLL-PT ECF No. 1-2, PagelD.94 Filed 09/03/13 Page 86 of 162
Liber: 2409 Page: (kd Page 2 of 16 ‘J

’

 

(€) “Lander” ss BANK OF AMERICA, 1 A

Lendlér 46 0: NATIONAL BANKING ASBOCIATION =
orgetazed.dnd-eulsticg ihder the laws of THE UNITED STATES OF AMERICA
Laiider'y addvess ix 276, 5. VALENCIA AVE: 18T FLOOR, BREA,. GA Q2ezsea40

Leader ia the mortgages under this Security Instrument .

(D) "Note" signa the promigory notesigned by Borrower and dated JUNE 20, 2008

The Note states that: Borrower owes-Lender THREE HUNDRED SEVENTY ONE THOUSAND S1X
HUNDRED AND 00% 100 Se Doltars
(2.6, § 977,600 08  } plus interest Boreawor hae promised to-pay this debt in regular
Periodic Payrionte and to pay the debt.en full not inter Wie = JULY OT, 2088
(Eh “Property” means the property that is dexitibed below under tis heading "Tranefae of Rights
dn tie Property." . a a:
(F} *Liven* moans tho debt.evterived by the Note, plus interest, any propaymient chargea-and late
charges due under the Note, éid‘all atiria due under this Seourty Instrument, plusinterest
{(G)."Riders® means ali Ridecs tg thie Seaurity Instrument that are executed by Borrower. The
following Riders are to be exteuited by Botrower igheok box'sa applicabled:

' ["} Adjumtable Reve Rider [—] Condominion Ruder [7] Second Home Reder
| Ballagh: Rider Planned. Unit Development Rider [“] 1-4 Parsily Rider
| Vax Rider Fiweckly Payment Rider Ciitior(s) fapecity?

” CRY “Applicable Law® ‘misame all conteotting applicable federal, state and local statutes, —
- yogutations, ordinances end adminiztrative:rules: arid ordére (thet have the. effet of law) as well as
. all appluatio final, soorappenlable judicial Oprtvans .
(i) “Commenity Absoclition Dust, Fens; aad Assesaments” mean all dues, fess, ~~~
assosements, and other charged thét-aee-caipoded an: Borrower or the Property by 2 condominium
association, homeowners-agsoplation ot shatilat Gr gartealion,
(0): "Electronic Funds Traisfsr’ yieane soy tanetor of furids, other than 5 transection
originated by check, draft, of danrlat paper fistrument, whieh is witiated through an electronic
feeminal, eleptionie toattatient, computers or.stiagnetle tape.so aa to otder, Indtfuct, or authorize
a. hominid instlenelon to debit or credit an account Such term meludés, but i oot limuted to,
point’absaile iitiofers, automated teller. machine transactions, trinsfors adegted by telephions, wike
travibtedy, snd aotpitinted clearinghouse transfers -
(K)."Bactow Tdemis” mouny thoes itsme thet are-dezorl bed in Seohdn 3 .
(L} "Miscellaneous Proceeds" means any: comperzition, spttlamnant, award of damages, or
procsedi pa by any. third poy {other then Jiiubhhes progéeds par under the onverages
desovtbed in Seotion 5) for (} damage to, or destruction of, the Property; (4) cardemastion or
othidt: ising: of aff or any part of the Property, Gil) cosveysnns i lew of condemnation; or Gv)
spilneeprieentations of, or ocniiiond 48 0, the value ‘andlor condition of the Property
(NM)! "Mortgage Tnsurance” mésny insutaice protecting Lender against the nonpayment of, oF
defaulton,-khaLoa | nea. a oe
(N} “Reriodie: Payment" means the regularly echedided antount dus for {i) prinelpat and
aitersat under thé Notes, plus (ii}.eny arnounts under Section 3 of this. Sevortty Instrument.
{OF “RESHA" mieun the Rest Estate Settlement Privedures Avt (12 US.C Section 2601 e¢ 209)
and. ite sinplementing regulating, Reputation X (24:C.F R, Port 3800), ae they xaight be amended
from: time to time, or any additional cr suereniir legulation or regulation thaf-govering th same

imine See

Gaia tao Pegs # a0 18, Form 3028: 4/93
CUM O8¢ 18708. 1 99. PM BOGOR LATA?

 

ane areete ene enamine) PM A EE
 

 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.95 Filed 09/03/13 Page 87 of 162

Liber: 2499 Page: 16d Page 3 of 16 (J

 

aublect matter As’ used: by thig Sepuriiy Instroment, "RESPA” refons to all requirements and
rextHotions that are. impened in regard to a “federally selited snortgage fon” ever If the Loan
doew not qualify a8.4 "federally related morigagelokn® uridér RESPA.
(P) *Bitdcesaar is Interest of Borrower” mena any purty thet hiis taken. title to. the Property,
whether or not, thet pariy hav-sesumed Horrower’s obligations under the Note andlor this Secitity
ioeteiiment

TRANSFER OF RIGHTS IN THE PROPERTY

‘Ths Seoneity Instrument wecures 40 Lender (1) the repayment of the Loin, and all
tenawals, extensioid arid miodificston: of the Note, and (i) the performance of
_ Borrower's: covenaiita and agesetnentis: under this: Security Instrooxent dad. the Note Por this
purpose, Boscoior died fieteby mortgaye, warednt, great atid convey t4 Lender, ard Lender's
euocestore arid. assign, with power of sale, the. following desoribed propériy lovsted in the
COUNTY ; {Typsof Recondag Jurdichion)
of SAGINAW . Noses of eoording Jursedistiat
"LEGAL DESCRIPTION ATTACHED HERETO AND MAGE A PART HEREOF *

 

Parcel 1D Nuntbar: zeizszgeqcce | which currently hae the-addresa of
§ APPLESHIRE a _ (Siepet!
FREELAND [City]. »Michigen 48822: (Zip Code)
("Property Addnvea"}

TOGETHER WITH. all themiprovements now or hereafter ereoted on. the property, and. all
eagecions, appurtenances, snd fiatuces now or hétenfter a. part of the property All replacements
atid addftiori afiall also be covered by this Security Inatroment Alt of the torsgoing ja relerred to:
in thiy Seourity Insteument'as the “Property.”

BORROWER COVENANTS that Borrower is lawfutly coiged of the eotate herety conveyed
and has the Heht ta mortgage, grant and convey the Property and thab thé Paoperty is
unencumbered, exeapt: for ehoumbrances of reonrd, Borrower warrante snd will defend generally
the title tothe Priiperty sipaidiat all slaane 3nd demands, subject. to any andum branves of record

THIS SECURITY INSTRUMENT conibines uniform coveninty for ngtional uss: and
nonunitorns, coveranta: with Henited vanations by yuelediation t¢ constitute s uniform security
instrurtient covering reel property,

 
   
  

oo irattols _ ne A.
Zk Bia oxen ign 9 ot 18 Form 9029 1/01
EVAL O67 T0708. 1 3 PM 8060011747
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.96 Filed 09/03/13 | Page 88 of 162

Liber: 2499 Page: 1560 Page 4 of 16 CJ

UNIFORM COVENANTS. Borrower‘ and Lender covenant.and agro ag follower |
i, Payment of Pridclpal, leterest, Escrow Home, Prepayment Charges, and Late
Charges. Borrower shill, pay whet dua the-prlacipat' of, and iniereet:on, the debt evidenced by thé
Nott: and any prepayeneitt charges and inte charged duc under the’ Note Borrower shall alsd. pay
unds for Héovow Item purausint to Seotion 3 Paythanite due. under the Note and. this Seourity
Inetétinientahall be madd in US currency, However, if avy check or-other Instrument received by
Lendéi a8 payment under the Note or this Becurty Inettument is. rsturned. to Lender unpaid,
Lenidet tomy require that any ov all subsequent poyments due uteer the Note and this Security
finteurnent‘be made sn: one or moro af the following fornia, a9 seleoted. by Lender: {a} cash; (b
stiisiey orders (c} vortitied cheeks, bank, check, wosburet’s ofieck or cashtor's check. provided anly
Buch: dfieck ig drawn upon so Institution whoae deposlis are insured by a federal agency
inatrunientelity,.or entity;or (d) Blestronla Funds Temator, |
Paymienté ate deamed: necaived by Lender when tecelved at thedtocation dealgasted in the
‘Note or at euch other lovation ay anay Be deagnated by Lender in néontdunios with: the notice
providieas in. Seotion 18, Lender may retumn any payment or patttal payitent if the. payment or
partial paynients ere insufficient to: being the Laat eucrent: Leniler may accept any payment or
partial payment iasuffiolent to. being the Loan adrrent, witht watvor of any zighte hereunder or
pisjndice to ste rights to refuse auch payment of partial payments in, the future, but Lendor 18 nt
abtigated to apply such paymente at the time sith payments ste apcopted, If each Periodic
Payment ig applied. ab-af chr edhednled: due dato, then Lender vedd riot pay interest on nnapplied
fusida Lender mby hold auch unapplied funds until Borrower makes payment to. bring the Loan
eonrent, If Borrower dove not do:so wetun 4 measoiiable peried of tinge, Lender ahall either apply
auch fonds of return them to Bogrower not applied eather, such funds will be applied i ths
___.... .... outstanding principal batanes under the Note igmsnodiately prior tw foreclosure, No olfect or clam
whiok Bostower might have cow or in the Yutire apanet Lender shall relieve Borsower from: —-—-—
maleng payments due vider the Note and this. Seourity. fnatrument or gérformung the. covenants.
“tind agen exments scoured by this Security Insicumelit
; Appitoation of Payments or Pranseds Hicopt aa otherwing described tw thie Section’ 2,
all: payments acoupted and applied by Londor shsll be sppllert in the following order of pelority
(a): Yntgrest dus utder the Note, (b) pendipal due vinder the Note; {e) smounta: due under Seption
3, Bich. payimenta shell be svplled ta each Pérlodie Payitient in, the order. in which i€ becarie due.
Any remaining amounts shall be applied first ta late oharaed, aechnd to-any other amounts duc
wider this Security Enstrument, and then to sedliby tis poneipal helancs of the Note, _

It Lender. recsives a payment tram Borrower for w delinquent Periodic Payment wilel
includes s aufliclent. amount t6 pay any’ tate charge doe; the payment. may be soplied to this
delinquent payrhent aid the lute. charge: Itmore-then one Penodia Rayment 14 outetandlng, Lender
tomy apply any: payment seized. from. Borrower ta the repayment of the Periodic Payments sf,
and tp theextent that, eaghi 7 srenent oan be pald.it toll. Po the extint that any ‘excess exssta after
thy payin fe applied to the f I pa ment of onda more Periodlo Payments, such excess may be
Applied to any late charges due Voluntary prepayments shell be applied Hrét to any prepaymtent
objargen and then as deserrbéd 1” the Note

Any application of payrionty, insurance proceeds, or Mibucllencous Proceeds to pemoipel due
wider the Note shall not extend or postpone the due date, or change. the amiGunit, of tis. Peniodic
Paysrents, 7

4, Bunda for Escrow. Herne, Bacrower shall pay to Lender on thé day Ponodie Payments
are dite vindér the Nos, nitif the: Noteds paid in fall, sur (ihe “Fonde") to provide for payment
of anigunts due for" (a) taxes and assesoments and other Rams which. can attesn priority over this
Securlty Tnstroment aga Hen or eniouanbrayice on the. Property, (6) Jeaschold paymebte ot ground
réitte on the Property, if any; {oY premrome for-any and ef) meureiios required by Lender under

initisis Pit ft

e-Bay aot). Pepe 4 of Ye Form 3028 47/04
CUM ogsigses Tbe PA Boede1;7a7 -

 

eR
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.97 Filed.09/03/13 Page 89 of 162

Liber: 2490 Page: Sue Page 5 of 16 ()

Stotion 5; and. (4) Mortgage. Insurance premiums, xf any, or any sumg payable by Borrdwer to
Lender in flew of thé: payment of Mortgage Insurance gretiaima in accordance: weth the provisions
of Sedition 10:. Wheew fits are: called *Hsoray Tine." At orighation or ot. any ume during the
torn: of the Loan, Lender may require that Dominunity Association Dues, Peer and Anssasmenta,
if nay, be. escrowed. by Bortbvted, ard: sich dues, feos and. assessments shall, be an Beorow Tem,
Borrower shall promptly forinah 1 Lender all notices of amauvais to be paid under this Section
Borrower shail. pay Fender thé Ponds for Beorow liema: uniess Lender waives Borrower's.
obligation ta pay thé Hodda for any ar afl Beorow Teme. Lender may waive Borcawer's obligation
to pay. fo Lender Fonds for any or all Récrow items atany tima Any-suoh waiver may only bs in
writlig, Tn the event of such. waiver, Bovtower shiall pay direetly, when atid where payable, the
anidinty dup tor.eny Racrow Items for which payinaey of Pounds live been waived by Lender and,
“af Lender requires, shall: furnish to Lender rectipte evialenciny-auch: payment within such time
pari: a9: Lanier: may require, Borrower's obligation th Rieke dich paymienta. and: th. prowde
revepta-ahall. for: all purposes: te deemed. tn 'bs & onvettant uid agreement oontamed id dite
Aeourtty Instrument; as the: phrase “cayenany and agréoment™ is used in Section 9. It Borrower 19
obligated to pay Escrow: Hema atrectiy, puipuant to 2 walver, and Borrower fallé to piy the
amount due for an: Escrtiw Tier, Lendér muy exervise. cis nghia under Section & and pay sush
amount and Borrower shell then be obligated under Seotion 9 to: repay to Lender atiy such
amount: Lender utay revoke the warver ap to-aay or all Recrow lems st any time. by a notice
given th accondsdce with Section 15 snd, upon uct: tevdcation, Borrower stall pay to Lender all
- Ronda, td in, suck amounts, that are then tonne urider the Section, |
Lander may, at any time, collect and hold Funds in si apitunt (a) aufflovent to permit
Lender to applix the Funds: at the time apecified: ‘under RESRA, and (b) not to exceed the
---engyot-ammount a lender: cant require under RESPA. Lender shell-eptimate the amountof'Runds ......._._ -
dus-on. the bass: of current data and. reasonable catimates of expenditures of futuce- Bacrow Iteina
or otherwinein addordiinos with Applicable Law,

-. "Phe -Fusids phall- be held -an-an-anetetotiog, whose-deposita ace fridired. by. a. fedoril agenoy,-————-------

instromentallty, of entity (inoleding Leriden, it Lender is an motitution whore depastts are. co
insiieed) or in any Federal Homie Loan Bank Lender shall apply the Funds to pay the Escrow
Teves 110 later then the tine specified onder RESPA, Lander shail not shargs Borsower for
holding atid applying the Fonds, annually: anelyzing. the esoidi accotmt, or verifying the Essrow
Fame, vnlees Lander pays: Burrower interest on the: Pinda and Apphoatls Law pormite Lender to
seks. such a objsrge, Unless on agreement im ide. iti writing or Applicable Law requites interest
to be pud-on the Funds, Lénde? shall sot be xequired 40 pay Borrower: any interest or earnings on
the. Funds; Borrower and Lendér- cen agroe-in. wetting, however, that interest shall bo pald of. the
Funds Lender shall give th Borrower, without chergs, an annual. accounting of the Puady sat
required. by RESPA 7
_Tf theresa surplus ot Punde held in: escrow, as defined under RESPA, Lendor shall account
to Biirrower for the sxeeax funda accordance with RESPA Jf-there iz a shortage of Funds held
id esprow, da defined under RESPA, Londer shall’ notily Borrower ag required by RESPA, ond
‘Boprgyer' shall pay to Lender the eminunt ncoiidary to make-up the shortage in sovordance- With
RESPA, but in no. sore than 12 monthly paytitenta If there is a deficiency of Finds field in
eserow, ax defined under RESPA, Vende> whall notify Borrower as required by RESPA, aid
Borrower shall pay to Lender the-ariount negeseary to make-up the deficitnoy i actordatice with
RESP A, tut in no mere than 12 monthly payments,
Upon saynent infill of afl sume secured by this Security Instrument, Lender shall-promptly
sofund ta Borrower any Funds held by Lender
4. Chrys, Etons, Borrower shall pay all taxes, ascesaments, charges, fines, and inipoaltions
sticibutabls to the Property which can atiain priomty over this Seaurity Instrimént, loasshold

a . Initiates # 0 fi ra ,
a GME caey fubo Bo? 48 Porra 302% 4/01
CV] 06719790. 1 53 FH BoRtaTT TdT .

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.98 Filed 09/03/13 Page 90 of 162

Liver: 2499 Page: 1Sbd Page 6 of 16 Oy

paymunts of geoudd. rents on the Property, if any; and Community Association Dues, Fees, and
Aksessiténta, if any. Tocthe extent thet these lems are Escroa Haris, Borrower shall pay them i
the:manner provided. in Repti 3 _
Borrower aitill prottiptiy. discharge any fien which. tae priority over this Seourlty Instrument
uniess Borrower: {a} agcans in, writing to the payment-of the obligation geauted by the len in &
faatitior acoeptable to Lender, but only so long a Rottower te performing auch agreement; (h)
couitestt ths Hon in good faith by, or defends agsinat énfordsnient of the lien in, legal proceedings
Which. Lender's opinion, operate to: prevenitthe enforveirient of the lien while those prdecedings
sre pending, but-only until euch proceedings sre concluded; or (co): secures from the holder of the

_ "fren ati agresment: gaiflsfaotory to Landen subordiisting the tien f6, thla Seonrdty’ Instrunient, Ie

Lender determittes that.any park of the Property is: aubject.to 2 hon which oan alia priomty over

tha Soounty lastroment, Leader may give Borrower tinoilte idangifying the hen, Within 10 days
of the date on whiwh. thit dative ie piven, Bortower shall ustily the lien or take one or mort-of
the actlons-act forth above in Hils Section 4

Leader ‘iidy teguite Borrower to: pey a ‘one tina charge for 6 real estate tax Werlfoation

" dndlog agpattiig Kervi00-yged. by Lendés in vdnnethon with ghis Lost

5; Property lasurance, Borrower. shall keep the woprevemenis now existing of hereafter
otected oni the Property insured. agalaat toes by fits, Haeatds iricluded within the tere "eatended
goverdgt;” and any other hazerda including, bot not Umited. to, earthquakes and floods, foe which
Latider requires inpurenge. Ths inburgnte shall be musntained in the ammdcnte (relodsig .
Asduoribls level) aiid on the périods that Lender requnres ‘Whit Lender requires pureusnt. fo the
présediig sentences dari change during the term of the Loud ‘This iheurmnce canner providing the
inatradde shall be chosen. by Borrower subject 16 Lender's right.to digapprave Borrower's chores,

___. Whieti tight shall_ not. be exercised unrenbondbly Lender siay require Bortower to pay,
coinéotion, with thie Loan, elther: (3). a one tame ohatge bor Hood 2096 determination, cerliticatigh
and: tacking serviieer ot Ch): « onetime charge for Hood zond dutormination and cerifivation

AE Viee ariel gubsequent charges each tutte semiipplngs or signilay changes ooour which easgoriibly

inight affect such detorminatia or certification, Borrower shall also: ba responsible for the
payment of any fear imposed by the Modes Aiucgenoy Management Agency i conacehan with
the review of any Hood: zone déterininalion-resutting from an objection: by Burtower

Wf Borrower faile 1 aaihiteud aby of the coverages deconied have, Lender may obtan
inouranoe coverages. at Lender's option and Boirower's exptise: Lender Jb under. no obligation to.
poiahass atiy puetiovlar typy.or amount-of covernge. Therefore, aogh coverage shall cover Lends,
bak shight oe might not protect Borcoiver, Bocswwer's. equity ih the Property, or thé contents of
the Property, against any rk, harvard or Babllny dnd might provide greater or lesser coverage
shen: wae previously in effect, Batkower aakngwletiges thet the'dost of thé insurance coverege 60
obtacned: might significantly eleasat the cost of stsurenne that Borcoivar could have. obtained. Any
amoutite: disbursed: by Lendar vttder thls Section 5 shall become additional dott of Borrower
semuned by thiy Secuctty Instrument These amounts shall bear iitersat st the Note rate from. the
date of dhaburentiant and ahall be payable, wrth such tistertst, upon notice trom Lender to
Rononet requesting fayment : _

All ifgtiasice. policies: required i Lender and renewals of such potines shail be subject. to
Lender's sight t6 disapprove such polivles, stall snclude « standued mortgigs claves, and hall
datie Lender ae thortgages andlor dg aft additional Joss payee, Lender atiall have the night to hold
the-polices and renewal cortitivates If Lender requires, Borrower shel! promptly: give to Leader
af! tecelpts of gard: pretium snd renewal noted, If Bostower dbthins. any form of insurance
coverage, not otherwine required by Lendor, tor damago to, of destrvotion of, the Propérty, auch
policy shell iralitde. a standard mortgage clause and shall name Lender as mortgagee ahdlor ax an

additional las payee
sae. . drmlala am re .
Sp widil) a0 Figo 6 of 18 Fétin 3028 4/04
OVNI OB/18706 14a BH s0con sit? ,

 
  

 
  
 

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.99 Filed 09/03/13 Page 91 of 162

Liber: 2499 Page: 1 dud Page 7 of 16 J

Tn.the ovetit of loss, Hotrower whall give prompt aotice to the Insurance carrier and. Lender;
Lender may sixky: proof of loss if not madé promptly by Borrower, Unless Lender and. Borrower-
otherwise saree io: writing, any sipurance prodeeds, whether or sgt the underlying maurenos was.
required by Lender, shell be applied to restoration or repiar. of the Property, if thé restoration or
repait is economically feasible and Lender's. security 18 not lesdened Daring arch opie and

_ restoration period, Lender shell. have the right to hold-auch taayrpned preceeds untll Lander his
had an opportunity io inepect: such Property to ensure the work has been completed to Lender's |
satlafantlon, provided that such: fnapection shall be undertéken. pramiptly, Lender may disburve.
propesds pv the tipuite and, restoration m a single payment or in 9. sorts of progress payments as
the work: is. eomploted Unless af agreomort te mide In whiting or Applicsble Law: requires

interest to be: pala ont auch insuranos proceeds, Lendbe shall abt-be equi jo rey Borrower any

Interest of earnings on angh provesds Poss thi public adjisterd, or other thied partion, cételned by
Bosrower: shall. not: ba pard ont of the insurance: provesd wind dhiall. ‘te, the aole obligation of
Borrower. If the seatéeation or repair ix aot economivelly feasible or Lender's security: would. be
lésasned, the insurance provocda shall bs applied ta. the minty aoured ty thie Seeuelty Insteurtiang,
Whethét tr not then die, with the excess, if any, paid to Borrower, Spek Insurances procesdé shall
Ge applied si the order provided For i Section. 2 .

Af Borvewer abandons the Property, Lender may filo, negotiate and seltie: any avadlabis
insutants.cdaint and téléted. mations It Borrower does not respond within 30 days toa notice
From: Lender that. the insuratite cattier hes offered 10. dattle a elaimn, then Lender may. negotiste
and settle the claim. The. 30-day parlod wilt begiti-when the dates fe given, In. erthér event, of if
Lender acquires. the Property: under Segtion 22 or-othermse, Borrowed heruby asslytis 16 Lender
(a) Borrower's rights to any insurance proves in an amount rot to aided the amounte unpaid
‘under the:Note or this Security Instrument, and (b) any other of Bortower’y righte (othet thaetle

tight in any tatond “of -uneared premitins patd by Borrower) wider all iaBulieiae polsdies
eoveting the Property, insofar as such rights ars applicable to the coverage of the Property Lender
may Uae ie tnwccance prectede either to repair of déstore the Property-or to pay amounts unpeid
oS yetdnat the NoteGr tite Se rity Wnstgirient, whether of not the dus OO

$, Qcoupancy. Borrower shalt ocean eotablieli, sttd ude the Property as Borrower's
principal residence vuthin 60 days after the execution of this Security Enstrurnent and shall
continue to. occupy the Progerty og Borower's grinelpal reaidatios for at least one year after the
dite of oaoupency, unless Lender oftierwise agrees in writing, which consent shall tot be
ues withheld, Or unless extenuating vireumsionces oxst whieh are beyond. Borrower's

__ & Rtstetvation, Meinténance aud Protection off the Property, Inspections, Borsoyer

~ aiiilt alot deateoy, decnage of impase the Property, allow the Property. to. deterlérate. or somitit:
wist On thie Property Whether or not Bortowor ix: residing. in the. Property, Borrower. shill
molntais the Property in order 1 prevent the Property from deteriorating or decreasing in value:
duo to iia condition Uriless it in determined purwuanit to Seoten $ that repair or reatetation ty not
éctitionncally fetslbte, Borrower shell promptly repair the Property sf Gaiaged ta avoid furthey
deistigtation ae datiege If insurance or condemnation procneds: are paid th connection. with.
damage th, or the taking of, the Priperty, Borrower shall be responsible for repairing or restoring.
the Property onfy if Lender has seleaed proseeda fot sunk purpomes Lender may drab,
proceeds for the-cépaits and restotation in a ainigle dayerent df sci d-stries of progress paymiénta as
‘the work 18 completed. It the insurance or coxdemnution proveeds are iat suffoient to spur or
restore the Property, Borrower 1e not relieved of Borrower's abligston for the completion of auch

iépair or restoration,

Lender or its agent mey make reasonable entries upon and inepections of the Property, If it

has reasonable cates, Lender miiy inspect the interior of the amprovements on the Property

- dhinwal linttele at fa. A
Byatt conn Page Feet 36 form 2029 1/04
. CUM]. 06/ 15208 1 83 PM G0s09 17747 :

   

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.100 Filed 09/03/13 Page 92 of 162

Liber: 2499 Page: 16b) Page 6 of 16 UD

Lender shall give. Barniwer notice at the tivie of or ptior to such on interior inspection specifysng
auth cobsnnable cause,

8 Borrower's. Loin Applicsition, Hordéwer shall te m: defeult if, during the Loan
application process, Boriawer of af¥ péreons. or entitles acting et the dirsotion.of Borrower or
with Borrower's knowledge or conseit gave materially fates, miiosding, ot imacdvirate
information or statements te Leader (or fated to provide Lendor with miatédal iaformation? in
Cosinotion with the Losi, Material copresntatiotta irichide, but are aot limnited to, reprensntations
coneersiig Borkower’s vccupancy of th Property as Boruwer's principal residence,

9 Protection of Leitder's Interest-in. the Property ead ghts Under this Seourity
Instrument, If (a) Bostuwei taris to perterm the covenants and agreements contained in this.
Security Instrument, (4) there Ja 4 Tegal Rroceading ‘thet might-cigntfloantly affect Lender's interest
m the Property. andlos rights under this Security Inetrumunt {euch ap. process tng in hankeuptey,
probste; for condemanton or forfertins, for entoréeinent of a len which may atran, prlority over
_ thie Séebelty Tnstrunient or to enforce Laws or Hegultions), or (c) Borrower fing abandoned the

Peopstty, then Lender may do and pay: fur whuisisr 1 teisdneble or appropriate t6 protect
Léndee’s sitseattan the Property and tigtiy under this Security listrument, uoluding protesting
andlor maeéing the value.of the Property, and seauring andlor repairmg the Pro erty Lender's
actor van, cniglide, ‘bot are not: Jumited to: (a) paying any suma geoured ‘by 2 ton which fas
‘priority over this Sebinity. Ineteunsent; (b) appearing tn: courts and. {o} paying reasonable attarnoys’
fees to. proteetite Intereay an the Property andlor rights wadee this ‘Sepurnty Instrument, meluding
its secured position 48:6. benkeuptay priteeding, Securlag the Property jncides but 18 not Limated
to, entering. the Property tw itake (dpairs, change locks, replace wr board up door: and windows,
Sthin Water from. pines, ellmnate, building ot ther code violations or dangerous cotiditions, arid

 

  

have utilities tumed on or off, Although Lenider nuly take.actlon under this Section 9, Lender doed

ave door se tot under any daty or Obligation Bo do ao, Ie 16 agreed thet Lender incura
no. Hability tof. not takivig any or elf actions authorized wader this Seetion 9,
. Aly: amounts dinhuised: by Londer under fait beeome 2
~~ Borrower secured ty this Seon ny instronient Thess aciounte dhill bear interest &t. the Note rate.
from: the date: of disbursement sad shall be: payable, with such interest, upon notlie fram Lendec
to Borrower requesting payment,

._ Af this Seounity Instnuniont ts ont 2 lessehald, Bortower ehell comply with alf thé grovisiems.
af the lease, 1€ Borrower soquites feo title. to the Property, the leasehold and the-fen tile atall not
merge Wiles Léodor agroes to the merger in weiting

10, Mortgage Thaurange, If Loder required Mortgage Insurance ae a condition. of making
the. Losin, Borrawer afialt pay the premiums ceauired to: iainitain the Mortgage Ingurasige in effent
If, for-sny reson, ‘the Mortgage Insurance coverage required ‘by Létider ceases io ‘be aveilable. trom
the morigaye minutet that previoudly provides suoh insorativg ahd Borrower Waa reguired-to.make
separately: dealynsied payments toward. the premiums for Movigage Insurarioe, Borrhwer sfiall. pay.

 

. the ‘premiums: required to. obtain. coverage suibatentisily equivalent to the Mosigags Iniurarice
previously in-effect, at's cost suibotantielly: equivalent tb the cost: te Borrower of the Mortgage
Tauwuiitios previously in. effect, fron yn, gltesmite mortgage Insurer selected by Lender If
substentivlly equivalent Mortgage Insurance coverage 19 not Available, Borrower shell continue to
pay to Lender the amiciint of the separately: designated payments that: Were doe-when the fneurarice
coMMdAye coneed 66 ba in affect, Lender will accept, usé end cota theds payments oe a. -
nonrefundable fos reserve in leu af Mortgage Yoavraqce Buch {oss reserve shall be
nonrefundable, notwithstanding the fact that. the Loan. a ulthmetely pard-in full, and Lender shall
pt ‘be required to. pay Borrower any interest of datnings on auch loss reserve Lender can “no
loriger téquire lose renorve payments If Mortgage Insurarion coverage (in the amount and for the
potiod that Lendbr requires) provided by an insurer selected by Lender aguin, bacomes available, 19

Initiale air_d

Gai Steal wees rae Oot Form: $088 4704
“GVAI 0/30/08 I-39 PM BosORTITAT

this Seotion 9 sfiiit become additional debt of
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.101 Filed 09/03/13 Page 93 of 162

Liber; 2499 Page: 162 Pagegofie ss SP

   
  

 

 

  
 

 

   

Be

obtained, and Lender requires-soparately designated Soa eee et towerd the premiume for. Mortgage
Borrower was req separately desl gris bane tweed the: promis for
Morte Insurance, Borover shall ; bose tain Merigege meurance
in affec Ra Iogg nee unt Nirement for Morte ge
Or al trl pfion 1s Bagh fred b mm eo ove end Lo cer pr i
1 pilitable Law Nothin iON
tg secre cigs na apie Cn in the: Note. s
8 tf me ey ine ne rit fe Fela does ant. rerey the Loa nae & Borrower is not # piety to the
i ies evalvaté thelr Yotal vt onal svoh instance n force from time io time,
These: agtsemerite aro .o a Rngitis aad cont Hons tae entisfactory to, the: mi é insuter and
the at “Bthee ‘party (ax pati es) to these dpces hens: cee, agroomients may require the aanet mere F ne
a
{whith ip marin . Mortgage } naurense gremiume).
Ae & ny Ik of thesa ‘pecmontse Ader, ‘any pup hase of the Mote, another inmiter, 2

Tgunance E Lende or required Mortgage tains Ba & condition of making the
BS thea réminins i seiginte
in te OF rove nonce att a ate sides
Pak i as
var oes Loner ar lor & gy entity that  puschoves the. Note) for eesti
and: atiay ‘enter hdd agreements with other aé share or tnadity their lek, or neditce losses,
inert tome ayents an doutee 0 fone that tlie mortgage insurer may have av
uh day Fond obtatied tr rom Ma fom rome ee
thee gait ‘or any alfifiete of sa ‘of the’ forego’ a8, mey reoelve
eats i

 

  

   

coc derives from for. mi, piateaterizd ion of Goes
tgage Insurance, an. exchange . Dr anaitg 2 a9:
sen ie r= 6, It pelt agresmnent Eo po that an heat | mnder takee a Sahar the
i a for ® me ene of the promos the wnarer, ‘the dierangerteit ts
ff J A oie eomienie, will not C attest thie anounts that Borrower hae: agreed to:
ay for Heeceance. or way other terms: of the. Loan, Sich agresmienta will ot
faoxenee Ce partower ‘will owe for Mortgaye Towurades, ad they willsay entifie
_ Borta “f to any Fe an

“tor diy Apel ‘agreements: will: ‘not affect the rights Borrower has = if any - with
Cape $0. the lortgagé fasurance n thé Homeowhers Protection Act of 1998 ot any
our law, Thess tights. may: inclu et ie: tight to recelve cortaln disclosures, t6 vequest .

lie, 0 tan cancellation, of the Mortgage. fhsvratcs,to heye tho 2 Mortgage: Jasuiiiee
termunsted automatically, andlog to tecaive: & £6 ved. of say artgage Tasuraiies
promd unis that wer brned at tio His of ech. cuficellation.or termunation

. Assigsiniont at Heat i aa Hogtoieure All Miscatfaneona Braceeds are

pais te Len

‘one ie aa rae tb bate i a If be applied estorat)
rep usa 5 oper wh avsrnion bi ten : fonstelo nad Londons sosunty ae

nd restore a 90d | si ae ve th a £40 are

 

 

    

   

Téspened, | ig. Bok it.
x belle Pros ee
eo Wi
usar taken 9x9 ‘erat

    
    

   
 
   
 

  
 

or not then, doe, with tte sie f any, pald we Hoe
sateen skthg pr of tone « f the Property, the ete
thie syagt of a total taking, : of the ANsOUS
Prooseds shall w applied % haber sie oF not then
dus, wiih the excess, if an
In the event of a a perl al taking ihre uso, at pa in val é of = Property ia which the fat

 

snatkot. value of the P¥o: party ummearafely betore th pas taking, det sotlon, oF {0% 10-8 fue ig
_ equal to of greater ne the the amount of the sure soouted epourity nBtronicnt nea ate rualy

before the partial taking, destitution, or loss in. value, rolead Hortower and

ogres in writing: the suma seoured by this Security Tnstrymnent shall ‘be. reduced: by The Aen

hevctagste _ fitted

Zp ~Biealp ado Suge Oar ter - form a0e3 “/th4
OWaE Obs fovoe 4 Se PH SoanaTT TAT
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.102 Filed 09/03/13 Page 94 of 162

Liber: 2499 Page: 7 Bio Page 10 of 16 J

of the Miscellaneous Frooseds multiplied y ‘following fraction, {a} the total amount of the

sliina ‘seoured Senienediately helare thie. partial aki fi, See detrei fon, 0} ee in. value: divided ‘by (bh).

the faut nt valds or fie Pee "eopert imenediately ‘before the- parka bat taking, déstrvation, of Tees ia:

ALBIN: 8. ‘rower, -

ie ia br ee evant of of a 4 pact pee of toss. a oy of ihe Proper Property in, whiok oh the ifr
: Ka re the pari 1} oF | lose in. vale ia

paar atk he one a f the wins secured tin mediately ety is a, destin , destruption, or

 

vale

    
 

   
 
  
   

 

jog so Walug, iintees Borrower and Lene Civ. wiling the Miscellaneous Proceede
ail be Applied to the SON Bebbred oH ache afore apes wr whether or not the euma are then

me fis Property. thee bred by Borrower, a; it after: notice by: Lender to Borrower that the
onl F tty (as, de int ne esi offers to:make i award to set a | ileren for
damages; Borrawer : thin, 30:days after the date the notice is givén;
Lt a a y the nedus: Rraceede either to. reatcation oF
repaii OF ti ne secured Ci ‘thie Seounty Insteument, whether or dot thén
dus "€ rte” tne eae gacty that owes: Borrower Miscel neg Proceeds wt the
party. Bi iH ve a phi of action xn regaed to Miscellaneo

p ee ng, whether civil or rei ‘ts ‘bopn

  

itt ue i eto ce pr

fh i riders aii, ace of the Property or other ma tat
ager of Leldet é afatee iss

 

4 ty: ov fights men this poets Tostrument,

Borrower can, ane ouch sd ca dela ine oe provided 44 Section
19,. by sausing: the action or pro: to be dimissad with: a: Tiling iat Tenders wdginent,
prectudes fades: diture of the RB er. rater él UnpaLtGAe cr Lotider’s inferest i the.
rights vader this a Thatroient.. The of ati award ot olaem for

ipacchent oF Lendets  dintereet In the Property are hereby

sine pa eave sttelbueabh é. +o the.

id ti Le srides
allanens at onenay: eat 8 ate: Hot applied to kesteratiait or repair of the Property shall
_ wb be apie th i vided fie in  Seotbit
crower Na} Relessedy Forbearance By: Boner Not a Warvor: Bxtenson of the
fine: for payment or odiiication of aniortizesion of the. suing scoured by thy Security
Fngtesyman Ponder t Bortdwer ar any Suncssady \e Taterest of Borrower stall not
oo pee 20.68 slope abitity: o| Horta er or a ucveors 14 Interest of. Borcawers Lemier shell
not be required fo commencé ie at at fist: a ‘Stiocesetie int Interest of B. orrawer or te ;

    
 

 

 
  

  

refine to-extend. time: for: payment ‘Or oe be noc) 8 amioctization. of the sunmig eagured b oy the
Seourlty, Instrument oy fonsgn ot at nok any : saws the original Horroyer ot any septs in
tugest ot bearance b dor ti end oe ate ght or se egy inclu ng,
pou! iftation, Tanne oove mnents from, thin aa titidd Gi Supcesbory #
iterest'of Borrower or in. mounts it ao the aninunt theft due, shall not Be a-walver « oF

preclude: iho exercie: of any: ri sli
nal

13, fomt and ‘Severst eS pcesesore ahd Anigue Bound, Borrower

 

sovenants and agrees that Saree vi tigat o-sgne af ability shell be Jo: sie ‘atid 8 vera However,
00 fa ee net ")

e y Borowen wi rity’ Hetomcat

if OO Bove nate ant cl
Site

under The - % J
Bi pore ee Pn ae ie ot mink fy sorommmrods ie th vepare 39
Lor ORES Ww jo) with
es: Sipe oft pot thie Spoutlty foctrumene or the: Note: x thot the: mye Rommodstio a
to the: provisione.of | peton, IQ, any Successor ie literdat of Borcower who senicnes:
Borranere pbligations, under this ¢ ) Inatranier He witting: and Ip approved by Lender, shall.
obtan all-of over ag "baie fa: Un dér th saounty trarnent Borrower atiall not be .
relesged from: Borrower's 0: getipas and iy under tite Seourlty Tastrame, t unless Lender

tw-such relesso-in wot Agtesmiente of ie Seourity Losirument chal!
Shed fet ag provided in Bepion ais nd benetit the ee ries ir and peaghe of tender
barges I. ngee os ch Mo Borrawe Aervicgs pectorgied ih, conperton
- apbtte eu defy proteadng 1 Jey ree is the Property and ri
undet tite Seourlty Fly for pe ge, but not litntted to, attorneya’ fees, pro property sngp
and, valuation fesa, In regard: to os other Tees, che aheonoy of éxprese suthorsty 6 ny

lnitiate ern

Gena fose'th Page 19 of 48 Form $028 1/04
OVNI OB/18708 4 99 PA 6060571767

aut iitgnge et si
ent,

      

           

   

 

FFA aa Fr rere Ra PN
 

Case 1:13-cv-13753-TLL-PTM. ECF No. 1-2, PagelD.103 Filed 09/03/13 Page 95 of 162

Liber: 2499 Page: 6b) Page 11 of 16 WJ

Tnstroment, to to change ‘# speuific fee to Borrower shall not be. donbtrued a8 2 prohsbltlon on the
charging.of pe Lande ler ey not charge fees that are expressly prohibried ‘by: this: Sepurity .

insteontent or be i
I ihe: Loan Bey D a 2 lew whioh sete maxieunt lol foun obiirges, and that law is Tinally
infrared 80 thet the mfereat or other Joan bf clas ected or to be collected in connpetion.
Lowi excesd the permitted lirosts, then: (a ie such Joan ott if a shall ‘be. eda oy he

   
 

mane mensssary we Seduce the chatgete the porovit ta a aid Y. poms aleeady calle
from. Bei Rontoner whi eal. permitted linitis will be ro foie Borrower: Lender may
theese te make ae one ye uelog Shion at under ti Blots oy inal. est

pains the vile

cre pe charge 18 acd
ht have: hang ‘Out at ch
ie. Birsowee a Londee ik vortisotion mth fue § conti

i figtes to Borrower in cantienlog wath nity
ra ; = ve tee fsa ca es at when a Hie a by cat den» mil of

  

virion’ to roan a
rake, AU WithaUe any pry

   
    
   

roms
Thatvusnene ane - i
Instrument ahall Be

 

  
  

pet setualh vilive jot Misans. Nowee to any‘ one
Hower gl como me ie eple taw pany re
bacieate: Jigtion nddéess. ‘by oe ml Ege sore alo nist Tee :
He me j CHARS OF Addins ae fi ee piv ea set change 3
F a A nie alt: fal gi j rch at. specified
Aly fBtroment at ony ON18- aime

ee ‘all ‘te given: Nae ng or it mii ing. tt By finst class. marl to

re: reas afte. eset ane i designated another addresy. a by gotiae to

oe ‘Aiy fates in op iti-¢ ee with. fi bonny Jhstrumeat aheil not be be d deemed wy h ive

‘as ios fo dander nl sovelved! by notices tequited by thls Bonn
ne “neu a ae ae gy heap Loe eeqromon 1 eat yikes
inger

re ent ye
moar Po lis of Co eh Congestion ia Security fneteument shell

 

   

6 iam and | hea of the girlsdiotion in. which. the Property ja loeated. AN
a ihe: and aie set th sr inatroment aro-sub; Hoot fo aay requirements and
tilting se epic ble: Law, Sai ee explicitly ar Pee ey allow the ‘partion to
agred: by donteach or ct might ba nt, rat. sh ence shell not. ba cénstrucd 2s a pro propibitipn
against aprééem " contract, “event thet any provision. or clause of this ° ty:
intent oF Note 60 fate. wut Applicable Law, such confitet, shall not affect other

constons of  Beouniy nstrument or the: Note whtoly oan bs given effect without the

onli
ng oe Ssourtty Thetruement: (a): words, of the mesouling gender shall mean and
nok le: Se neuter: words cor words of the feminme gender; {b) worda an the singular
stithode the plical sag Vite versa; and | A the word. "may" gives sale discrétion

he a igation fa take. any ection
ma oat “s Copy. Borrower shall be given one copy of the Note end of this Geourity

er of the Property or a Beneficial Jatereet Borrower, As used: 12 ‘this
Sealed? agate ab i the Biopeety pe ror cal snteret oun ‘Property.

Sectge fa ‘not Hmited-ta; toads beneficial bond for deed, contract tot
- ip iment Bales conttbotar pacrow aqroametiy {ntent of ina foo 48 the transfor of title. ‘by -

ate future date to 4. firch NAOT
lor any part of ¢ the op pert or any Ipterest an the Pro Be cael od
Borer 18 not-a naturel erdon po a, ie telat interest in Borrower is: shld or transferred)
ér

without Lendas's mM wri ten, consent; Lender may cequire immediate payment at full of all
sums sectited by this See Tnatrument However, has option, chill not be exercised by Lender

id dich exencies ‘h protitbited By Applicablé Law

Instvate wand
EQ ee-c0n fags tv ae tb Porm s02y ¢/trt
GVM O87 18700 1593 Fe 4060519747
 

. Case 1:13-cv-13753-TLL-P¥FM. ECF No. 1-2, PagelD.104 Filed 09/03/13 Page 96 of 162

Liber: 2499 Page: 16.J Page 12 of 16 oe,

B aption Mg Borrower noted of acceleration, The notice
aball gal poking a ee tol a leas: tn daa the dete. the ote the native is Pen it ngoordatice With

ty Tnetrument If
Tonroner tals ta arene pyar to te. ihe em he of this p patiod, Lan invoke an:
rors ies matte nsiriimgd ain shiaust iuether nutice ar jean nd.on Bonen. 7

    
   

arrower'e. Fi if ie tometate. d célexation, If Dortiwer meets certain
caer, Borrower: have the. ; bt “te nforceiment. a. this Séeurny- astrument
scovitivived at, ay titre prior td the: earleat

 

   
   

  

to: any power of ass contained in this.§ i
Lew might iy ina see

ars righ fo. refiatater 0
enforting og eBoy ‘Omnent, Those oc fue ase ek

ting are thet Borrower: ay all sums
i ent ard: ihe) Note ag "a0 anvleatin had

5 five ‘oF 60 tie P; t
i lantorment (6) aah lie oa a able
gs

whith, th a rout’ be be des this. Security Instiumest
ae < default of any othe? covenants or 4 ente: <c) payg alt eipenses
feeb et os reing . Spounsty 1 in oo ad ir tut HOF: lined io, biperrgs attori gig
er 6
Eendtee'’s fn teecst i the Ee xeon toa hn hich

86
‘wink ith ti
icon ote és they pease stig eg nth i Drone at ite,

dér this Seu: Tastsomen erates. ob tion to’ 6 eC hie
Si in a he a Ce atic ee tes
farndtatem oT 6: of the fo owing Spin AY 6
ie) 2) cash, (6) a) y money bee (ve) ontdled che ne ba aonb treasiiner's ohsok or ceahite Lae

. bony , oe *s t,o a oF tle ee 66 deposits are p insured by a fedet

 

   
  

tition :
eotehate Funda statement. by
PEOUIIAR asouted hereby ball theta a ly wilective we

if no. aaceiorat i only oeoured towne this ight to seliitate: Ar not apply i tthe, ‘ope of

     

socdierationt titder:

at, alec h eer Change of Loan Servicer; Notice of Grievance, The: Note ot 4 partial
intereat fn. the Note (topo thet with thie Seconty Instty Rrymmeny) oan be told one or more Yiotes
without priot +A, sale might-seault-in-a: change 10 the entity: fistone ad the

eee wd paw ons Pervodio- Par yenen ents dus unider the: inte and this Security Instrument
or toe fosn device obiigations under the Note, ths Secunty [hatpigianit,
re aiso migit be-dne or sore chatwes of the Tenn Services gated toa
there ss-@ chenge-of the Loan Servicer; Borpower will be given wrltti an nines a
witl state thi thie ramp an ade of the new. Loan Servicer, ‘the dd t6 Wheh

 

ge Whi

yreents aoe eh wa and any othér jaf ‘A cenricer in. Sonnents the a-nntica
= transfer.of ae the New. 16 sold: fad tenes thie Low ki is servieed y @ Lont Servicer
othe thati: i & Notts, the snort, pe feast J eatising oblige obli ‘gations Barrower will
renidin with ot he KE transferred te Surviesr and ara fot assumed
by the Note pr ofberwias ; ® provaded by the Notes Note pincheser,

 

thier: Bi lee opti mmence, jon, of be joined to any judictal action (as

ch at ne han 0s the them t ofa oldss i tt tle fe frat the ot Bs is ty ton (as

ere ra os or 0 oe las the ir party has yeeached any

nono of, ‘on any aay 0! eo tate, wntl Buh Bércower or

fade the: other -par Wath eu watiet, ret in: compliance, with, the fequirementa

° rded the. oe rise "tls ext
ie

   

the: vitig Of ich notice: to take sretlve aefion. It a ,

 

  

iad
which. pee before: certast aor can. be: taken, thet tmne gonad al deemed eta: be
rensatieble ier _porposes of thie he Th natice of aegelesation and opporene te eure
given to Bosriiy pursuant to: 22 andthe notice of aeesteration given to riower
puiguant to tion Of ta shell ‘be eal to satiety the notes: ‘ind appoctinlty ta take cotéective
action provislons'o thee Seoti ian 20

7 ‘ . incense tegh
aly wan Piya 42 oF 1U Form 8929 4/64
CVMI O6718/08 T 98 PA 6080811747

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.105 Filed 09/03/13 Page 97 of 162

Al. Hézardous Substances, As. ysed in, thi Section 2i: (e} "Hazardous Substances” any
those aubiiaieed defined as toxic or Razardous eubatanvay, palturents, or-wastes by Environnentél-
Law and ife followte ig Stbatances geeoling, keroxene, other fiimitiable ar toxle petroleum
products, lori pegtividts atid herbicides, volatile solvents, matgrisli vontainisg asbestos or
ormsldehyde, snd radingotrve materiale: 6) *"Boxonmental Law" means federal fave and laws
of the Prwdiotion where the Property 19. [ousted that relate to health, eadeiy: OF shivitOnnhéntal
proeeeton, (0) “Bavironmental. Cleaitip” laglides any response schon, radiedlal econ, o:
reioVal action, ag. defined in Environmental Laws ind (d). an "Bavironmentsl Condition” méana
a onal tin that ofit cause, contrébute to, orathemnue tigger an Environmental Cleanup.

 

Boxrower shall stot onvse or permit the ptesenoe, 188, dieipisal, storage, of’ release. of any cee ene

Hazardous. Substanses, or threaten: to- release aby: Hagardiua Substitives, on or tn. the Property
Borrower. stiall dot do, nor allow anyons.etss. to do, anything affeoting the Property (a) that iz in
Violétion of any Envitosmvental Law, (6) which: croates an Environmencal Condition, or (0)
Which, due'te the presenios, ako, or sSletit. of 4: Hazardous Substance, creates a -ccdition that.
adversely alfsctd the value-of the. Property The pescading two senteriess Shall aot apply io the
PreebaCe, Uke, OF Sthtage on the Property of aavel quantities of Higardous ‘Substances ‘thet re
generally seongtaett to be sppropriste to normal cesideptial vised and to maintenstes of the.
rcoperty Gncluding, bar aot llehited 20, hazardous substances in conainitiée pri ducts).

Bortower shall ptompily. give Lerider weltten notlee-of {@) ay investigation, claim, demand,
lavetit ar other sotion by tly governmental or regolatory agenoy af prlvate party invalving the:
Property eid sty Hazardous Substance oF Havitbamental Law o% which, Bocrower has actual
Anowledye, (b}:any Environmental Condition, wichiding but not tinnited f, any’ epatlivigy leaking,
digo fiuirge, teleakd-or threat of roloms.of any: Hozardous Substance, and. (0) any condition caused by
the: presents, Ue of: séloaso of » Hezardous Substniicg whieli adversely. affeots the value of the

en Property it Hortawer lewan or te notitied-ty-any poverniienital: ‘of copulatory authorsty, of any
| private: party, that any removal or other remediation:of any Hazatdious Substance affecting the
Property 14 necessary, Borrower shat promptly take all ascessary remedul actlona-in accordance
-—b-—--m- With, _Esvirondiontal_Law,—Nothing—herecn-shill create -any- abligation—on: Lender for-an-
Environiienta! Cleanup: ;

rot NONUNIFORM COVENANTS Borrower and Lender further covenant and apres as
oliows = mo

22, Acvsleration; Renredses, Lender shull. grve- aoiee te Borrower prige to
acceleration following Bortower's brexch of any coverdant Or agréechént in this Seoursty
lostevmecnt (bit tot prior to aereleration under Seotlan 14 axles Apbileshio Law
provided otherwise). The nutipe stiall spacty® (2) the: default, (6) the action required to
cure the weldult: (c) e date, not fess dint: 3: dayiifrom the date the notive ig given to
Durrower, by which the default must be wuned, sid. {d) that-Fsiluse to. cure: the defauit-on
or before the date. apzcitied in the totlce may: result sn aceslération of thie. sumed scoured
by this Seourity Instevment and ale af the Property. The novice abut further iaform
Harfovter of the night to reiigtats after acceleration and the right. to. trlog e cotirt action
i anabrt the non-extstonce of x default oreiy: other defense of Borrower to.acuelerstion
and gale, If the default ip. not cured on or before tie date specified in the notice, Lander
at. its option mey. cequire-immediate payment in-full of aif sums stoured by this Seoucity
Instrument without furtler demand ‘and may lavoke tht power of safe and any other
rentedien perquttted be Appilesble Law, Landor atiall he entitled fo wollect all expenses
Jnqucred in: pursuing the remedies provided io: thee Section 2, avlading, but not Henited

to, resonable atiorneys’ fees and sdets of title evidence,

a innate pat a
Cy Bit] won pape 18 4¢ 38 Paree 2028 4/04
CUMT aS/1s708 4 a9 FH 6080941747
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.106 Filed.09/03/13 Page 98 of 162

Liber: 2499 Page: 1eb? Page. 14 of 16 J

- it Lender invokes die power of gale, Leder shall give notica of sale ta Bartowet jit
the manner protided in Section 15, Lender shalt  pblishand. post the noti¢e af sile, and
the Property shill. be apid 1 tlie manner proscribed by Applicable Laws Lender or ite
designee sity ptohase the Property at any sale: The proceeds of the safe shail be applied
ia the Lellowing order (4) to: all oxponses of the sale, inoliding, at aot Limited to
reasonable avvornays’ fees, Cb) to-all:xuins xenuced by the Security Inetcument: und (co)
ay exeus 26 thie. person or persons: legally entitled $6 4t:,

- 243 Release: Upon paynrent. of all suma-stouted by thls Seourity Instrument, Lender shall
prepare arid file a discharge of thie Recutity Ionerunieat Lender may charge Borcawer feo far
rofeasing thie Seourlty Anatrustient, but only if the tes 18 paid to a third-party for servicds téndated.
and the charging of the fés is parmitted:under Applicable Law.

BY SIGNING BELOW, Borrower acogpte and agrees to the teres and covenants contained
in this Seopety Insteumisnt and in any Rider executed by Barcdwer arid sectrded with tt

Wiinesses

 
 

AITIN  AMEABBY “Borsover
eR

 

 

 

See 4 se wemnanmnnnnenes ents ee (Seal - ceceececne cee ae

Borrower

(Seal) (Seat)
4Bornower ~Borrowar

 

(Seal) : _ (ent)
<Horrower . ~Borraweae.

 

_ Beal) vs. (Stal)

=Borcower “Boreower

Steal ogo Pogo fa of 18 Ferm 9028 1/04
CUM OALYA/OR 1 99. Fe HORONF TT? . ‘ ,

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.107

Liber: 2499 Page: 16d Page 15 of 16

STATE OF MICHIGAN,

© Aokinnladaee ts tefore mein — in
tnty, Michigan, ott: by: “20° Oro

  
  

Aike . Amecsey, A Single

Filed 09/03/13 Page 99 of 162

Cy

County ws

iy

nor |

 

DEBRA K Woopy Soviumene “i
, Notary Publi Sat ‘ne Notary Po Pubite, State of Michugen,
am 71,2001 seme expites
bane _Actingia the County of
This siptromhent Was prepared Se

ROSA MARIA ORAZCO

~~ —-BANK-OP-AMERI GANA; - -:
276 § VALENDIA AVE ist FLOOR
BREA, oA SRBRERAD

a-snid apy _— Ainge. 48 ot iz
val OG/19708 7 3d PH GCKOOT ITT

 

Initials _ Loe A

Foxm 3028 1/04
Case 1:13-cv-13753-TLL-PIM ECF No. 1-2, PagelD.108 Filed 09/03/13 Page 100 of 162

Liber: 2499 Page: 164.) Page 16 of 16 Cy

*

Townstup of Therias, Couniy of Saginaw, Stats of Mchigart
Unites, Thie Grove at Apple Mountain, Aosordiny to the Magler Dead fecordid it Liber 1980 on Pages 208

through 296, Saginaw: County Records, and designated Saginaw County Gondarmnium Piari No: 51 togath
‘wilh the rights thie genaral and Inited elements, ag wet forth m the-ab pila Cian No. 57 togatfier
Acted, Pubit Aci OF@re ae sree «ae RoE Form fe ove: Maater Deed, and ss:desonbatt in

Patel i: 28-19-4.2964-ri00

(20768 PHO207604)

 
Case 1:13-cv-13753-TLL-P1M ECF No. 1-2, PagelD.109 Filed-09/03/13 Page 101 of 162
: . 3

L | Vd

 
Case 1: 13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.110 Filed 09/03/13 Page 102 of 162

1) ( iy

tan i NR re

1-268 B vies tot 3

   

PACIG Aq Saqiiisa County, Heatiead
abhi A Dadak Repiatae OF Gaede
Beptadbar 13, 2012 4b ig 6a

CORPORATION -ASHIGHMEND cf ndattonem
ic. 3D FOALS
Fes ate opPaese omer

ghe, widavaignéd, BANE: OF AMERICA, Not. pene FAPO GANYON ROAD
ht parse sont sensne aie tinal z ,

    
  
   

  

ate jonanat aTeeaee o F
: 49 4 a5 ar a ae am
eran is THOMAS TOWNAHER TREASURER

Wy NITIN &
a Meritivorr ae
Soonty Recordar’ 3. office.

  

 
   
  

Together WEOH see ee Rove Od Nobes Ghetain désdrtbed. or réfexvdd te, the money due
aoe become hexeon with dhbendst, and. ail nighks astrigd, or &6 acoxnd, wndiex

paid Mae tiyage:,
patede 09/4/2004 BANK OF AVERTCH, N.B.

 
  
 

  
 

4 — kh
y. ‘gente of ¢ iio ng ate
babe ab Cadiforn: :

he & dounty. of Ventura \)

te gators. me, -Ro! ge Bi ex gone 11 eg YOUANDA,..
proved to in cat tig bakin Be atlases toby § evident ne ea be he

perwon (el * whose ui ie s/are. aubsor: ae eerae 4 nih in) da emi a

SRK! ryfies). oo td he/she/chay. bey. exeniee fhe 8 ne et ia Ena xX subhoriized

  

   

bi their signatux dnst
oF the antity Ma/berd £ af wate ‘ana pavecu-tey | ET ensued the

ne suman,
T coxbity, yao PENALTY OF BURGURY under the lawa of ‘the State of California thet

 

 
    

 

the foregoing paragraph Le: trie and coxrede.
gitewsd my hed and offinixt weal:
gf cn |
Signature: fai _ ad se ee eee NANT Da i" niet ;
i N ; Sonsaary
eon, by hy ae ROBRTGUES ini rae aE 6
Hie sla 3063

Recording
ner FAG

7 aes

, Be eae]
eae : (313) adp=rer,

are vats cope:

Simi. Vale Ca.
DES 8 ET, TL das

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.111 Filed 09/03/13 Page 103 of 162

O CJ

EXHIBIT 6
Case_1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.112 Filed 09/qg/1s Page 104 of 162

   
   
  
   
   
   

; - um” ie
ankof America <2 Home! is , (48
Banke Ame . ~ - ie A For help with your
, mortgage, respond by
April 25, 2012,

March 26, 2012

F 1. Read the instructions on.

SAppleshie ch the Homeowner
Freeland, Mi 48623 Checklist
2, Review the enclosed:
_ Loan Sumber: Sp » Frequently Asked :
Dear NITIN M AMERSEY: Questions and
: : , oo on : Important Notice to
Thank you tar contacting us to discuss your harne foan needs, Our records indicate that you have not Halp You Avoid

Foreclosure Scams
» Information on
Avolding Foreclosure
3. Submit your required
Borrower Response
Package including:
« Uniform Borrower
‘Assistance Farm
* IRS Form 4606-T
* Income and Hardship
documentation
{described on Uniform
~ Borrewer Assistance —
Form)

made. your last three regularly scheduled payments. Foreclosure activities typically begin after four missed
payments, 40 It ls important that you take action on this issue quickly, as ignoring thé situation and
continuing to let your payments become past due will put you at tisk of losing your home to foreclosure.

We strongly encourage you to apply for assistance te avoid foreclosure. Bank of America offers
different progranis to help keep you In your home including tte Home Affordable Modification Program
{HAMP), available to qualifying borrowers. If you must leave your home, we also have other options to help
you avoid foreclosure such as a short sale or deed-in-ilau of foreclosure.

Please act quickly before your optians become limited. Send us your Borrower Response
Package with the requested financlal information in tha enclosed Homeowner Checklist by April
26, 2072. We have inciuded a pre-paid envelope for your conventance. if you do no! respond before your
next payment due date and you also fail fo make your next payment, your mortgage could be referrad fo

foreclosure.

tt Is Important that you return your Borrawer Response Package as soon as possibie to take advaniage of — gi

‘the Greatest number of foreciosure atematives that may be available YOu

 

Home Loan Team

Bank of America, NA. Heiptul Resources

P.S, We encourage you te call us if you are not Interested in. pursuing any of these foreclosure . -
aiternatives. ie may be able to limit future calls to colfect an your account. - Learn more ontine at:
Enclosures: (1) Frequently Asked Questions (2) Homeowner Checklist (3) imiportant Notice ta Help You
Avoid Foreclosure (4) Uniform Borrower Assistance Form (5} IRS Form4506-T (8) Non-Borrowar Credit’
Authorization Form (7) Important Disclosures (8) Pre-paid return envelope

bankofamarice.com/homeloanhalp and
freddiemac.com/avotcforectosura

u You are currently in @ bankruptcy proceeding, or have previously obtained a discharge of this debt under
applicable hanisupicy taw, this notice Is for information purposes only and not an attempt to impose ,
personal [rability for the débl. Please read the enclosed Frequently Asked Questions for more in formation.

if you have questions or
need help with your
Borrower Response

In order to expedite your review for loan assistance, Bank of America, N.A, is worklng with & third party Pack '
ackage, please call:

company, Walled Lake Credit Bureau, LLC. Federal Jaw requires that'we communicate to you that Walled
Lake Gredif Bureau, ELC Is a debt collactor and also that Walled Lake Credit Bureau, LLC is a licensed
debt collecter. Hawever, the purpose of the communication is ta let you know about your potential ellgibility
for a loan assistance program that may help you bring or Keep your loan current through more alfordable
payments, Please sea the enclosed insert for important disclosures from Walled Lake Credit Bureau, LLC.

1.355.200, 1649

Mon. - Fri. 9a.m. +9 p.m, EF
Sat. 9am.-4p.m. ET

Mortgages funded and
administered by an
Equal Housing Lender fe}

Protect your parsonad infarmation before
reoyeling this docusnent
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.113 Filed 09/03/13 Page 105 of 162

L) | Cy

 

XHIBIT 7

g
 

  

“

ZF No.1-2, PagelD.114 Filed 09/03/13 Page 106 of 162

  

We have record your initial Borrower:
Response Package.

We will notify you In the next 16 to 18 days
if we are missing documents,

NITIN M AMERSEY
5 Appleshire Ct
Freeland, Mi 48623

Loan Number: Saale May 9, 2042
Dear NITIN MAMERSEY:

Thank you for subinitting your Borrower Response Package. We are currently reviewing your package to confirm that
you have submitted all required-documentation. This review takes approximately five days. Following our review, we will

- send a letter that either confirms we have all documentation to continue the evaluation or that identifies any additional

documents that you need to provide. If you receive a notice asking you to provide missing documents, itis very
important te respond with the additional documents by the specified date.

When we receive all documents to complete your Borrower Response Package (and if the package was received within
the tirieframe requested), we wilt continue the evaluation process, which takes approximately 30 days. Upon
completing our evaluation, you will receive one of these three responges: .

* Your loan has been approved to begin a Trial Period. This notification will come in the form of a Trial Period
Plan leitér, and will provide you details of your Trial Period Plan and instructions on how to proceed,

° Your loan is not eligible for this program, but may be oligible for other loan assistance options, This notification
will come in the form of a letter describing other options such as a different modification program,

* We need more information from you to make our decision. We will either call you or send you a letter WIEH This”
request. oo

Important information About Foreclosure Oo

Until we receive a completed Borrower Response Package, your lean fs subject to the foreclosure process. Once your
loan enters the foreciosure process (or if it has already entered the foreclosure process), foreclosure activities WH
continue until you) have been evaluated for and enter Into an approved foreclosure avoidance alternative. Itis important
that you continue 'to respond to any foreclosure notice and fo any request for additional dacumentation required to
complete your Borrower Response Package. !f you submit a complete Borrower Response Package fess than 37
calendar days before a scheduled foreclosure sale, we will attempt to review your joan for a foreclosure alternative, but
there is no guarantee we can stop the foreclosure sale. Even if we are able to approve your loan for a foreclosure
alternative prior td a sale, a court with Juriadictlon over the foreclosure proceeding (if any) or public official charged with
carrying out the sale may nat halt the scheduled sale. Also, If we recelve your complete package less than 15 days
before a scheduled foreclosure sale date, we are not obligated to review your package or request a postponement of

the sale.
If you have questions about the loan assistance evaluation process, please call your Customer Relationship Manager at
4.800.869.6650. You may also call this number if you do not yet have an assigned Customer Relationship Manager.

We look forward to working with you throughout this process.

Hame Loan Team. : sat . .
Ho Oe TNA, | _- Bank of America 33 Home Loans

If you are currently in a bankruptey proceeding, or have previously obtained a discharge of this debt under applicable
bankruptey law, this notlee is for informational purposes only and.is not a demand for payment, an attempt to collect a
debt or an atternpt to Impose personal lability for any discharged debt.

Bank of America, N.AJ 15 required by law to inform you that this cornunicatlon Js from a debt collector. Howaver, tha purpose of this coramunication Is to
lat you know about your potential atigibility for a toan modifleation program that may help you bring or keep your loan current through affordable payments.

Merigages tunded end euicinistered by anf} Equal Housing Lender.
G} Prefect your pessoeal egirnation before cegyeiong Uve Gecuineal.

C9, 2873
 

Case 1:13-cv-13753-TLL-PTM. ECF No. 1-2, PagelD.115 Filed 09/03/13 Page 107 of 162

i) (Cy

 

(IBIT 8
 

Case 1:1 @sGvedeed 880d LL-PTM:. ECF No. 1-2, PagelD.116 Filed 09/03/13 Page 108 of 162

 

) cater” JRLOT 14778 04mayanta
SanketAmericn Sort? Gorrosponctonce to:
ALG, Bok 8170 eaose.s170
ere laene Sh Vathy, CA
—oee Gushnoss Aen '
P.O. Box 8f70- 450 American
SIMI VALLEY, C4, 93082-5970 Sin! Valoy, CA 99005-8265 .
PUZSZGO-DODSANT LURE NYh <== 9068S Note Date: May 24, 2012
CE AEM agate lartg hoffe Loan Blo. qe
NITIN MAMERSEY erty Address:
BAPPLESHIRE OT P ropery
— FREELAND, MI 46623 PP
Frealand, Ml 48623

 

| IMPORTANT MESSAGE ABOUT YOUR HOME LOAN

Dear NITIN MW AMERSEY,

We are writing ta Inform you that your murigege joan noted above will be transfered to « new servicer
Yor the handling of all tnan servicing ageda euch as billing, payment processing, and eustomer suppart,
Beginning June 16, 2042, your new servicer wiil be Ocwen Loan Servicing, LLC. The enclosed
notice ouilines the Important dates and contact information you will need for the transition to your new
Barviner,

Please be agaured that thi transfer does net alfect any other terms or conditions of your mortgage loan,
ony those teyne related to the aervicing of the Ioan, This servicing transfer only applies to the ivan
noted above. Other-home foan aecounte you may heve wilh ua will not be affected by ihis change unfess

you are specitically notified,

| WHAT THIS MEANS FOR YOU

wooo nn — Tg TR er and payment iafernistien will ohange™ ~~ sree oe oa ene
® Through Jtine 16, 2072, yaott will continue to make your monthly payment a4 uaual.
@ Ocwen Cosn Servicing, ELC will begin accepting payments on dune 16, 2042. Around this date,
__ SLI plese teek for funher-tnform fi
aumber.
* If you have a peyment dua before you receive a billing statement fram Ocwen Lean Servicing,
LLC, write your new loan number on your check and mall tt to the payment address shown on the
oreo) notice. (Until you reselve 4 new Ioan number, you may wtite your old loan number on the
check, ,
* Any automatic paymente eet up with us through the PayPlan programs wilt be dlecontinued aa of
June 18, 2012, Plaasa took for instructions from Gower Loan Servicing, LLC or contact tham an
or after June 18, 2072 to determine what payment optlons they may offer.
e TF you make payments throwgh Bank of America Ontine Banking or any ontine banking or bIH
payment service, you Wit need to update your lean number and payee Information for Onwan
Loan Serviging, LLC on or after June 16, 2042. -
Your loan account aeraes will no lenges be avaliable throtgh Bank of America
® You will no longer be able to make your payment at a Bank of America banking center on the
mortgage loan béing transferred, In addition, your merigaga Ioan infermation will not be avaliable
- through Berk of Amarica Colina Banking.

if you have any questions or need assistance prior to June 18, 2072, plane call Bank of America, N.A.,
toll-free at 1-800-699-6807, Monday-Friday 7a.m. - 7p.m. Looe! Time,

Additional Important information

eH yaur payments includé any opilonal products or Insuranse such as accidental death, home

warranty, [dently theft, unamployment insurance, S16, plagsa reed the enclosad nbtlee carsfully,
* For custoriers curently partletpating In of being considered for # loan modification
program, we Will fransfar any supporting documentation you may have aubmilted to us to Gewen
Loar Servicing, LLG. You should continua to snake your payments to Bank of America, NLA.
through -tune 18, 2042, On or after June 16, 2042, your payments should be meade te Ocwan Loan
_ Bérvicing, LLC unless you ara provided additonal ditéction. All information ragarding other
foraclusure aveldance programs (e.g., forbearance, shart gale, refinance er dead in leu of

SEE REVERSE SIDE FOR IMPORTANT INFORMATION

mation from -Gowen-boan-Senicing, £LC,-Ineluding-your-newoan ene
 

Case 1:13:0-1,8758,JLL-PTM. ECF No. 1-2, PagelD.117 Filed 09/03/13 Pag

[|

———

~~ OnWer Loan Servicing,

Page 109 of 162

Loan No. — Notice Date: May 24, 2012

NOTICE OF AGSIGMMENT, SALE, OR TRANSFER OF SERVICING RIGHTS

You are hereby notified that the servicing of your matigage lopn, thet Is, the Jight fo collect payments
from you, will be asgigned, sold or transferred from Bank of America, ALA, to Gowen Loan Servicing,

LLG, eHective July 01, 2012.

Tre assignment, sale or transter of the servicing of your mortgage loan does not affect any terms or

condillons of tha mortgage instruments, other then those ferms direatly related ta the sarvielng of your
* loan, Except In limited ciroumstances, the law requires that your present servicer sand you thls notice at
least 15 days before the affective date of tranafer, or at closing, Your new servicer must also send you
this noti¢e Ac later than 13 daye after this effective date or at elusing,

YOUR SERVICER PRION TO JUNE 16, 2012:

Your prasent servicer is Bank of America, NAL, Ff you have any questions relating fo tha transfer of
servicing from your present’ earvicar, please call Bank of Arertea, ALA, Customer Service al
7-800-609-6607, Monday-Friday 7a.m. ~ 7p.m,. Local Time, This [9 ¢ toll-free number.

“

YOUR NEW SERVICER ON AND AFTER JUNE 16, 2012:

Your new servicer will be Qawen Loan Servicing, LLG. The business address for Oewen Loan
Servicing, LLG ts: 188¢ WORTHINGTON ROAD., SUITE 100 WEST PALM BEACH FL 34409.

i

 

i

Toll-free Number
The tol-fras telephone number of Oewen Loan Servicing, LLC ts 1-800-740-2098. If you have any

questions relating to the transfer af aervicing to your new servicer, please call Gewen Loan Servicing, -

LLG Cusiomer Service toll-free at 1-800-746-2038, 8-00 AM to 9:00 PM, Eastern Standard Time,
Manday through Friday, 8:00AM to 6:00 PM EST on Spturday, and Noon to 9:00 PM EST on Sunday.

          

Fase f price ar pavments
The address to send wrilltan correspondence to Oewen Loan Servicing, LLG (other than payments) [s:
ween Lean Servicing, LLG, ATTN: Customer Care Center P.O. BOX 24738 West Palm Beach FL

Acti
The address fo send payments to Gowan Loan Servicing, LLG Is:

    

60767-6440, Plages include your joan number on all checks, cashler checks and olher paymanis sant to
Gowen Laat Servicing, LLG.

INFORMATION CONCERNING YOUR LOAN PAYMENTar
The dale that Bank of Americas, 8A, will slop accepting payments from you fe June 16, 2012.

‘The date that your new servicer Dewan Loan Servicing, LLG will start acceptin paymants from you i&
dune 16, 2012, Send alf payments due on oF alter that data to your new conden apy

 

| INFORMATION ABOUT OPTIONAL INSURANCE PRODUCTS:

Tha trenefer of servicing Aghte may affeol the terme of of the continued avallability of ma i fe or
dleability Insurente or any other type of optional irisurance in the following manner: Gank of Aerio
bred on no longer make payments to the insurances company on your behalf. As a result, your coveraga

You shouli! take the following aotiun 4 tmalniain coverage: Coverage wif be cancelled, fo sae if it Is
possible fo malnlain coverage, you will need to contact your new servicer to discuss epverage options.
You may alen contaet your insurance provider to find out if other billing options can ha aranged.

ie. fea 1 —o
OMS ARWBND IA SY LEH Oy “Sie REVERSE Sine Cee hemreerakis ecncons Saran e

ECG, ATTN: PAYMENT PROCESSING, P.O. BOX 6440 CAROL STREAM IL
 

Case 1:1a@sGy-dad/ aaa LL-PTM. ECF No. 1-2, PagelD.118 Filed 09/03/13 Rage 110 of 162

( d ( ar
*. oO .
forapioaure) will also he forwarded to Qowan Loan Servicing, LLG for processing. if your loan was
awalling 4 decision regarding quatifiention for these programs, that decision will now be iads by

Oowen Logn Servicing, LLC. Please 66 advised that this transfer may extend the time needed for
afinal decision on pending modification pr other foraciosure praveniion program requests.

Legal Motte
As a result of this servicing transfer, wa have enclosed ihe Real fatale Setttemant Procedures Act

(REGPA) Servicing Transfer Notice, No action le required on your part in neapanee to the notice, but wa
reporamnd you retain the nolles far your records.

PHAN YOU

Beginning June 13,.2042, Oewen Lean Sarviclag, LLC can assiat you wilh any quesilons related lo your
tean-and the transfer of servicing. Qewen Loan Servicing, LLC's Customer Service can be reached
toll-free at 7-500-746-2096, 8:00 AM fe 9:00 Pi, Easiem Standard Time, Monday thraugh Friday, 4:00
AM to 5:00 PM EST on Saturday, and Neon ta 9:00 PM EST an Sunday.

Thank you for your businans. We appreciate the opportunity to have served your home loan needs.

Heme Loan Team
Bank of Amarice, NA, . ce

This communication is from Bank of Amarica, N.A., the eetvicer of your home lean.

Bank of America, NLA, Is required by jaw to inform you that this communication f
f 8 from a debt soliester, If
bankruptcy proceeding or have recelyad a discharge of the debt referenced above, Phis notiée Is for informational purpose only
. and is not an aitampt ie colfect a debt of damand a payment,

4
 

Case 1:13-Gved27532TLL-PTM ECF No. 1-2, PagelD.119 Filed.09/03/13 ,Page 111 of 162

f

re, LY

ABOWT YOUR RIGHTS UNDER RESPA

You ehould be aware of the following Information, which is set oul in more detail it Section € of the
Real Estaiy Sutflement Procedyras Act (REGPA) (12 U.S.C. 2605):

During the G-dpy parted following the effective date of the iansfer of the loan servicing, a ican
payment received by yaur old servinar bofore fis due date may not be treated by the new loan

servicer agiate, and a late fae may not he imposed on you.

Section G of RESPA (12 U.S.C. 2605) gives you certain consumer rights, If you send a “qualified
witten request” to your loan servicer concaming the servicing of your ioan, yaur servicer net
provide you with @ wilten acknowledgment wilhin 20 Businass Pays of receipt of your raquest. A
“Quelified wrilten request" is # written ‘correspondence, other than notice on & payment coupon oF
other payment medium supplied by the servicer, which includes your name and account number, and
your reasons for the request. If You wani to send @ “qualified written request’ regarding Bank of
Amarioa, N.A.s sarvielng of your loan, it must ba sent Co this addreaa:

Bork of Amorizn, NA. Cee
Custonier Service Gorgapondence, ZAG-018-01-41
F,.0, Box 5170
SIMi VALLEY, CA 85062-5778

Not later than 40 Business Days after recsiving your request, your servicer musi maka any
appropriate corrections to your account, and must provide you with a weltten clarification regarding
any dispute, During thie $0-tuginess-Day pariod, your sarvicer may not provide Infonnatian io a
consumer reporting agency conceming any ovefdie payment refuted ta auch psrlod or qualified
wilftan request. However, this dasa not pravent the servicer from Intating foradineura if proper
grounds exist under the smorigage documanty.

A Business Day is a day on which the offteas of the business entity ara opan to the public for carrying
on aubstantially all of ils businans functions, ;

Sactlon 6 of REEPA also provides for damages and costa for individuals or clasees of individuate tn
cloumsiances where servicers are shown te have violated the tequiramante of that Section. You
ahould seek legal edvice if you belleve your righis have been violated,

 

 

 

 

 

 

 

& Bank of Amorien, HA. Momber FDIC. Equel Howsing Lender, © 2012 Bank of jecerrarie
" Aimarica Garparat c
Gorporstion, All sights reserved. Somp broducte indy rot de aveltabta In all states, This fs ott command te lane, Hovirienoene pl Bankat Ametion
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.120 Filed 09/03/13 Page 112 of 162

w) Cy

KXHIBIT: 9

 

 
 

Te contin’ pee review of your loan for:
foreclosure: revention aliernatives, we
must recelve the requested items by
June 24, 2072.

 

  

May 25, 2012

NITIN M AMERSEY
5S APPLESHIRE CT
FREELAND, MI 48623

Loan Number: nals

Dear NITIN M AMERSEY:

Thank you for your interest in foreclosure prevention alternatives. We need information refating to your financial
situation and the circumstances of your hardship to determine if your joan is eligible for this program.

As of the date of this letter, we cannot complete our review because some information we need is missing or
incomplete,

Please complete and fax the required documentation using the enclosed fax cover sheet to 1.888.258.7329 or retum
using the enclosed FedEx envelope. We must receive this information no later than June 24, 2012,

Please ensure all submissions are complete. You may find the ist below contains ons or more documents you
submitted as part of your Borrower Rasponse Package. If so, they are listed because we need more information about
them or because they were submitted with missing or incomplete information. When providing the additional
documentation or clarifications, remember the following helpful hints: - .

an _*_._Write-your. loan-number at the bottom oF all pages If i's not already listed, This will aid in identifying your
documents shauld they be sent Separaiely or get separated. oe

 

~~ ~8——Tnolude ALL PAGES of any document with multiple pages. For instance, If the last page of your bank
statement indicates Page 6 of 6, ensure you provide the copy of all six pages. .

* The signature of each borrower and the date the document was Signed is required for many documents.
Please make sure all the Proper signatures and dates ara provided for any documents listed below,

* Some requested documents have columns of numbers that must be added or Subtracted to determine a total
value (for example, Request for Modification / Hardship Affidavit or Uniform Borrower Assistance Farm {Form
710), profit and loss Statement). Please ensure that complete and accurate totals are provided for any and all

columns, -

“8 Ha document you previously submitted is listed below, it may be too old to be usable. Please send us a copy
of the most recent version(s) of the document. .

important information About Foreclosure

Until we recsive a completed. Borrower Response Package, your loan is sublect to the foreclosure process. Once your
loan enters the foreclosure process (or if it has already entered the foreclosure process), foreclosure activities wil!
continue until you have been evaluated for and enter into AN approved foreclosure avoidance alternative. itis important
that you continue to respond to any foreclosure notice and to any request for additional documentation required to
complete your Borrower Response Package. .

if you subi a complete Borrower Response Package less than 37. calendar days before a scheduled foreclosure sale,
e will attempt i 3 i

sale. Even if we are able to approve your loan fof @ foreclosure alternative prior to @ sale, a court with jurisdiction over
the foreclosure proceeding (if any) or public Official charged with carrying out the sale may nat halt the scheduled saie.
Also, if wa receive your complete package less than 15 days before g scheduled foreclosure sale date, we are nat
obligaied to review your Package or request a Posiponement of the Sale,

 

C3_648-5GSEIINBAUGE

 
 

Case 1:13-cv-13753-TLL-PTM, ECF No. 1-2, PagelD.122 Filed 09/03/13 Page 114 of 162

wd ) | )

Please submit the following Information for each borrower:

* IRS Form 4506T (enclosed) — This form allows us to request a copy of the tax return for each borrower.
Borrowers who filed their tax returns joinily may send in one IRS Form 4506T signed and dated by both joint

filers.

* Pay Stubs - The most recent pay stub that reflects at feast 20 days af year to date earnings for each borrower
who is either a salaried employee or hourly wage earner, (For exampie: if you are pald weekly, provide four
pay stubs that cover the full month and if you are paid bi-monttily, two pay stubs at a minimum.) if you are new
to your job and do not yet have a pay stub, submit a jetter from employer verifying employment start date and

Salaty or rate of pay.

° Self Employment Income Documentation - Each self-employed borrower must provide copies of each of the
following: 1} The most recent quarterly or year-to-date profit and loss statement for a period of no fewer than --
three (3) months. The statement must include the business name, income, expenses, net income after

- expenses arf period start and end dates (for example 10/1/2011 through 12/31/2011), The statament must be
signed and dated by the borrower. 2) Copies of the applicable self-employment tax schedule (C, of E and iX-1).
if you are no longer self employed, please provide a copy of your cancelled business license or letter of

explanation,

® Ket / Tax Form 11208 or 10656 - A copy of a shareholder's share of income for self employment income
listed on Schedule E of your recent tax returns for verification of percentage of ownership.

* Homeowners Association Documentation - Letter or bill from homeown eré/condomintum association
teflecting dues amount and frequency pald. :

oot Proof of Hardship - Copy of documentation to-support-the hardship indicated on the Hardship Affidavit /
_ Request for Modifleation or Uniform Borrower Assistance Form (Form 710). Please see the enclosed Request
for Hardship Documentation for a list of specific documents. NS

7 ° Business / Corporate Tax Returns - A aligned copy of lhe most recently flied Business tax return, with all
. schedules and tax forms. If you have filed a Tax Extension for the current year, provide a copy of the previous
year and Tax Filing Extension Form. If you are not required to file a business tax return, please submit a letter

of explanation.

* Form 710 Uniform Borrower Assistance Form (enclosed) — This form must be completed in its entirety.
Sections requiring a total must be completed and accurately totaled, The form must be signed and dated by all

borrowers.
'° Hardship Latter «A written explanation describing the specific nature of your Hardship.

Please note: Keep a copy of all documents for your records. Do not send orlginal documentation unless
' otherwise noted. ;

information, please call.me ai 1.800.669.6850, We want to work with you and urge you Lo send us your documentation
@S 500n as possible.

Deborah Hammond

tome Loan Team ‘etey eSB. .
“Bank of America, NA, Bank of America 4B" tome Loans

Enclosures: 1) Pre-paid envelope 2) Customized Cover Sheat 3) IRS Form 4506-T 4) 710 Uniform Borrower
Assistance Form 5) Request for Proof of Hardship Documentation

Bank of America, NA, ig required by-law to inform you that this communication is from a dabt collector, However, the purpose of this communication is io
"let you know about your potential elfibttty for 2 loan modification program that may help you bring or keap your loan curent through affordable payments.

~ Mortgwaee funeind and adnisistered by ent Equal Housing Lender.
Protget YR phzooot ninuirton ontone tecyetng ota doeuninst

C3_648-5 GSEIINBALOE

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.123 Filed 09/03/13 Page 115 of 162

O »

 

 

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.124 Filed.09/03/13 Page 116 of 162

‘ ; \ j Ocwen Loan Servicing, LLC ( J
: HELPING HOMEOWNERS IS WHAT WE.DOL™ —"-
ot WW W.OCWEN,COM

OcWER :

6/28/2012

 

Nitin M Amersey
5 Appleshire Ct
Freeland, MI 48623

Loan Number: a:
Property Address: 5 Appleshire Ct, Fresland, MI 48623

 

Dear Borrowers: Nitin M Amersey
Your mortgage payment is now 60 days or more past due and your loan is in default. We are i)
concerned about your missed mortgage payment — and want you to be aware of assistance ;
available to you — in case you are unable to bring your payments current. .
We Are Here te Help You
It is critical that you work with us on a resolution for any issues that affect your ability to
make timely morigage payients, whether your challenges are temporary or long term,
The sooner you respond, the more quickly we can determine whether you qualify for %
assisiance. :
_____Options May Be Available
The right option for you depends on your individual circumstances: If you provide all required
information and documentation about your situation, we oan determine if you qualify: for °
__temporary_or long-term relief, inoluding solutions that may allow you to stay in your home
(refinance, tepaymrent, forbearance, loan modification) or leave your home while avoiding—#
foreclosure (short sale or deed-in-liev of fareclosure).
For more details, please see the attachment on Avoiding Foreclosure.
Send Us the Information We Need to Help You
Requesting help is the first step, Start by providing information and documentation to help us
understand the challenges you are facing, To do this, follow the detailed instructions on the
attached Homeowner Checklist to complete and submit your Borrower Response Package to
Us.
Once we have received and evaluated your information, we will contact you regarding your
options and next steps.

Learn More and Act Now

For more information, please see the Prequently Asked Questions and other information
provided with this letter. IF you need assistance, contact our customer support team at (800)
746-2936. ; .
Remember, you need to take action by completing and returning the entire Borrower

Response Package by 7/28/2012,

    

Sincerely,

Customer Support
Oewen Loan Servicing, LLC

. -l-) . ,
This communication is from a debt collector attempting to collect a debt: any information obtained will be used for that prrpose.
Flowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is not intended as and

does not constitufe an attempt to collect a debt. oo
MAILS # 1832

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.125 Filed: 09/03/13 Page 117 of 162

OQ QO

EXHIBIT 11
 

Case 1:13-cv-13753-TLL-PTM

ECF No. 1-2, PagelD.126 Filed 09/03/13 Page 118 of 162

 

 

1 | { ) Ocwen Loom Servicing, LLC (
i i * ABLPING HOMBOWNERS IS WHAT WE Dorr
OoWweEW

July 06, 2012

. VIA Fist Class Mai]

VIA Certified Mail (return seceipl requested)
Certified Number: 71069017515156283092
Reference Code: 120]

Nitin M. Amersey
5 Appleshire Ct

Freeland, MI 48623-0000

Loan Number:
Property Address: 5 Appleshive Ct,
° Frecland, MI 48623-0000
' NOTICE GF DEFAULT

         

      

         

 

AVISO TMP TANTE PARA PERSONAS DE HESPANA:
Esta notificacién es de-suma importencia. Puede afectar su derecho a continuar viviendo en su casa, Si no entiende su contenido, obtenga

una traduccién inmediatamente o contéctenos ya que tenemos representantes que hablan espaiiol y estén d isponibles para asistir,

    

Near Borrower (s): oO

 

If you have received a Chapter 7 discharge under the Bankruptey Code of the United Slates or if your mortgage is the type which has been

__ discharged pursuant to.a completed. Chapter-13 ‘plan; this-notice-is-not intended -and doesnot CURSE Sai attempt to collect a debt against

In addition, if you have recently filed a petition under the Bankruptey Code, this notice hus been sent to you because GCWEN has not
been notified of your baulruptey case, If the foregoing applies to you, it is IMPORTANT thar yot or your bankruptcy attorney eortact us
immediately and provide us with the folowing inforrnation: date and jurisdiction of your filing, your case number and the bankruptcy -
chapter sumber under which you have filed,

If you have nof recently filed bankruptey or received a bankriptey discharge, you are hereby notified that this letter is an uttempt to
collect a debt. All information obtained will be used for that purpose, The debt is owed to OCWEN as the owner or servicer of your
home joan and mortgage. . .

Unless you dispute the validity of the debt, or any portion (hereof, within thirty (30) days after receipt of this letter, the debr will be
assumed to be valid by OCWEN. If you notify OCWEN in writing within thirty (30} days that the debt or a portion of the debt is
disputed, OCWEN will send you verification of the debt. Lf you would like to obtain such verification, direct your request in writing tw

the Loan Resolution Consultant withia thirty (30) days, The failure to dispute the validity of the debt may not be construed by any court
as an admission of liability by you.

‘Your mortgage payments are past due, which puts you in default of your Joan agreement. As af July 06, 2012, you owe the following:

Principal and Interest - $16,443.39
Interest Arrearage $0.00
Escrow ” $3,319.29
Late Charges > $117.44
insufficient Funds Charges $0.00

Fees / BXpenses 3 20.06
Suspense Balance (CREDIT) 5 0,00

laterest Resarve Balance (CREDIT) $0.00 —

DEMANDI539
This communication is from a debt callector attentpting to collect a debt; any information obtained will be used for thet
purpose. However, if the debt is in ative bankruptey or has been discharged through bankruptey, this communication is nor
intended as and does not-coustitute an attempt to collect a debt.
NMLS' # #852

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.127 Filed.09/03/13 Page 119 of 162

 

 

 

 

 

Fa f
. Ocwen Loan Semicing, LLC \ J
HELPING HOMEOWNERS IS WHAT WE DO!TH
FOC £
OC WEN
TOTAL DUE - § 29,898,32

On or before August #6, 2012, you must submit payment by Money Gram, Bank Check, Money Order or Certified Funds for the entire
total due ammount stated above to the appropriate address listed at the bottom of page fwo of this notice. Any payment(s) that become due
in the interim must also be included.

Failure to bring your account cient may result in our election to exercise our right to foreclose on your property. Upon acceleration,
your total obligation will be immediately due and payable without further demand, In foreclosure proceedings, we ave entitled to collect
your total arroarage in addition to any expenses of foreclosure, including but not limited to reasonable attormey’s fees and costs. If your
loun has already been accelerated and foreclosure proceedings already begun, we will continue the foreclosure action (if possible}. You
have the right to assert in court the non-existence of a default or any other defense to accelergtion and foreclosure,

OCWEN will work with bankruptcy lawyers, foreclosure defense lawyers, housing comselors, and other authorized representatives. of our
customers. However, we will only release information once your written autharization has beon obtained, as required by Jaw.

After acceleration of the debt, but prior yo foreclosure, you may have the right to reinstate the mortgage loan, depending on the terms of
the note and-mortgage, We-encourage you to review the provisions of the note and mortgage. Please be aware that, after acceleration of
the debi, there may be expenses and attomey’s fees and costs incurred by OCWEN to enforce the mortgage in addition wy the overdue
amount on the mortgage. Any payment to reinstate the mortgage loan after acceleration must therefore include an amount sufficient ta
cover such expenses and fees incurred. Payments received that ave less then the amount required to reinstate the mortgage Joan will be
teumed, and will not stop any foreclosure proceedings that have begun. PRIOR TO SUBMITTING PAYMENT, YOU MAY WISH
TO CALL US TO VERIFY THE EXACT BMOUNT DUE,
orice Lnfori, Cust, i dil

Housing counselors and legal assistance may be available et little or no cost to you. If you would like assistance in determi ning your
tights and opportunities to keep your house, you may contact the following:

® The statewide foreclosure hotline recommended by the Housing Finance Commission:
Toll-free: 1-877-894-HOME (5-877-394-4663) . ’
hupiiwwvedfi.wa, govdconsumers/homeownetshin’post purchase eomselors. foreelomue.him

6 United States Depavtment of Housing and Urban Development: -
Toll-free: 1-877-741-3281 __. . a. oe
mooomew ons <o--—-Logal compelling ageiielés tir Waslilng inf 77 ~

aignidurwe hn, govoftices/sq/sfhvhecte/index clin? webl istAction=senrch@searchstate=W A & filters fe

oon to Fhe statewide civitegal-aid hotline for nssistince and refeials 16 oiler Holising counselors and attorneys:
Toll-free: 1-900-606-4319
http yfvjustice ore Ayhnt-clear
In addition, A HUD counseling agency may be able to provide you with assistance. To locate the HUD approved counseling agency in
your area, call the HUD Housing Counseling Service at (800) 569-4287 or consult HUD's website at saw JUD, soy.

Your failure to contact a housing counselor or attorney may result in your losing certain
opportunities, such as meeting with your lender or participating in mediation in front of a neutral
third party. -

Tf you are unable to bring your account current, | urge you to eall us immediately to discuss possible altematives to foreclosure,

Ifyou have the desire to remedy this sliuntion, we want to assist yeu Itt trying to reach that goal. OCWEN would like to present
you with some of che alternatives that might be available regarding your delinquent mortgage Jona. While our primary objective
is the collection of past due amounts on your loan, we want to work with you fo find the best available alternative for you te bring

your mortgage Joan obiigntion current.
Please visit our website at www.oewen.com where you can yeview your account and enter your financial information at your
collvenience, —

*

Pranuy Patekar has been assigned as your yelationship manager and wilt be your designated representative for rescdution inquiries and
submission of documents . :

Sincerely, | ADDRESS WRITTEN CORRESPONDENCE TO:
. Research Department
Oewen Loan Servicing, LLC
Ocwen Loan Servicing, LLC P.O. Box 24736

DIMANDIS.39

This communication is from a debi collector attempting to collect a debt; any information obtained will be used for that

purpose. However, if the debs is in active bankruptey or has been discharged through bankruptcy, thiy communication is nat
. intended as and does not constitute an attenpt to collect a debt.

, NMES #1852

1

 
 

Case 1:13-cv-13753-TLL-PTM, ECF No. 1-2, PagelD.128 Filed 09/03/13 Page 120 of 162

iy “eT “{ 2D Ocwen Loan Servicing, LLC ( )
j " HfELPING HOMEOWNERS 1S WHAT WE DO!Th"
. W WW. OCWEN.COM

I
i
i. i

OCWEN

 

 

Toll Free Phone: 900-746-2936 "West Palm Boach, FI, 33416-4736
T.REMITT, : fa Lo with your

Receive Code: 2354 Ocwen Loan Servicing, LLC ’ Oowen Loan Servicing, LLC

City: Orlando 1661 Worthington Road, Suite 100° P.O. Box 6440

St: FL . West Palm Bench, FL 33499 : Carol Stream, IL 60)97-440

Loan # 7130389260 Attention: Cashiering Department

DEMANDDS.39

This communication is from a debt collector aftempting to collect a debt; any information obtained will be used jor that |
purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptey, this communication is not

intended as and does not constitute an attempt to collect a debt
: NMLS 8 2852

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.129 Filed-09/03/13 Page 121 of 162

i) | CJ

 EXHOEBIT 12
_Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.130 Filed-09/03/13 Page 122 of 162

| “y Ocwen Loan servicinyp LLC CD .
Mee“i Helping Homeowners is What We Do WWW.OCWEN.COM

OUWEN

O7/28/12

Nitin M Amersey

§ Appleshire Ct
Freeland, MI 48623

Loan Number: ae
Property Address: 5 Appleshire Ct, Freeland, MI 48623

Dear Borrower(s),

Recently we called your attention to your severely delinquent mortgage loan referenced above. We either have not heard
from. you or we have not reached a resolution. It is imperative that you contact us immediately to resolve this matter. Pailure
to do so can result in the accumulation of fees and costs associated with foreclosure, the sale of this property at auction and

even eviction.
Time is running out,

We may have resolutions available to help you avoid losing your home and having to make plans to vacate the property.
Remember, poor credit may affect your ability fo secure another place to live even as a tenant of a rental property.

‘There is still time to. resolve this matter, and we may have programs available to help you.

Contact the Customer Care Center today at 1-800-74OCWEN (1-800-746-2936) to learn how this matter can be resolved and
avoid the unnecessary inconvenience and added expenses of foreclosure,

Helping Homcowners is What We Do.
Sincerely,
Ocwen Joan Servicing, LLC

If you are currently in active bankruptcy, or if you received a bankruptcy discharge, which included this debt, this
communication is not intended to, and does not constitute, an attempt to reaffirm your debt or to collect a debt against you
personally. Please review the alternatives and fcel free to contact us.

We've extended our hours because of the large number of people taking our offers, We're now open Monday — Friday $:00
am — 9:00 pm, Saturday 8:00 am - 5:00pm and Sunday 12:00 pm to 9:00pm RT.

 

This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
purpose. However, if the debt is in active bankauptey or has been discharged through bankruptcy, this communication ix not

intended as and does not constitute an attempt to collect a-debt.
NMLS # 1852
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.131 Filed 09/03/13 Page 123 of 162

rs | Ocwen Loan Ser ng, ILC oy)
Helping Homeowners is What We Do i WWW.OCWEN.COM

OCWEH

 

 

08/08/22

Nitin M Amersey

5 Appleshire Ct
Freeland, MJ 48623

Loan Number: Lee |
Property Address: 5 Applesii#e Ct, Freeland, MY 48623

Dear Borrower(s),

Recently we called your attention to your severely delinquent mortgage loan referenced above. We either have not heard
fiom you or we have not reached a resolution, It is imperative that you contact us immediately to resolve this matter, Failure
to do so can result in the accumulation of fees and costs associated with foreclosure, the sale of this property at auction and

even eviction.
Time is running out,

We may have resolutions available to help you avéid losing your homa and having to make plans to vacate the property.
Remember, poor credit may affect your ability to secure another place to live even as a tenant of a rental property,

There. is. still time-to-vesolve-this- matter, and we muy have programs available to help you.

Contact the Customer Care Center today: at 1-800-740CWEN (1-800-746-2936) to leam how this matter can be resolved and
avoid the unnécessary inconvenience and added expenses of foreclosure.

Helping Homeowners is What We Do.
Sincerely,
Gewen Loan Servicing, LLC

If you are currently in active bankruptey, or if you received a bankruptcy discharge, which included this debt, this

communication is not intended td, and does not constitute, an attempt to reaffirm your debt or to collect a debt against you
personally. Please review the alternatives and fee] free to contact us, .

We've extended our hours because of the large number of people taking our offers, We're now open Monday — Friday 8:00
am ~ 9:00 pm, Saturday 8:00 am - 5:00pm and Sunday 12:00 pm to 9:00pm ET. .

 

This communication is from a debt collector attempting to collect a debt; any information obtained Will bé used for that
purpose. However, if the debt is in active bankruptey ov has been discharged through baniruptey. this communication is not
intended as and does not constitute an atlempt to collect a debt,
NMLS # 1852

 
oi

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.132 Filed 09/03/13 Page 124 of 162

 

. f } Ociver Loan Servicing, LLC ( }
Pa HELPING HOMEOWNERS IS WHAT WE DOITH 7 -”
boo one WWW.OCWEN.COM
QowenN
8/14/2012

Nitin M Amersey

3 Appleshire Ct

Freeland, MI 48623

Loan Number:

etna,
Property Address: 5 Appleshire Ci, Freeland, MI 48623

Dear Borrowers: Nitin M Amersey

We Are Here to Help You! It is critical that you work with us on a resolution for any issnies
that affect your ability to make timely mortgage payments, whether your challenges are
temporary or long term, .

The sooner you respond, the more quickly we can determine whether you qualify for
assistance.

Options May Be Available .
The right option for you depends on your individual circumstances. If you provide all required
‘information’ and documentation wbout -your situation. we-can determine: if -you qualify: for-
temporary or long-term relief, including solutions that may allow you to stay in your home
(refinance, repayment, forbearance, loan modification) or leave your home while avoiding
“foreclosure (short sale or deedsineliew of foreclosure).
For more details, please see the attachment on Avoiding Foreclosure,

Send Us the Information We Need to Help You

Requesting help is the first step. Start by providing information and documentation to help us
understand the challenges you ate facing. ‘To do this, follow the detaited instructions on the
attached Homeowner Checklist to complete and submit your Borrower Response Package to
us.

Ones we have received and evaluated your information, we will contact you regarding your
options and next steps.

Learn More and Act Now
For more information, please see the Frequently Asked Questions and other information £2
provided with this letter. Ifyou need assistance, contact our customer support team at (800)
746-2936.

Remember, you need te take action by completing aud returning the entire Borrower
Response Package by 9/13/2012.

 

Sincerely,

Customer Support
Owen Loan Servicing, LLC

. . ~de ;
This communication is front a debt collector attempting to collect a debt; any information obtained will be used jor that purpose,
However, if the debt is in active bankruptey or has been discharged through bankruptey, this communteation is not intended as and

does not constitute an allempl fo collect a debt.
NMLS #: 18352

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.133 Filed 09/03/13 Page 125 of 162

(J | Cy

EXHIBIT 13
 

 

Case _1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.134 Filed 99/03/13 Page 126 of 162

 

\ Ocwen Loan Servicing, LLC yp ]
HELPING HOMEOWNERS IS WHAT WE DO/™
WWW.OCWEN.COM

 

 

O/19/2012 , Loan 4

Nitin M Amersey
5 Appleshire Ct
Freeland, Mi 48623

. Important Information Regarding
Your Modification Application

Dear Oewen Customer,

Ocwen would like to take this opportunity to thank you for submitting an application for assistance. We value your business and
want to assure you that we are processing your request as quickly as possible. To better serve you during this time, we have .
provided answers to the most frequently asked questions from customers who have similarly applied for assistance,

FREQUENTLY ASKED QUESTIONS.
What happens after T submit-my financial package?

Step. -- The first step in the approv al process is to have your financial package reviewed for completeness, We must make sure
that all of the required information has been submitted and the applicable forms are signed and dated appropriately, After you _

submit the financial package. there 1s ne need ta call us to check on it. If your package i is incomplete, Oewen will notify you
through a letter mdicatng what documents are missing or ineorreet. [fF your package is complete, it will automatically move to
underwriting.
Step 2 -- Once the package has been ceytified as complete, your application moves to the underwriting stage where your
eligibility is determined: If you have applied for assistance on your primary residence and your foan is a first lien, Ocwen will
first look to qualify you for the federal government's Home Affordable Modification Program (HAMP). If we determine that
you do not qualify for the HAMP modification, we will attempt to qualify you for an Ocwen sponsored modification program
automatically, If you are applying for assistauce on an investment property or second lien mortgage, you may still qualify for an
Ocwen sponsored modiffeation. If you do net qualify for either.an HAMP or Ocwen modification, we will send you a letter with
information on alternatives.
Wyou qualify. v2 will cend vou cither a Trin: Period Plan offer or a modification offer depending on the program. It

aise. 3 «Ul
takes apnroximately 30 days for us to complete our review.

How ¢an J get an update on the application process?

If you submit a complete financial package, you may not receive any notification until your eligibility is determined. It is not
_necessary 70 call us to obtain an update as your request will be processed in the order in which it is received. The most important

thing you can do is to ensure your financial package is complete when submitting your request.

Will a foreclosure occur if I participate in the Home Affordable Modification program?

While we consider your request, we will not initiate a new foreclosure action and we will not move ahead with the foreclosure

sale on an active foreclosure as long as we have received ail required documents and you have met the eligibility requirements.

Will it help to speak to an Ocwen Representative?

We know your time is valuable, so we do not want you to feel the need to follow-up via phone. If you call us while the package
is being processed, the representative will not have any new information. Please rest assured our representatives are working

diligently to process your application,

 

This communication is ‘ron a debt collector attempting to-collect a debt; anv information obtained will be used for that pur pose.
However, if the debt is in active bankruptcy or has been discharged thr ough bankruptey, this communication is not intended’as
and does not constitute an attempt to collect a debt.
NMLS# 1852

 
 

 

Case 1:13-cv-13753-TLL-PTM__ECF No, 1-2, PagelD.135 Filed.09/03/13 Page 127 of 162

 

 

i “e : Lo . _ Ocwen Loan Servicing, LLC(. -
HELr sNG HOMEOWNERS IS WHAT WE Bot
Looe | WWW.OCWEN.COM

We are committed to helping you retain your home. That's why we are currently evaluating your mortgage: for eligibility in the
Home Affordable Modification Program (“HAMP") which would modify the terms of your loan and make your mortgage
payments more affordable. If your loan has been previously referred to foreclosure, we will continue the foreclosure process
while we evaluate your loan for HAMP. However, no foreclosure sale will be conducted and yon will not lose your home

during the LAMP evaluation.

HAMP Eligibility
® If you are eligible for HAMP, you will enter into a “trial period*. You will receive.a Trial Period Plan Notice which will

contain a new trial payment amount (this will temporarily replace your current mortgage payment durmg the HAMP
trial period). To accept the Trial Period Plan, you must make your first trial payment by the specified due date. Once you
accept, we will halt the foreclosure process as long as you continue to make your required trial plan payments. .

® If you do not qualify for HAMP, or if you fail to comply with the terms of the Trial Period Plan, you will be sent a Non-.
Approval Notice, In most cases, you will have 30 days to review the reason for non-approval and contact us to discuss any
concerns. you may have, During this 30-day review period, we may continue with the pending foreclosure action, but no
foreclosure sale will be conducted and you will not lose your home.

Important—Do not ignore any foreclosure notices.
The HAMP evaluation and the process of foreclosure may proceed at the same time, You may receive foreclosure/eviction
notices - delivered by mail or in person - or you may see steps being taken to proceed with a foreclosure sale of your home.
While you will not Jose your home during the HAMP evaluation, to protect your rights under applicable foreclosure law, you
tay need to respond to these foreclosure notices or take other actions, If you have any questions abot the foreclosure process.
“and the evaluation of your HAMP request, contact us at (800) 746-2936, If you do not understand the legal consequences of the
foreclosure, you are also encouraged to contact a lawyer or housing counselor for assistance,

Questims |
Call (800) 746-2936 if you cannot afford to make your trial period payments, but want to remain in your home. Or if you have

decided to leave your home, contact us-—we have other options that may be able to help you avoid foreclosure,

We are available Monday to Friday 8:00 am to 9:00 pm, Saturday 8:00 am to 5:00 pm and Sunday 09:00 am to 9:00 pm ET.
PRANAV: PATEKAR has heen assigned as your relationship manager and wil! be your designated representative for resolution
inquiries and submission of documents.

Sincerely,

Oewen Loan Servicing, LLC
HELPING HOMEOWNERS IS WHAT WE DO!

FINANCIAL COUNSELING SERVICES .

When you are experiencing a financial hardship, counseling may be a way to help you manage your finances. We urge you to
contact HUD approved agencies to obtain assistance in keeping your home. This assistance is available at no charge. For specific
guidance on this notice or information related to the Home Affordable Modification Program, ask the counselor for MHA HELP.

HUD Approved Housing Counseling: 1-800-569-4287 www.HUD.gov
HOPE Hotline Number: 1-888-995-4673

 

This communication is from a debt collector attempting to collect a debt; any information obtained will be used Jor that purpose.
However, if the debt is in active. bankruptey or has been discharged through bankruptcy, this communication is not intended as
and does not constitute an attempt to collect a debt,
NMLS# 1852

 

 
Case 1:13-cv-13753-TLL-PFM ECF No. 1-2, PagelD.136 Filed 09/03/13 Page 128 of 162

i Cy

EXHIBIT 14
 

- ID.137 Filed 09/03/13 Page 129 of 162
Case 1:. 3-cv-13753-TLL-PLM., ECF Niet Lom Servic tng LLC eo,
,  YELPING HOMEOWNERS IS WHAT WE DC y

| \ WWW.OCWEN.Com

OGWEN . :
: mes.

9/20/2012

Nitin M Amergey
3 Appleshire Ct
Freeland, MI 48623

Loan Number:
Property Address: 5 Appleshire Ct, Freeland. MI 48622

Dear Borrower,

Thank you for submitting your application for foreclosure prevention assistance. Based on our review of the information you
provided, the following documentation is tequired to complete the application process.

As of the date of this letter, if you have already submitted the documentation Tequested below you may disregard this notice.

STEP 1: Please provide a copy of the documents as described in the instructions below:
-We did not receive the required income documents to Support your self employment income, Please include: (i) a complete,
signed individual federal income tax return; (il) as applicable. the business's tax return; AND (iii) either {a} the most recent signed and
dated quarterly or Year-to-date profit/loss.statement-that reflects activity for the most recetit three months OR (b) copies of the bank
Statements for the business account for the last two months evidencing continuation of the business's activity.,We did not receive your
completed, signed and dated uniform Borrower Assistance Form.,We did not receive your completed, signed and, dated. Ocwen.
Financial Form,,We did.notreceive-two Most recent pay stubs that reflect at least 30 days of year to date earnings for each borrower.
SPEP 2: The documentation listed above must be received by 10/5/2012. Failure to
may delay your application process. Please send copies. Do not send originals,

Send a copy of this letter and the documents to the following:

Ta expeitite processing:
PAX TOs (407) 737-6174 #4" OR "ee" SCAN AND E-MAIL TO: madd oewen.com

You may also mail your application to:

Ocwen Loan Servicing, LLC
Attn: Home Retention Department
1661 Worthington Road, Suite 100

West Palm Beach, Florida 33409 -
If you have any questions, please comact Ucwen at (800) 746-2936, We are availatie Monday tu Friday 8:00 am vo 9:60 pra ET,
Saturday 8:00 am to 5:00 pm ET and Sunday 9:00 am to 9:00 pm ET.

PRANAV PATEKAR has been assigned as your relationship Inanager and will be your designated representative for resolution

inquiries and submission of documents,

Sincerely,

Ocwen Loan Servicing, LLC

IBRP Letter

This conintinication is from a debt collector attempting t collect a debt; any information obtained will be used for that Purpose.
However, ifthe debt is in active bankruptcy or has been discharged through bankruptey, this coimunication is.not intended as and
does not constitute an attempt to collect a debt
NMLS #: 1852
38 Filed 09/03/13 Page 130 of 162
fic

Case 1:13-cv-13753-TLL-PTM ECF NGewhi Zandra] 2.2 18
o \ JEN HOMEOWNERS IS WHAT WE D( y

SLOW en ,
FREQUENTLY ASKED QUESTIONS

What happens after I submit my financial package?

 

Step | - After we receive your financial package, we will review it for compieteness, making sure that all of the required information
has been submitted and that the applicable forms are signed and dated appropriately, During this time, you will also be assigned a
Relationship Manager, who will monitor your account during the review Process and meet with you as needed to review options or
address issues with your application. You will receive a letter with his or her name aud more information ‘about their tole when a

Relationship Manager is assigned to your account,

If your package is incomplete, Oewen will notify you through a letter indicating what documents are missing or incorrect, and we will,
follow up with a phone call to schedule an appointment with your Relationship Manager to review the missing documents with you,
Otherwise, it will automatically move on to our Underwriting department for processing, ,

Step 2 ~ Once the package or your request has been certified as complete, your application moves to the Underwriting stage where
your eligibility is determined, We will nyiew your account based on the resolution options allowed by the owner of your loan. If you
indicate your desire is to remain in your home, we will start the review with our various loan modification options, and determine your
eligibility for those programs first. Tf you do not want to keep the property, or if your account doesn’t qualify for a modification, we
will review your eligibility for other resolution options that we can offer. The review process typically takes 30 days once all of the

documents are submitted and determined to be complete,

Step 3 — If you qualify for one of our modifications, we will send you either a Trial Period Plan offer or a modification offer
depending on the program. If we are able to offer you a different type of resolution, we will send you information about the program
and an egreement to execute. We will also contact you by phone to set Up an appointment with your Relationship Manager to review
these documents and answer any questions that you inay have about the resolution. If you do not qualify for any resolution options
that we offer, we wiil send-you a letter with information on additional alternatives,

How can I get an update on the application process? —...--- —--

If you submit a complete Borrower Response Package, you may not receive any notification until your eligibility is-determined, The-
Tnost Jmportant.thing.you can-do-is-to-ensure- your Borrower Response Package is complete when submitting your request. Our
Customer Care Representatives are avai lable to answer your account questions; however, they will not have any information about the
status of the application while it is being reviewed. :

What happens if I am eligible for a modification?

If you ave eligible for a modification, you will receive a Trial Period Flan offer which will contain a new trial payment atnount (this
will temporarily replace your cutrent mortgage payment during the tial period). To accept the Trial Period Plan offer, you must make
your first trial payment by the specified due date. Once you accept, we will suspend or Stop the foreclosure process as Jong as you

continue to make your required trial plan payments,

What if Pm not eligible for a modification?

If you do not qualify for a modification, or if you fail to comply with the terms of the Trial Period Plan, you will be sent a Non-
Approval Notice, In most cases, you will have 30 days to review the reason for hon-approval and contact us to discuss any concerns
you may have. During this 30-day review period, we may continue with any pending foreclosure action, but ne foreclosure sale will

be conducted and you will not lose your home.

Hf you are not eligible or become disqualified while in a Trial Period Plan, we stilt may be able to work with you to avoid foreclosure.
The sooner that you contact us, the more options we may be able to provide you. We urge you to contact us right away,

, IBRP Letter
this cammunication is Stam a debt collector attempting to collect a debt; any information obtained will be used for that purpose,
However, if the debt is in achive bankruptcy or has been discharged through bankruptey, this Communication is not intended as and

does not constitute an attempt to collect a deby,
NMES #: 1852
Cage 1:

i 3/13 Page 131 of 162
3-cv-13753-TLL-PTM ECF NQwdi Zod BIG A 39. Filed 09/0 g
{GELPING HOMEOWNERS IS WHAT WE Oy

Ned oo) WWW.OCWEN.coM

What should (do if7 get a foreclosure notice?

First, do not ignore them! The review of your Borrower Response Package and the process of foreclogure may proceed at the same
time, You may receive foreclosure/eviction notices - delivered by mail or in Person - oF you may see steps being taken to proceed with

a foreclosure sale of your home.

What if I have questions or can’t make payments?

If you cannot afford your trial period payments and want to keep your home, or if you have decided to give up your home, please

contact us. We may have options available for you to avoid foreclosure:

Call (800) 746-2936 to learn more about these options, We are available Monday to Friday 8:00 am to 9:00 pm ET, Saturday 8:00 am
to 5:00 pm BT and Sunday 9:00 am to 9:60 pin ET. You can also contact the firiancial counseling services listed below for information

and assistance regarding government programs and housing counseling.

IBRP Letter

this communication is Jtom a debt collector attempting to collect a debt: any information obtained will be used jor that merpose,
However, if the debt ig in active bankruptey or has been discharged through bankruptey, this communication is not intended as and
does not constitute an atlenipt to collect a debt.
“NMLS #: 1852
 

~ i

Deed Cy WWW.OCWEN COM

OGWERN

 

Ocwen offers a number of programs to assist you in avoiding foreclosure. Your Relationship Manager will be able to discuss
these options with you in more detail, Here are some of the options:

1. MODIFICATION - A change to one or more terms of the original mortgage agreement, This may include a change in
interest rate, loan balance or term, which may lower your payment and bring the account current.

2, HOME AFFORDABLE FORECLOSURE ALTERNATIVES PROGRAM. (HAFA) If your mortgage payment is
unaffordable and you are interested in transitioning to more affordable housing, you may be eligible for a short sale or
deed-in-liew of foreclosure through the federal government’s HAFA program.

3. LISTING YOUR PROPERTY FOR SALE » By listing yout property, you may receive a sale offer acceptable to both
"-you and to Ocwen. The sale of your property could help you to avoid a foreclosure sale of your home,

4. ‘DEED IN LIEU OF FORECLOSURE ~ If you do not wish to keep the property, then depending on your current
financial situation, Ocwen may accept the deed to the property and extinguish the debt, even if the property is worth less

than the loan balanee. The property title must be clear-of any other liens,

FOR ADDITIONAL ASSISTANCE:

Financial Counseling Services

When you are experiencing a financial hardship, counseling may be a way to help you manage your finances. We urge you
fo coritaét HUD approved agencies to obtain assistance in keeping your home. This assistance is available at no charge. For
specific guidance on this notice or information related ta the Home Affordable Modification Program, ask the counselor for.

MHAHELP.
AUD Approved Housing Counseling: 1-800-569-4287 __www.HUD.gov

© se oo » OPE Hotline Numbers —---— -—--—-- - 1-888-995-4673
Making Home Affordable Program: www. makinghomeaffordable.gov
Fannie Mae Assistance Programs: www. knowyouroptions.com

For Borrowers in New Yorks

The New York State Banking Department website provides detailed information about programs and ‘services that are
available to you for information and assistance in avoiding foreclosure, Please visit http /fwww, banking siateny.us for

more information,

For Borrowers in North Carolina:

The North Carolina Commissioner of Banks website provides resources related to avoiding foreclosure on the “Need

Foreclosure Help?” page, Please visit hity www. necob cowpublie for more information,

IBRP Template
This communication is Fom & debt collector attempting to collect o debt; any information oblained will be used for that
Puipose. However, ifthe debt is in active bankruptcy or has béen discharged through bankruptcy, this commumication Zs nor
intended as and does not constitute an aitempt io collect ¢ debt.
NMLS# 18452
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.141 Filed 09/03/13 Page 133 of 162

id : Cy

HE AXHIBIT 15
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.142 Filed.09/03/13 Page 134 of 162

Cy

Liber, 2696 Page: 1063 Page4of9 | )

:

 

 

 

County of Saginaw } ss

TO? Trott. & Troi, B.C,
_._ 21440 Northwestern Huy, Suite 200, Facningtod His, Mr 48354-2528.

Michael J. Haririgish, ‘poing, first duly sworn, ‘says that he ie the
publisher of THE. SIREH. RUN/GRIDGEPORT HERALD @ newapaper
published tn the English language ‘for the: disseruralion: of local or
transtulifed news and Wileligente of 4 gptiaral character and lagal news,
which Te-4 duly: quelified:- newspaper, end that annexed hareto ws a copy of
a certain ordet taken frort edid neWwepapivr, in: which. the order was
‘published,

September iz. AD 2072 AD, 2042

.,,8eplember 18, AD. 20 AD, 2012

September26, AG202. A BOF

Oolobet 3, AD 2012 __AD 2012

Ae, 2612 AD. 2012

AD. 2012 ___ AG 2012
a AD: QHD ——— AD 2012- co

   
 

‘sett Trek, es a:
ae eH nHeghaay, Soto

anor

 
 
 
       
   

 

 

 

   

 

 

   
 

Subsonbied an Git to before ma this ard day of
Getobet AD. 2042 " .

“Notary Public, Genesas County, hichigan
‘(Atling it Saginaw County

    

 

My Coinmission Sxpras Rebruaty 25, 207%
Case 1:13-cv-13753-TLL-PTM. ECF No. 1-2, PagelD.143 Filed 09/03/13 Page 135 of 162
wD. Cy

 
09/03/13 Page 136 of 162

: Oewen Loan Servicing, LLC wo
\. JPING HOMEOWNERS IS WHAT WE Dorit,’

WWW.OCWEN.COM

 

S@ 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.144 Filed
N

OcwEt
9/25/2012

Nitin M Amersey
5 Appleshire Ct
Freeland, MI 48623

Loan Number: be
Property Address: 5 Appleshire Ct, Freeland, MI 48623

Dear Borrower,
Thank you for submitting your application for foreclosure prevention assistance, Based on our review of the information you:
provided, the following documentation is required to complete the application process. ‘

As of the date of this letter, if you have already submitted the documentation requested below you may disregard this notice.

STEP 1: Please provide a copy of the documents as described in the instructions below:.

~We did not receive the required income documents to Support your self employment income. Please include: (i) a compleie,
signed individual federal income tax return; (ii) as applicable, the business's tax retum; AND (iii) either (a} the most recent signed and
dated quarterly or year-to-date profit/loss statement that reflects activity for the most recent three months OR (b)-copics-of the-bank - -
' Statements for the business account for the last two months evidencing continuation of the business's activity., We did nol receive the

required income documents to support your self’ employment income, Please include: {i).a complete, signed individual federal income

__t8% return; (ii) as applicable, the business's tax return; AND (iii). cither.(a) the-most recent signed and dated quarterly or-year-to-date

profit/loss statement that reflects activity for the most recent three months OR (b) copies of the bank statements for the business
account for the last two months evidencing continuation of the business's activity.. Your Ocwen Financial Form was not legible., Your
Ocwen Financial Form was not legible.,We did not receive two most recent pay stubs that reflect at least 30 days of year to date
earnings for each borrower,,We did not receive two most recent pay stubs that reflect at least 30 days of year to date eamings for each
borrower,
STEP 2: The documentation listed above must be received by 10/10/2012. Failure to provide these documents within fhe timeline
may delay your application process. Please send copies. Do not send originals.
Send a copy of this letter and the documents to the following:

To expedite processing:
FAX TO: (407) 737-6174 #8 CP storem SCAN AND E-MAIL TO: mod@ocwen.com

You miay also mail your application to! .
, Ocwen Loan Servicing, LLC
Attn: Home Retention Department
1661 Worthington Road, Suite 100
West Paim Beach, Florida 33409
If you have any questions, please contact Ocwen at (809) 746-2936. We are available Monday to Friday 8:60 am to 9:00 pm EF,
Saturday 8:00 am fo 5:00 pm ET and Sunday 9:00 am to 9:00 pm BR
PRANAV PATEKAR has been assigned as your relationship managér and will be your designated representative for resolution
inquiries and submission of documents, ,

Sincerely,

Ocwen Loan Servicing, LLC

: . IBRP.-Letier
This communication is from a debt collector attempting to collect a debi; any information obtained will be used jor that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptey, this communication is not intended as and

does not constitute an attempt to collect a debt.
NMLS # 1852
| 09/03/13 Page 137 of 162

C4 Ocwen Loan Servicing, LLC ig
| K ine HOMEOWNERS IS WHAT WE DOITK
i ™ WWW.OCWEN.COM :

auaserne mre resis

2 CW EN :
FREQUENTLY ASKED QUESTIONS

What happens after I submit my financial package?

(age.4-13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.145 Filed

Step] ~ After we receive your financial package, we will review it for completeness, making sure that all of the required information
has been submitted and that the applicable forms are signed and dated appropriately. During this time, you will also be assigned a
Relationship Manager, who will monitor your account during the review process and meet with you as needed to review options or
address issues with your application. You will receive a letter with his or her name and more information about their role when a

Relationship Manager is assigned to your account,

If your package is incomplete, Ocwen will notify you through a letter indicating what documents are missing or incorrect, and we will
follow up with a phone call to schedule an appointment with your Relationship Manager to review the missing documents with you.

Otherwise, it will automatically move on to our Underwriting department for processing.

Step 2 —- Once the package or your request has been certified as complete, your application moves to the Underwriting stage where.
_ your eligibility is determined, We will reviéw your account based on the resolution options allowed by the owner of your loan. If you
indicate your desire is to remain in your home, we will start the review with our various loan modification options, and determine your
‘eligibility for-those programs first, If you do not want to keep the property, or if yiur accotint doesn’t qualify for a modification, we
will review your eligibility for other resolution options that we can offer. The review process typically takes 30 days once all of the
documents are submitted and determined to be complete. , :

Step 3 - If you qualify for one of our modifications, we will send you cither a Trial Period Plan offer or a modification offer
depending on the program. If-we are able to offer you a different type of resolution, we will send you information about the program
"and an agreement to execute. We will also contact you by phone to set up an appointment with your Relationship Manager to review
these documents and answer any questions that you may have about the resolution. If you do not qualify for any resolution options
that we offer, we will send you a letter with information on additional alternatives. .

- How can-E get-an update on the-application process? wes

If you submit a complete Borrower Response Package, you may not receive any notification until your eligibility is determined. The

“most important thing you-can “do is to eusure your Battower Response Package is complete when submitting your request, Our
Customer Care Representatives are available to answer your account questions; however, they will not have any information about the
status of the application while it is being reviewed.

What happens if Tam eligible for a modifieation?

If you are eligible for 2 modification, you will receive a Trial Period Plan offer which will contain a new trial payment amount (this

will temporarily replace your current mortgage payment during the trial period), To accept-the Trial Period Plan offer, you must make

_ your first trial payment by the specified due date. Once you accept, we will suspend or stop the foreclosure process as long a8 you
continue to make your required trial plan payments. ‘

What if !’m not eligible for a modification? . ; , ——

. If you do not qualify for a modification, or if you fail to comply with the terms of the Trial Period Plan, you will be sent a Non-

Approval Notice, In most cases, you will have 30 days to review the reason for non-approval and contact us to discuss any concerns
you may have. During this 30-day review period, we may continue with ally pending foreclosure action, but no foreclosure sale will
‘be conducted and you will not lose your home. ;

If you are not eligible or become disqualified while in a Tria! Period Plan, we still may be able to work with you to avoid foreclosure.
The sconer that you contact us, the more options we may be able to provide you, We urge you to contact us tight away.

IBRP Letter

This conmunication is fiom a debt collector attempting to collect a debt; any information obtained will be used for thal purpose,
However, ifthe debt is in active bankruptcy or has been discharged through bankruptcy, this connnunication is not intended as and

does not constitute an attempt to collect a debt.
NMLS #: 1852
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.146 Filed 09/03/13 Page 138 of 162

 

a r . . ‘by Ocewen Loan Servicing, LLC fe oo
©) H_JING HOMEOWNERS IS WHAT WEDO!IT™__
1 ee | . WWW.OCWEN.COM
QGWEN
What should I do if I get a foreclosure notice?

First, do not ignore them! The review of your Borrower Response Package and the process of foreclosure may proceed at the same -
time. You may receive foreclosure/eviction notices - delivered by mail or in person - or you may see steps being taken to proceed with

a foreclosure sale of your home.
To protect your rights under applicable foreclosure law, you may need to respond to these foreclosure notices or take other actions, If

you have any questions about the foreclosure process and the evaluation of your Borrower Response Package request, contact us at
(800) 746-2936. If you do not understand the legal consequences of the foreclosure, you are also encouraged to contact a lawyer or

housing counselor for assistance.

What if T have questions or can’t make payments?

If you cannot afford your trial period payments and want to keep your homie, or if you have decided to give up your home, please
contact us, We may have options available for you to avoid foreclosure.

Call (800) 746-2936 to eam more about these options. We are available Monday to Friday 8:00 am to 9:00 pm ET, Saturday 8:00 am
to 5:00-pm EF and Sunday 9:00 am to 9:00 pm ET You can also contact the firiaricial courisdling services listed below for information
and assistance regarding government programs and housing counseling, os

. . ; IBRP Letter
This communication is from a debt collector attempting to collect a debt; any Information obtained will be used for that purpose.
However, ifthe debt is in active bankruptcy or has been discharged through bankruptcy, this communication is not intended as and
does not constitute an attempt to collect adel,
NMLS #: 1852
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.147 Filed 09/03/13 Page 139 of 162

KE XHUBIT 17
No. 1-2, PagelD.148 Filed 09/03/13 Page 140 of 162

 

Case 1:13-cv-13753-TLL-PTM ECF

 

 

 

 

 

 

: Gewen Loan Servicing, LLC fo¢
— pre HOMEOWNERSIS WHAT WE DOI T™._ J
BOWEN x
10/9/2012
‘Nitin M1. Amersey
5 Applesttire Ct

Frocland, ME 48628

  

. Loan Number: a owen - eee aay a ‘ . “saat rc
| RrbperiAdiiosye eS ageteahiive CE ReéelandMidgeas ". -

Dear Borrewer,

Thank you for subjiutting ‘yout application for foreclosure prevention assiatynce, Based on our review of the infornation ‘you
provided, the following documentation is tequired to complote thé application process, ;

As of the date of this letter; if you have already submitted the documentation requested below you inay disregard this notice.

STEP 1: Please provide a copy of the documents as described in the instructions below:
-We did not receive two-most recent pay stubs that reflect at least 30 days.of year to date oarnings for ¢ath borrower,
STE? 2: ‘Thé ‘documentation listed above must be-roceived by 10/24/2012. Failure-to provide tliese documents within the timeline
may delay your application process, Please sonil copies, Do ft send originals, seam eetine ttn nin nn ne,
Seni a copy of this Jetter-and.the documents to the following:
, To expedite processing: So
-.- HAR TED 407) 737-6174. ee OR wen “SCAN AND E-MAIL TO! nod@ipewon.com

You may also mail-your application to:

Ocwen Loan Servicing, LLC
Attn: Home Retontion Department
» ,, 1661 Worthington Road: Suite 105
em West Pim Beach; Florida 33409:. +:
ay: g pleas Oewieit-at-(800):746-2936, We are available Moniliy to Friday 8:00 00 pm:
Bfurda 8-00 deitd 3100) ET dihid. Sunday 9:00 anvto'9:00 pm BT. . " mt *00 hme,
- _ PRANAV.DAVERK A Rete: wen astighed as your relationship 1 ager AML be: esiguaterd. te ative fe j

 
  

    

Sincerely,

Ocwen Loan Serviting, LLC

 
  
 

            

WEHICaHON ie aE Ci
Hike pa altenipGng te collect ; i . ____IBRP Let
 Wthe debris tt wative bankeuptcy or hus heen dseharged throng is bap ner ai ovtained will be used or that pase =

does nos constituie an Otley? to collect debs is Contntunication is nog intended as and

ee it 1852
TN te
 

TM ECF No. 1-2, PagelD.149 Filed 09/03/13 Page 141 of 162

Case 1: . ,
t" ( 2 Ocwen Loan Servicing, LLC \ ,
i ‘nd@LPING HOMEOWNERS is WHAT WE DO tT -

13-cv-13753-TLL-P

 
    

‘ha i
0.0 W fe ip - . a . —— esraines
es EREQUENTLY ASKED OURSTIONS |

What happens after I submit my financtal package?

 

Sicp 1 After we receive your finanolal ‘package, we will review it for completeness, making sure that all of the requived information
has been: submitted and that the applicable forms are: Signed and dated appropriately. During this time, you will also be assigned a
Relationship Manager, who will monitor your account during the review process arid -meet with you as needad to review options or
address issues with your application. You will revéive a letter with his or her name atid moré information about their role when-a.

Relationship Manager is assigned to your account,

if your package is incomplete, Ocwen.will notify you through a letter indicating what documents are nilssing or incorrect, and te will
follow up with a:phone call to schedule an: appointment with your Relationship Manager to review the missitig documenis with you,
Otherwise, it will automatically move onto our Underwriting department for processing, ne

Step 2 ~ Once the package. or your requpst hns been certified ax complete, your application Tuoves td the Underwriting stage where
your eligibility fs determined, We will review your account based on the resolution options allowed-by the owner of your loan. Ifyou
indicate your desire 'is to remain int youthome, we will start the review wWith-oulr various loan’ inodification options, and determine your

cligibility for those programs first. If you do nut‘want to Keep the property, or if your account doesn't qualify for 4 siadification, we
witl review your eligibility for other resatution, options that we oan, offer. Tho review process typically takes 30 days once all of the

documents are submitted aid determined to be corplete,

Step_4 ~‘Hf you qualify for one of our ‘Modifications, we will send you either a Trial Perlod Plan. offer or 4. modification offer
depending ox the program. If we are able to offer you a different type of resolution, we will send you information about the program
and an agtgempht to execute, We will also contect you by phone to set up an appointment with your Relationship Manager to review
these dovuinenth anit qrigwer any questions that you may have about the resolution, If you do-not qualify for any resolugon optipns
‘that we offer, we yall send you a letter with dnformition on additional altematives,

-How can I'get an tipdate onthe application pracess?~ ~~~

most imbortaiit thing yout cat-do. i§-to-énbyre- your Borrower Response Package Ja completa whon submitting your request, Our
Customer? Garé Represeniatives ore available ia answer your account questions; however, they will not have any information.about the

status of the applidation While it is being reviewed,

If you sulstnit # complete. Borawer Résponge Package, you may not receive any notification untit your eligibility is determined. The

What happensif J am eligible for a modification?

I f you are eligible for a modification, you will receive a ‘Trial Period. Phun: offer which will contain a new trial payment ansownt (this

wil} temporatityvepiate your cuttent mortgage payment diring thé tial period), To accept the Trial Period Plan offer, you must make

- your first trial payment by the specified due date. Once You bocept, we will suspend ot stop the foreclosure process as long as you
continue to hake your required ial plan payments, oes ; "

. aa

What if I'm not eligible fox a sividification?

If you do not qualify for a modification, or if you fail to comply with the terms of the Trial Period Plan il

ae . me @ Cor A. ria] ox will be sent a Non-
Approval Notize, ia most cases, you will have 30 days to review the reason for noit-approval and contact ust iisouss any concerns
you may have. Durlig this 30-day review. perlod, we may continue with any pending foreclosure action, but no foreclosure sale will

If you are not éligible.er become disqualified, while in a Tridl Period Plan we still ma i id |
ere ing, 1 y be able. to work with you to avoid forect .
The sooner that you. contact us, the siore ‘options we.rhay be able to provide you. We urge you to contact us right avy. sreviosurs

'
4

f

This CORTOTEDIOR Be FFom & debi collector atten Ei i it i BBP Letter
ii ifthe debe tet enh e Gtenipting to collect a debt: any inti fi Tie at ee —
owever, ifthe debt-te in active bankiuptoy oF hes deen discharged through danni a tee Be ie i ve patos.
. does not canstitute aH -Gtlempt to calles: a debt Sm NON Mlended as and

: severe __ AMES te 1852

 

 

 

 

 
 

Case 1:13-cv-13753-TLL-PTM, ECF No. 1-2, PagelD.150 Filed 09/03/13 Page 142 of 162

se J UO
pe Oowen Loan Servieing, LLC

i HELPING HOMEOWNERS IS WHAT. WE DO! 7
i.

WWW.OCWEN.COM

  

What she

First, do not ignore them! The review of your Borrower Response Packags and the process of foreclosure may proceed at the same
time, You may receive foreclosure/eviotion notices - delivered by mail or in person - or you may see steps Being taker to proceed with
a foreclosure sale of yout home. . ,

41m a Hae be

i! . : . .
aid 1 do WT get a toreciosure notlcey

To protect your rights under applicable foreclosure law, you may need to respond to these foreclosure notices or take other actionb, {7
you havé aly questions abéut the foreclosite process and the evaluation of your Borrower Response Package request, contact us at
(800) 7462936. If you do not understand the Jegal consequences ofthe foreclosure, you are also encouraged to contact a lawyer or

housing ecunselor for assistance.”
What if Ehave questions orean’t make payments?

you cannot afford your trial period payments and want fa keep your homo, or if you have. decided td give us your home, please
corttactins. We may have options available for you to avoid foreclosure,

Call (800}-746:2058 15.1¢amn more:ahout these.options. Weare available. Monilay to Friday 8:00 anrto.9:00 pm BY, Saturday 8:00 am
to 5:00 pm BY dnd Sunday 9:00: atn'to 9:00 pre ET You caii'also costdct' the fivancial counseling services Listed below for information
and assistance regarding poyernment programs and housing counseling,

Ts comnagnlagiion is froma debt collector aitant ting fo eo a debts BEE ote
2 hy: i vting to collect a debt; any Information oi ined will be “thar pn
However, if the dabity.in, activa bankruptoy or has boon dische j cmnantodtlon ae peepee
of 20 ae cndrged through bankruptoy, this comu iy
does not consttiute.an atiempt to collect a debe “NM " 800 Is Hot intended: as and

 

 

NMLS th: 1852
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.151 Filed 09/03/13 Page 143 of 162

. f

 

HELPING HOMECWNERS 1S WRAT WE DO! ™

WWW OEGWEN.COM

C) iy V ) Ocwon Loan Servicing, LEC \ a

 

 

 

JOGWEM

 

Ocwenoffeis'a number of programs to assist -you ih avoiding foreclosure. Your Relationship Manager will be able tp discuss .
these options with you in-more detail, Here are some of the options:

1, MODIFICATION ~ A change to one-or more terms of the original mortgage agreement. This may include a change in
interdst rate, loan balance or term, which may lower your payment and bring the account current,

2, HOME AFFORDABLE FORECLOSURE ALTERNATIVES PHOGRAM (HAFA) If your motigago payment is
‘ uneffordable and you are interested in-iransitiqning'to' move affordable housing, you may be eligible for a short sale or
. deed-in-leu of foreclosure through the federal government's HAFA program, .

3, LISTING YOUR PROPERTY FOR SALE - By listing your propesty, you may receive a sale offer aoceptable to both
you and to Oowen, The sale of your property could help you'to avoid a. foreclosure sale of your hoine,

4, DEED AN. LEBY OF FORECLOSURE EE-you do: got wish to keep the property, then depending on your current
financial situation, Odwer.may accept thé dedd to thie property and extinguish ihe debt, even if the property fs worth less
than the loan balance, The property ttle mustbe clear of arly other liens.

FOR ADDITIONAL ASSISTANCE:

Financial Cousellig Seryleas

When you.are experiencing a-finanelal hardship, counseling may be a way to help you manage your finances, We urge you
to contact HUD approved agencies to obtain dssistince in kéaping your home, ‘This assistance is available at no.cherge.. For
“specific guidance on this potice or information related to the Home Affordable Modification Program, ask the counselor.for

MHA HELP:

ss HUD Approved Hensing Counseling: 1-800-569-4287 www. HUD, gov
HOPE Botline Number: 1-888.995.4673
Making Home Affordable Program: wivw.rnaldnghomeaffordable.gov
Fannie Mae Assistance Programs: wiry knowyouroptions.com

For Borrowers in New York:

; The ‘New York State: Bankhig Depiitinent wobsite provides. detailed information ‘about ‘programs and services that are
available fo you ‘for inférination ‘and :assistarice- in avolding foreetésiirg, Pleabe “sit httpi/fwwy banking. stateny.us for
more information. , cot 7 ‘

boa

"For Borrowers in Novth Carolitta:

’ Phe North Carolina Commissioner of Banks website ‘provides resources telated to avoiding foreclosure on the ‘Need
Foredlosure Help?” page. Please visit hierar. necob,zowpublio for more information,

+

7 his comnsunicatton is from a debt collector attenipting to collect a debi; ny information obtained will be et a =
Purpose, However if the debt is in.active bankruptcy or has been discharged through bankegptey, this contnstinication is ror
intended as and does not constitute an ailempt to collect a debt

 

NAT AH R79
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.152 Filed 09/03/13 Page 144 of 162
c) gy

XHIBIT 18

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.153 Filed.09/03/13 Page 145 of 162

wk, ) — Gowen Loan Servicing, LLC (,
HELPING HOMEOWNERS 1S WHAT WE DO! T™.
Wy WOCWEN.COM ;

 

—— ron inert

Mitta. M. Aunoreey
5 Appligshire Ct
Prséiend, M4863.

Loan Number: quae .
Property Address: 5-Appleshire Cs, Freeland; Mi.48623

Dent Borrower, mo . ;
Thank you for submittieg your application. fot Foreclosure preventio’d assistance. Based aft dur review of the information you
provided, sie folle ying dacument Gor is'requifed ta.comhete the appication process. . —

Av of the-date nF thi¢ letter, if yz havowlready gubsnitted the documentation requested below you may disregard this notice.

SEERA; Please provides copy ofthe:doouents as described in the iistrnotions below: oe
” * We did notkecdive:twh most socont pay stubs thay reflect at ‘Teast230 dais of year to date carmngs for cach horower, oo.
- STEP 2: ‘The dogunidutation listed above mist: be received by 10/26/2042. ‘Failare:toprovide these documents within. the tireline-
muy delity your application process. Please send copies. “Donot send originals, -- ce cee
Send a.copy of this.ietier and the dechmiente ta the following!
oe te 6 coe ‘To expedite processing:
RAK TQ: 407)-737-6174 snehk QR ethee SCAN AND E-MAIL TG? tiod( ui

Y6u may also :triatl your application. toz

 

Ocwen Loan Servicing, LLC .
Atte: Hope Retention Department
4661 Worthington Rowd, Suite 100.
West Palm Beach, Flotids 33409 ,
If you have any questions, please. rohtag}- Cowen: at (800) 746-2936. We sre available Monday to. Friday: 8:00 am to 9:00-pm ET,
Satuiday 8:00, ath to 5:00 pm ET and Sunday 5:00 art’td 9:00 pm BT.
PRANAY PATERAR has bug aisigued as your relationship manager and. will be your designated represefitative for resolution
inquiries ‘and submission of documents. . ;

“guns, oo oe ee gee a,

" Gosient Loan Sebviicing, LLC

*Tifls Eapimantcaiion Wi from @ @abt-coldsion anempaig to Saat Tabi: aa roan Dotan A Be se oe
Hate CELOR 78 ati rte aol , any informnarion obtained will be used for that purpose,
However: if the debr it in active haukeuplay or has been discharge Oh Gi} willbe used far shat putpose,

; ! upte anged through. bankruptey, this.communteation is not t i
does not canstitde ar etlempt te collect adobe cnn ion is not tafendéd as and

WAMLS #1852

cere ry .

 
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.154 Filed 09/03/13 Page 146 of 162

co" J OewenLogn Servicing, LLC | ( J:
HELPING ROMBOWNERS 19 WHAT WE DO!"
YAW OCWEN:COM

  

 

 

 

 

What happens after I submit my fwancial pankags?

. eat Jleteness, : sure thet all of thexequired information

-- Afi, 90: or financial paclaige, we well reylow it Soe completoiene, miakcingseuse ta OED UA assigned 2

Sd ce ee on ange
ranchip : » Whio will mnoaitor Jive acconiit Guring. Me Tove ess AO Hee ee ee eaatie shel

Fe vi yO application. Yoiny vel och a Beste Wid cls or her same and, geo infbription se te role wher! 8

Relationship Managet is assigned to your aveount,

. a ee suit d # mised jnconect, ail we will
roaur'package edncontplets, Cowen will notify ou thrciugh a iettex: Indicating whet dont ets Bt ee oT eee ests with You.
Fe Ties phone gal io aohedplé an appataeocat ‘with yout Relationship Manager to review the.riipsing docwinents with you.
“Dthepaige, it wil afomatinally move on to our Uniderutliing department for processing.

- Wn er aves tothe Underwriting, stage where
., Gace Whe ¢ ¢ your-request hag boon. certified as, complete, your application moves to the Underw il
yout. a only i dete. -Gpe-ydll vevien? ou axoenit basi onthe penne ac te aT ae ions of rast loan, ae
Peete ue nansam Aaanteie. tB: Sawtestatt ued vil! the eview with our various ioaa.moc of OPUONS, BA ternane
rnilicate your daaire-is tt temain dir your hot, we will start . account doesn't quality for a modification, we
bidity: for thos : first, Ifyou: do not wwanf‘te keep. the, property, or.if your account doesnt qu ;
ie be aoe Fy for offs sesghation-opttont ‘lint we.G8t offbe, ‘Tite sevieiw popes typically takes 30 days once all of the
documents ate eubsiitted and determined to be-conipiete.
. eg a piehae in Ty] en - . modification offer
Sten. a = 7 tify for one of gar-modifidalions, we will seid you either ‘a ‘Trial Period Plan offer oy a modi heaton |
Sere a aa wwe. are able to: pelfer-yon a. different type of resolution, we will send you. information about the eT ;
and an-agroementt &0. exeguts. We-will bso contact yow'by phone to set-up an appointmpat with, Your Relationshigy Men or fo
these documents, and. answer any questions thut you may have sabput-the resqhition. If you.do aot qualify for ony xegoiution op
that we oy we will nd you meter with iérmatind om adil alternatives,

How can f get do update-on-the application’ process?

 

vs - “ey sscsecscinininPrarton as aIMUt IAN? neceite atiffontion until-your eligibility is determined. The
Feyoa submit a.complete Dorrowst Responue Packagé; you may notaeceive any notification until. your. eligibility is detent pce. “S
ty ‘hnportatt thing you can dd is to engure your Borrower Response Package: ie complete viben siitmitting your zea n
Customer Care Represtiitalives are availuble ta answerryouracconnt questions; However, they will not haVe-any information bout te

_ Glatus ofthe applinatign while itis being gevdewed:
‘Wha¥happene if i am efighle for 4 nyo tification?

' c . “ vas tdsea cs, ag ydS] Te whi " Lo A eee t (this
FE you and aligible dora modification, yo'y-will renglve a Trial Period Plan offer which will contain & Bew trial payment, amount |
. an ey replabe your cyrrent mortage payment during. the rin} period), To adopt the Trial Period Plan. offer, -you must make
your fitst etal payrhont by the specified die date, Otioe you. accept, we: Nv suspend or stop the foreclosure procdss a5 Jong as "you
_ contiuato moke:your requinsd trial:plangayments, ,

Lane thahdfim nok eligible fe armnodifigntion? =, -., |
ig you ale not quality'for @ modification, on if you fil to comply: with the tering of the Trial: Petiod Pion, you will be sent a Non-
Anproval. Notice. In most eases, you will have 30° day's to xevipw tho reason for nonrapproval: and cobtact us to discuss any-concerihs
yoru may have. Daring this 30-day review perind, we my contiiue with any’ pending foreclonns kofion, but a0 forcajosuye sale will

+ bedouilurted, dit you will nottose your Hiéme,

Tfyqu-are not qgible or-become Aisquatttied while ji a Triat Petiod Plan, we stilt may be able to work with-you-to avold fdreclosure,
‘The sooner that you contact Ws, chermaré ‘options we-tiny be ablé to provide:you. We-urge you to contact ns right away.

 

» cee meee inst tern ntt:Shtbetncoty prea sede , ste JBRP Lettor
THE communioallow ts from a A@bi collector alfenpling fo collaci a debs; ‘auy information oblaned will be uséd for thatpurpose.

"+ Suwevar, ifthe debit is tn native bankrupléy-or has been discharged through bankruptey, tiie communication js netintended a3 and
akg not aonstitute.an attempt to collger a débt,
; IMLS Hi: 1852

 
Case 1:13-cv-13753-TLL-PFM ECF No. 1-2, PagelD.155 Filed 09/03/13 Page 147 of 162

  
 

s ) Ocwer LoarServiging, ELC. ( J
HELPING HOMEOWNERS as WHAT WE BO!™
VE 5, 0 a

     

MAW WOCN

tot ube ov 8: process: of foreclosure may proveed at tlie same
ttteak An de them The reviow of yout Borrower Respansé Package and the process of fore fay me
tine voitnopreneive Montboealeuiotot notices - delivered by tall or in-person - of you may soe sleps bein p taken to proceed with
a forcolosuss sale of your home, .

f spl 4 i 0 ford dake other agtions, If

sights under abplicpble foreoliiaure Taw, you mayneed to, ‘espond to theke forg¢losire notices or ake
oe ae oa Se sat tie dorpctomuca gitocnss anit the evaluation of your Borrower Response Package, regis cone us at
(800) 746-2936. Tf you do not understand: the legél. pousequennes of the foreclosure, you. are also encoutaged to con Weyer
housing counselor forassiatancy, .

What ICE have quebtionsor eagy’t make: payments?

} Pyou. caniit afford jour trial period payments and want to keep: your home, ar if you Have deciied to give up

your-home, please’
contact’ ts. We may- haye oplions avai lablefor’ ‘you to avoid: foreclosure: :

Call (800) 746-2936 10 leary iors about these Sphions, We are available Monday to Friday 8:00-am.to.9:00 pm BT, Saturday 8:00 am.

io 5:00 pas BT and Sunday:9:00 am to 9:00 pm BY, You can-lso contfistthe fineeisl Coupssling gorvions listed: below for infomation

gad assittance xepaniiing government progriing ghdthowsing ebtiieling.” ©

oo, . | oo, _..__IBRP Eettor
iit Conununicdtion is. front débr calector atempltig to collect @ debt; any information ohtdined witbe used, for thalpurpost;
However, ifthe-debt is in active. bankruptcy dr has baer discharged ibiough baukruptey, this communication is nol intended as and
does not constitute an aitempt to collect a debt: ‘
. NIMES #: 1852

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.156 Filed 09/03/13 Page 148 of 162

    

\ 2 Osyien Loan Servicing, LLC ( y
HELPING HOMEOWNERS IS WHAT WE:DO!  -
See TWW.OCWEN,.COR

 

-QOWEA,

 

 

Ocwen offors a. nunber of programs to. assist'you in avoiditig foreclosure. Your Relatigriship: Manager will-be able to digonss
these optioris with you.ih nipre detail, Herd ate gome of the dptions:

i, MODIFICATION ~ A chango to dne.or mote terms Of the oti ginal mortgage agteoment, This shay inalude a change ‘in’
{ntexest rate, loan balatae or tery, which may lower your payment and bring the-account current,

2, HOME AUKORDABLE FORECLOSURE ALTERNATIVES PROGRAM (HARA) If'your mortgage payitiont is
'  ynaffordabls and you are. interested i-transifloning: to snore, affordable-housing, you. may be eligible for a short shia or
” deed-inetlen offoreciosnté through the fedex goyeinment’s HAPA, srogram,

3. LISTING YOUR. PROPERTY FOR SALE By. listing your pijparty, you miay receive q. sale offer abceptable to both
you and tf Odwert The salé ef yourproperty-eguld help you to avoid.é foreclosure sale ofysurhome.

4; BRED IN LIBU OF FORECLOSURE ~ If you do not: ish to ‘keep the property, thea-depending; on your eusrent

financial situation, Ocwan atey avcxpt the deed ta the property and extinguish the deb, even if the-propetty it wotth tess...

“ “thew fieloar bilanes: “Thig property Title MSE Baiblear of any flier litte. ~

   

Finanojal Counseling Services

’ “When: your are: experiencing « fitiandial hardship, eoanseling may be a way td help you mianage your finances. We-urge you.
to- contact HUD approved aperities tn obtain-assistancy in keeping your home. ‘This assistandgis available at-n0 chatge- For
“specific: guidance on this: notitg of, information related to-the Home Adfurdatile Modifieition Prvgram, ask the counselor for

~ 0 SBP Approved ‘Housing Counseling: — 1-800-569-4287. ....www.HUD gov
HOPE Hotiine Nuniber: 4-888-095-4673
Making Home Affordable Program! ‘www.nekinghomeaffordabts gov
Fannie Moe Assistance Programs: wwwambwyeuroptions.com

Bor Borrawedrs tte New York;

- aivaifable to you for information and ansistande in-ayoiding foredlosure, Pleads, visit
more infordantion. ,

The "New York State Banking: Department website provides deiziled. information about programe and. services, that are
‘itty: anki s fpr

 

Thé pith Caroliia Comrhissiqner of Banks website provides. resources related. to avoiding, foreslosuré oft the “Need
Poréclosire Help?" page, Pleaze. visit http://www. neeob.guv/fpubli¢ for more informatior,

“Tie parent a pegomece—ettinn fot . ____ BRP Template

his cammurtoations is from.adeht CallectoF aitenphiig io collect & debt; ony information obtained will be used for tint —

purpose, Hewaver, if the debt is. in active bankpuptey or kas bean discharged thrqugh.banlruptey, this communication is not
intended a dnd dogs nol-consiijute an attempt to colléet d debi. |

NUMES# 1852

sme ar Borrowers iy-Nerth Gavolinng. + ~~ co tabet scams eet tht anes sear hinen a
 

Case 1:13-cv-13753-TLL-PTM. ECF No. 1-2, PagelD.157 Filed 09/03/13 Page 149 of 162

oe (J

EXHIBIT 19
-TLL- 1-2, PagelD.158 Filed 09/03/13 Page 150 of 162
Case sT8-cv-13758 TLL PIM ECF Nod Loan Servicing, ELC my
: \ Yirine HOMEOWNERS IS WHAT WE DO(

WWW OCWEN.COM-

SOWER

10/11/2012

Nitin M Amersey
5 Appleshire Ct
Freeland. MI 48623

Loan Number: [EE

Property Address: 5 Appleshire Ct. Freeland, Mi 48623

Dear Borrowers: Nitin M Amersey
We Are Here to Help Yout It is critical that you work with us on a resolution for any issues TORECEIVYE HELP WITH |
that affect your ability to make timely mortgage payments. whether your challenges are YOUR MORTGAGE, YOu
_ temporary or Jong term. MUST ACT BY: 11/10/2012!
anon you respond, the more quickly we can determine whether you qualify for 1, See the instructions.on the
’ Homeowner Checklist

Options May Be Available

The right option for you depends on your individual circumstances. If you provide all required 2. Review:

information and documentation about your situation, we cag determine if you qualify for ® Avoiding Foreclosure
~temporary-or long-term relief. including-solutions-that-may allow you to stay in your home © Frequently Asked Questions

(refinance. repayment, forbearance, iean ‘wodification) or leave your home while avoiding " Beware of Foreclosure Rescue

foreclosure (short sale or deed-in-lieu of foreclosure.’ |
"Por more details, please see thie attachment on Avoiding Foreclosure. 3, Submit required Borrower

Send Us the Information We Need to Help You Response Package:

Requesting help is the first step. Start by providing information and documentation to help us ® Uniform Borrower Assistance

understand the challenges you are facing. To do this, follow the detailed instructions on the Form (Borrower Assistance

attached Homeowner Checklist to complete and submit your Borrower Response Package to Form} (attached)

US, -, 4 IRS Porm 4506T-EZ (attached)

Once we have received and evaluated your information. we will contact you regarding your * Income Documentation

options and next steps. . (described on Borrower

Learn More and Act Now . Assistance Form)

For more information. please see the Frequently Asked Questions and other information — ™ Hardship Documentation

provided with this letter. Ifyou need assistance, contact our customer support team at (800) (described on Borrower

: Assistance Form)

746-2936,
Remember, you need to take action by completing and returning the entire Borrower
Response Package by 11/10/2012,

If you need assistance; contact us
immediately at:

(800) 746-2936

PRANAV PATEKAR has been assigned as your relationship manager and will be your designated representative for resolution
inguiries and submission of documents,

Sincerely,

Customer Support
Ocwen Loan Servicing, LLC

. -|-
This communication is from a debt collector attempting to collect a debt; any information obtained will be used jor that purpose,
Ffowever, if the debt is in active bankruptey or has been discharged through bankruptey, this communication is not imended as and

does not constitute an altenpt to collect a debt.
. WAALS #: 1853
 

Case 1:13-cv-13753-TLL-PTM, ECF No. 1-2, PagelD.159 Filed 09/03/13 Page 151 of 162

     

  

 

fae Pe orimr arora meme
GET STARTED ~ use this checklist to ensure you have completed ali required forms and have the tight information.

     

 

f

Step 1.

CQ} Review the information provided to help you understand your options, responsibilities, and next steps:

C] Avoiding Foreclosure CJ Frequently Asked Questions = Beware of Foreclosure Rescue
Scams ,

 

Step 2

7 Step 3
l

t

 

CQ) Complete and sign the enclosed Borrower Assistance Form, Must be signed by all borrowers on the mortgage
(notarization is not required) and must include: .

Cl] Ail income, expenses, and assets for each borrower ;
C) An explanation of financial hardship that makes it difficult to pay the mortgage
[] Your acknowledgment and agreement that all information that you provide is true and accurate

:Q Complete and sign a dated copy of the enclosed IRS Form 4506T-E7Z,
C} For each borrower, please submit a signed, dated copy of IRS Form 4506T-BZ (Short Form Request for

Individual Tax Returi Transcript) |
(J Borrowers who filed their tax returns jointly may send in one IRS Form 4506T-EZ signed and dated by both

joint filers .

 

Step 4

QO Provide required Hardship Documentation. This documentation will be used to verify your hardship.

 

_ (2 Follow the instructions set forth on the Borrower Assistance Form (attached)

 

 

Step 5

 

ar aie,

Step 6

a a

~ "ET Follow the instructions set forth on the Borrower Assistance Form (aitached)

Q) Provide required Income Documentation. This documentation will be used to verify your hardship end all of
your income (Notice: Alimony, child support or separate maintenance income need not.be revealed if you do
not choose to haye it considered for repaying this loan). :

[ You may also disclose any income from a household member who is not on the promissory note (nun-berrower}. |
__ Such as a telative, spouse, domestic partner, or fiancé who accupies the property as a primary residence. If you
elect to disclose and rely upon this income to qualify, the required income documentation is the same as the
income documentation required for a borrower. See Page 2 of the Borrower Assistance Form for specific details
on income documentation.
(} Gather and send completed documents—your Borrower Response Package—no later than 11/10/2012. You
must send inrall required documentation listed in steps 2-4 above, and summarized below:
e Borrower Assistance Form (attached)
* Form 4505T-EZ (attached)
® Income Decumentation as outlined on Page 2 of the Borrower Assistance Form (attached)
e

Hardship Documentation as outlined on Page 3-of the Borrower Assistance Form (attached)

Please mail al! documents above to us: Ocwen Loan Servicing, LLC, 1661 Worthington Read, Suite 160, West
Paim Beaeh, FL 33409

Fax: (407) 737-6174

Email: mod@ocwen.com

 

 

IMPORTANT REMINDERS:
o Ifyou cannot provide the documentation within the time frame provided, have other types of income not specified on Page

' 2 of the Borrower Assistance Form, cannot locate some or all of the required documents, OR have any questions, please

contact us at (800) 746-2936
Keep a copy of all documents and proof of mailing/e-mailing for your records. Don’t send original income or hardship

documents, Copies are acceptable,
Questions? Contact us at (800) 745-2936

        

 

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.160 Filed 09/03/13 Page 152 of 162

fi

 

i. Why Did I Receive This Package? /
You received this package because we have not received one or more of your monthly mortgage payments and want to help you keep
your home if at all possible. We are sending this information to you now so that we can work with you to quickly resolve any

temporary or long-term financial challenge you face to making all of your late mortgage payments.

2, Where Can E Find More Infermation on Foreclosure Prevention?
Please see the Avoiding Foreclosure attachment in this package for more information, or you can contact Ocwen.com.

3, Will I Be Evaluated for the Federal Home Affordable Modification Program (HAMP) When I Submit My Borrower
Response Package? ; ,

If you are not eligible for a refinance, reinstatement, repayment, or forbearance plan based on the information you provide, we will
evaluate you for participation in the Home Affordable Modification- Program (HAMP). If you are not eligible for HAMP, we will

evaluate you for a non-HAMP Freddie Mac loan modification. ‘

4, Will It Cost Money to Get Help? ;
There should never be a fee from your servicer or qualified counselor to obtain assistance or information about: foreclosure prevention.

options, However, foreclosure prevention has become a target for scam artists. Be wary of companies or individuals offering to help
you for a fee, and never send a mortgage payment to any company other than the one listed on your monthly mortgage statement or

one designated to receive your payments under a state assistance program.

5. What Happens Once I Have Sent the Borrower Response Package to You?
We will contact you within three business days of our receipt of your Borrower Response Package to confirm that we have received

your package and will review it to determine whether it is complete. Within five business days of receipt of your request. we will send
" you a notice of incompleteness in the event there is any missing information or documentation that you must still submit. We cannot
ftuarantes that you will receive any (or a particular type of} assistance.

Within 36 days of receipt of a compleie Borrower Response Package. we will let you know which foreclosure alternatives. if any, ave
available te you and will inform you of your next steps to accept our offer. However, if you submit your complete Borrower Response
~~ Package less than 37 days prior to a scheduled forectostiré sale date, we will strive to process your request as quickly as possible, but
you may not receive a notice of incompleteness or a decision on your request prior to sale, Please submit your Borrower Response
Package as soon as possible,

6. What Happens to My Mortgage While You Are Evaluating My Borrower Response Package?
You remaln obligated to make all mortgage payments as they come due, even while we are evaluating the types of assistance that may

be available.

7, Will the Foreclosure Process Begin If I Do Not Respond to this Letter?
If you have missed four monthly payments or there is reason to believe the property is vacant or abandoned. we may refer your
mortgage to foreclosure regardless of whether you are being considered for a modification or other types of foreclosure alternatives.

8. What Happens if 1 Have Waited Too Long and My Property Has Been Referred to an Attorney for Foreclosure? Should I

Still Contact You?
Yes. the sooner the better!

9, What if My Property is Scheduled for a Foreclosure Sale in the Future?
If you submit a complete Borrower Response Package less thar 37 calendar days before a scheduled foreclosure sale, there is no
guarantee we can evaluate you for a foreclosure alternative in time to stop the foreclosure sale, Even if we are able to approve you for
a foreclosure alternative prior to a sale, a court with jurisdiction over the foreclosure proceeding (if any) or public official charged

with carrying out the sale may not halt the scheduled sale.

10, Will My Property be Sold at a Foreclosure Sale if I Accept a Forectosure Alternative?
No, The property will not be sold at a foreclosure sale once you accept a foreclosure alternative, such as a forbearance or repayment

plan, and comply with aif requirements.
 

Case 1:13-cv-13753-TLL-PTM. ECF No. 1-2, PagelD.161 Filed 09/03/13. Page 153 of 162

VW) . CY
EXHIBIT 20
Case.l3-cut3753-TLRIM, ECF No. 1-2, PaggiD.18¢. Elled 09/03/13 Page 154.of

-) —

1

6

2

 

eon Sewen Loon Servicing, LEC
e ) HELPING HOM

      

GOWEN
October25, 2012 .
‘Nitin Mf Amersey
8 Appleshire. Ce ot a
Freelanid, MI 48623
amr aat ra en itee Qa = Pre Serventrcses wages ©
io Property Addesos 5_Appleshire: Ct :
pO Propland, Mik 4604
Important Information Regarding:
Your Medification Application
Dear Geen Customer,

Cowen would likevto tako'this opporttinity to thank: you for submitting ay application for assistangn We value yout business and
- Want to aasuire you that we ave processing your raquest wg quickly as possible: To berter sexve you during this tit
_ Vided'ansivera (o-the most drequently acked questions fromvoustoinert who lsive similarly applied for aggistance,

     

What tappons after I submit my financial pat ge?
Step | ~ Thio-fitst step ini the. approval process is, to hava.your finanginl package reviewod for completeness. We must make sure
thet all of the required information hds heen ietibyaitted and the applicuble ferns. org signed and-dated appropriately: After you
submit the finpnolal pavkaya, there: is. ne: need th dal. us to obeok on it, If Your package is Ingompleté, Qciven will netify you
fhrough 2 Iettor‘indicating. what documeyts art xnleying or:inconebt, H'your package is complete,-it will futomaticdlly move to
un(lerwsiting, :

Step.2— Orive the Bick L
oligibility is detonnined, Hf you have Applied sor assistand¢-on yopr prittiaty residence end ‘your lob ik a first Tien, Gowen will

fixst look. to. qualify you forthe-tederal governtasnt’s Honte Affordable Modification Peogran). (CHAMP), Tf we detentiine that you -

    

g modification. Ifyou de-not-quallfy for elther ah HAMP or Oewen-tdodification, we will send you alates witha
dtforation.on ultematives;

Btep.3 ~ Tf'pou quality, we will gehid you sities. @ "Trial Period Plan offer or a modification offer depending-on she program. ‘Tt
takes approwtntatly 20 days tors toxoomplete our review.

Aow.can [get an updete-o the applloaitin ptocess?

TE you submit 2 complete financial Peolkage, you may not receive aay wotification until your slipibility fe detertined. Tt. nok
necessary to-oni] ‘us th obtain an update as your request will be prooessed.in the order ix which itis seeelved. The most important
_ thitig you. cart do is to siisund yout fiienotal package, iscomplete when ‘submitting yournequest.

Will a foreclosure ocourif participate in the Home Affordable oditieadion program?

 

This éotimiuiieation is from a debt enllector witempting to collect a debts any hijormation abiained will be dacdjor hat pane.
However, if the doby tz fi dotive bonkeuptewar bas been discharged through bantruptey, this communtication a liad) as
and digs yot'cons|ttute an.attemprto collect a deb.”
. NMLS# [832

a say

 

é hes been caaiiiet as complete, -your application movas to the underweiting stage where your |

aye havepro-

de weet not quailty. for th Ae _nanification, we. sill, atterapl.to qualify you.for.an Qcwen apoasomed snodiitation. pogtim .
Sear aa aiepalionly rd pl ee ie: sh levestPoust dilly or eeond teh mavigowe you may atilk gualify for al .

 

 

wo
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.163 Filed 09/03/13 Page 155 of 162

on 7

A ae . Oawen Loan Seruicing: ELC
ae 3

While we consider yaur request, we will wot initiate 2 ew foreclosure aotion und we: will not move dhead with tis. foreclomure
aaleon an adlive foreclosure as:long ag-ws have xeveived all remutired documents and you have met the sligibility reqnizements.
Wl te belp-to- speck to on Ocwen. Ropresbntative?

‘We khiow vote shi Ie valuable, sd we dy not -want-yon to fhel the need to follow-up via phone. If you call us while. the package
ta Being prowessed, the representative will not have samy new information. Please rest assured onr representatives ars working
ditigentiy te proses your application. .

We aire dpinrnitted ty helping you.ratain-your home. That'mwhy we are curently evalsbting your miorgage for tligibility in the
Home Affondatls Mediibation Progam. (“HAMP*) which would-modify the terms of your loan and make your manigage.
“payments sore affordable. If your loan bas beep praviously referred to foreclosure, we will continue; the foisclosure proces
while. we gvehyate your Ia for HAMB, Rowoyer, a0, foreclosure. vale will be conducted and you will wot Tose your home

  
      

during the TIAMP evalipeion,

‘HAMP Weibility
ht yon a¢e-elielble fox AMP, you wil-apfertato:a:“tilal perlod?: You wilt receivers Trial Portod Pian. Nondewhtel will’ “~*~
éonthin 4 new trial payment amount (this will temaperarily replace your current mortgage payment during the HAMP
‘trlal period). To, accept the Trtal Perio# Plan, you rowst make yout ilrst t¢idl payment by the spenilied due date. Once you
aecept, we will Halt the foreclosure pracess as long-as.you continue to meke your reyulied teal plan payniente,

4

& IF you. do not quallfy for HAMP,-or if'you fail to. comply with the terms of the Trial Period Plan, you will be sent a Non
Approval Notice. In most cases, you will have 30 days to setiew the reason for ndnrapproval! and bonta.s us te discuss any
Congas you may have, ‘During this 30-day review! paridd, we may conthing. with thé pending forediomure action, but no.
foreclosure gale willbe condtivied and you. will not lose your home, of .
~ LnportantDo viet igninge-auyfonedlpnirematteys ne
The HAM evaluation and the procesd of foreslosus® jh pidceed at the. samme dme. You. may reseive foreelosure/eviction
"notices ~ deliveyed by mall or in pereon ~ or you-thay see steps being taken i. proceed weit a foreclosure gale of-your home,
While you wilt not lose. your home, during the HAME evaluation; fo protect Four tights wader applicable Yoreslomira law; you ~~
Hay deed to respond to these foreclosure nofices or take other actions, If you have any questions about tis foreclosure process
aud the evaluation of your HAMP piquést, .contactus at (BOL) 746-2936. If you. do not understand the legal cansequontdes of the
foreclosure, yon areslse encouraged to eontasta lawyer ar housing counselor tr assiitancé,

Questlons
Call (B00) 746-2936 if you cannot affordto make-your tla! period payments, byt want to reitidin ia your hotha. ‘Or if you have
‘decided to leave yourhome, contact-us—-we have other options thal may be able to kelp -you avoid forgulosurs, We ame available
‘Monday - Reiday 8:00 ant fo 9:00 pm BT, Selurday $/00!am to 5:00 prrETend Sunday 12:00pm to 9200 par BT.

Sincerely;

 

PEEPING SOMES WAERS IS WHAT WE DOL Do

  

When sou ant akporisicing 8 financial hatdship, cOUNMSUNE iay hee way (0 help you manage your finances, We urge you to
sontact HUD approved agericies to-obtain astistance in Zeepiix-your home. This abaistance 3 available af n0 obarge. For specific
guidance en thitnotice or information related to the Home Affpidable Modification Pingram, .adk’ the cdunselur for MHA HELP.

- RED-Approved. Housing Gotineelings —1-800,469-4287 wow, HUD:gov-
HOPE Hotline Number: * 1-888-905-4673

 

‘This comtuiileation & froin a dat collector altempilag to qollect a debb: any t ; inedd will. or Dat ri
pmirainica ion i collector altenspting lebi; any igfarmation oblained will be used for Hat purpose.
Howeveh, the deb 13 th aotue barkript¢g or NaS been discharged through bankruptcy, this conminication is not intended as’
. anid dates notaonstitule ti attempt to collect a debt. i
, . ae puss AMES #18352

 

wept

 

 

 
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.164 Filed 09/03/13 Page 156 of 162

» (y

EXHIBIT 21
Case iia ECF No. 1-2, PagelD.165 Filed.09/03/13 Page 157 of 162
| (J

 
 
  
 

a I2N33244

Fa Le Mu

. L-28 SEAL htt bu ehahunin
 OMAGHAEN DoeleK. Rage OT Desire
. Optever 28, ota 7

   

 

hae LEAN THANSein rae
tint oe Bay «che
freal 2 on am
J18t99F62 Amarsey- FG
SHARPER DRED ON MORTGAGE SALE

 
 
  
  

Dy San a eee ie eS Micha wh addeoss WI aT Sens
the first perf, and aors an Mortuoge Corupvatlon,. whose address ts & A reine
#200, Fatnils nH iti a5 , paity 6 ‘ aon puch ul HG wr),

B ’ ues ue npriBaee Paitin Mi Amersey. A Single 5

   
     
   
 
   

ee toate ein iu colatv-records, Sli¢hivan ai
VHERBAS, sald mon gngeaomanned ipower oFsate wivichiling batons aporattin By reasoner doftaule (nitfie eandhion el of sald

_ ato

the co no suit orproupedinge at law ot th equily huve:beon, Instltuted ¢o reepver thecdabreccured by-sald mfprigage or any part
Creo a

WHEREAS; by jnue ot sald power ofqule, amt uraunac eh abate of die eae of Michigan ia “ee pee ans ‘end provided. a

ie unus,

   

   
   
  
 
  

   
 
 

       

   

 

Hadieowas duly pulltahed and agony torent was duly: posted fi x eon p to; ald mONDRES,
thar heabldp 4, Gt eomG fat ofthein, would: bé-ndld al. 10: on the 12h dy oF Octal iO Lad ouitied fa
oCutob A at miblfo.yondue, dar bolig the plage 3 rolling ts Ghoul Gant sa au County where

 

ai co ee re 1 did, avon the fk ‘Rr sileat public vend
, WHE nittowsald noftes | did. avonthe is Jas afore epost fir aiilg-a pal io Fondue the daid lands-and tenements.
8 trerofitall sie alte a psa loa oan hs tine Jenetenta.to the canes or he sin oft

s 57), hae heliig. ite Highbét bla therefore andthe
phdedoy;. an
a secur Iv thee

graliteg AUB
eg ants: ns: Saati County, Michwan, more partnviarly.
5 cesiice std at eomitnly. Rive a ab ae a ve mm ,

$ Apples eg oc eeittte nn eet Co

Proper Poreed 16
Bt: ene perty may by: leeat hy of fanntind of afar qparation. Generally, acoupted agelouttural: and tianagemont
oes;

oe
at praaties, uh may parsrotenolee, dust, odors; and other assoctated conditions, may be-used and-are‘protected by iho Michigan right:
ath L

wi = Midiy, this Indenture Witnessdth, That tthe Deputy Shorktf: aforesale by virus ofa ‘and purduantte. Ahe-statute tn ‘auch cage made.and

& provided: sind in consideration of the spit ‘of mbney so paid affrevald, have granted, conyoyed: bargained aiid abld,-and by shis dead
ao print. ate , bargatni. avid sell wild the grarites, (ts Biecodsard antl asia, Torrey, ail: ts 66, Bt, lifle.cied Intoreet, WhiOh Hie
said Mortzagor(s) hac in'said fe Tan and tenements and every part Ty heeoh von the: 2008: thet Gotng the date af said

& miongaph, Br atany tbe ¢ és, fo have anid to fold the-sald fatid§ stuf Lenennts arid vary aurt therdol to theaald geantes; its
CSAs stiekess Tg aitd-sittigns forever, to thelrsolé and-only. use, benefitand i botigaltiroveh ad fally and absolitely as 7, she Deputy Sherlif
aforesaid, undyr the nustiorlty aforosald], might, could or ougiit to saif tho-zems,
IN WITNESS WHEREOP, | Have’ Hioreunite sot mv liane aad seal, thse aay: first bowie wellten,

 
  
    
  

   

 

 

  

 

Benuty Sheri? in.and' for tho County of Ssglonve

STATE OF MICHIGAN
COUNTY 08 SAGINAW

phi latory: Publis i and for: gid Gounty-of Sunline ame
ard ee lertif.of sald: , kniqwn to ino to be dhe individual described.

Line
ibove convayaitce, ane Whe dcknowledged that she/he excoule the sane: ticbo hor/lits fté8.act arid déed as

    
 

ane sulted
stiol Deputy Sh renii;

  

 

 

ie

Notary ii Saghnawe Conny; sehen
My commldalon anqieaa:  * “ad . 7 qe "y
Acting Inge county, of Sagstia 8
THIS INSTRUMENT 18 EXEMPT PROM COUNTY TRANSFER TAXPURSUANT TO IZU.SG. 1452(0) and MCL 207,505(0); iy
THIS INSTRUMENT 18 EXBMPT PROM STATE TRANSFER TAX PURSUANT TO.J2U,SC, 1452(0); MCL-207.505(e)zand gs
MOL 207 2
nary 08 iB
a Préidie Mac (NC) #S213i2809 42
| é nay serene ‘ &
an o af 49, 201
wy GaN ennunigelon enpiter uly

%
Case 1:13-cv-13753-TLL-PTM. ECF No. 1-2, PagelD.166 Filed 09/03/13 Page 158 of 162
Liber: 2605 Page: 1061 Page2of9 ) ( j

318199702 Amarsey -FG J oo oo Fridihe Mao (Ot) #52134 2809
EARIbIEA « Propitly Bisatripilen

Cit 64, The Grove at Apple Mdountaln, aocording toile Nfaster Lised sécorted fh Libtr 1980.0n Payor 6 itrwugh 298, Sa
soanre expe 6 eountatn, aorording toile Master:Eeed sécorited fi Libér 1980.0n Pages S08 through 20
County Records, and designated Sayinany County Condotti tut Pika. No $1 togetfier witilic Riahs in inertia Linke
Elements, a5 set forth {n dia above: Master Lioed and ay-deseetted In Act $9°6F the PublloAciiof I576-us amapnded
 

Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.167 Filed 09/03/13 Page 159 of 162

 

 

 

 

 

 

Original - Court + Pla
Approved, SCAG : ‘at Cony * Defendant : aad con fam
STATE OF MIGHIGAN CASE NO.
70th JUDICIAL DISTRICT 1790.

JUDICIAL crRCUTT SUMMONS AND COMPLAINT | 13-1199-L TG)

COUNTY PROBATE SrA -Packy .
Court address ~ ¢ Court ialephone no.
11LS. Michigan Avenne, Saginaw, MI 48602-2019 , -

. Ajchigan Avenue, Saginaw. B.A-De- by (989) 790-5562
aan name(s), addrese(es), and telephone nofs). Defendant's nartie(s), address(es), and telephone no(s}.
Nitin M. Amersey v Ocwen Loan Servicing, LLC, c/o Resident Agent,
3 Appleshire . CSC- Lawyers Incorporating Company
Freeland, Michigan 48623 . 601 Abbot Road
(989) 414-1407 East Lansing, Michigan 48823 (877) 858-3855

 

Flaindiffs attomey, bar no., address, and telephone no.

Jerome D. Goldberg, PLLC / Jerome D. Goldberg (P61678)
2921 E. Jefferson Ave, Ste 205, Detroit, MI 48207

(313) 393-6001

Kathy H. Murphy (P51422) .

P.O. Box 51164, Livonia, MI 48156 (734) 578-1887

 

 

 

 

 

 

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued. a
2. YOU HAVE 21 DAYS after receiving this summons to file a written answer with the courtand servea copy on the other party
ortake other lawful action with the court (28 days if you were served by mail oryou were served outside this state). (MCR2.111{C))
3. Ifyou donot answer ortake other action within the time allowed, judgment may be entered against you for the relief demanded
in the complaint. :

“bb 1S ROR

*This summons is Invalid uniess served onGr before its expiration date, a
, This document must be sealed by the seal of the court,

[COMPLAINT] tnstractidn: The followings information thats required to bein thecaption af every complaiit enlists be-completed
by the plaintiff. Actual allegations and the claim for relief must be stated on additional complaint pages and attached io this form.
Family Division Cases es
(_] There is no otherpending or resolved action within the jurisdiction ofthe family division of circuit court involving the family orfamily

members of the parties. vy

(_ An action within the jurisdiction of the familly division of the circuit court invoiving the family or family members of the parties has

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ been previously filedin ~-Court | |
The action Clremains  (Clisnolonger —_ pending. The docket number and the judge assigned to the action are: } 3
Docket no, dudge SBarno,
= =

General Civil Cases _ ae

i] There is no other pending or resolved'civil action arising out of the same transaction or occurrence as alleged in the complaint.

["] A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
been previously filed in Court.

The action . [remains E}isnolonger = pending. The docket number and the judge assigned to the action are:

 

 

 

 

 

 

 

 

 

 

 

Docket ne. dudge Bar no.
(VENUE | ta

Plaintiff(s) residence (include city, township, ocwillagey’ y tte *e Defendant(s) residence {include city, township, or village}

Freeland, Saginaw, Michigan . wh woth Je ; State of Delaware

Place where action arose or business conducied a 4 ny *

County of Saginaw, Michigan * nan ne Cy, ie
06/06/2013 Sey pe a gE PEEIY 22.
Bate af A gel lee’ 52S Signature ppettomey/plaintit

Ifyou require specia! accommodaticis to Usé'the court because of adisability or if you require a foreign language interpreter to help
you fully participate in court proceedings; please contact the court immediately to make arrangements.

w

NC 01 (3/08) SUMMONS AND COMPLAINT: “MOR 2.102(8}(11}, MCR 2.104, MOR 2.105; MOR 2.107, MCR 2.443(CK2Ma), i), MCR 3.208(A)
Case 1:13-cv-13753-TLL-PTM ECF No. 1-2, PagelD.168 Filed.09/03/13 Page 160 of 162
 

 

_ 3% You have the right: toa 2 jury trial If you do not. dy Inand a jury trial and pay the required jury fee in your first defense response,

“4

“Case 1:13-cv-13753- TLL- PTM ECF No. r 2, Pagelb. 169 Filed 09/03/13 Page 161 L of 162

‘Zz

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STATE OF MICHIGAN ; :
JUDICIAL DISTRICT a SUMMONS : 2
70th DC Saginaw ze Land Contract bead Vr. 3
_ Court address " oo Court telephone o . ana
1 5 Michigan Ave, ‘Saginaw, hil 49602-2018 ; . ce ee 889. 790 5382 ‘
a f Plaintifs name, adaress, and erepRORe ho. ; . Pantire atiomey; bar no., address and tiephone no. -
Federal Home Loan Mortgage Corporation. "5 Danald J King P55356.
. : Trott & Trott, P.c.
‘| 31440. Northwestern Hwy Ste 200
Farmington Hills, M! AbSS4 5472
248. 123. 6452 | .
vo . - If you require special accommodations to use ‘the court
Defendant's name, address, and telephone no, | because of a disability or if you require.a foreign language.
‘Nitin M Amefsey and all other occupants, .. | _. inferpreterto help'you fully participate in court proceedings _-
SAppleshire Ct. | please contact the court Immediately tc to make arrangements
‘Freeland, Ml 48623-8976 a :
T&T #318199E03 mo, - . {| . - 2 Rental unt eviction a
Property situated in Township of Thomas oe oO Land contract forfeiture
NOTICE TO THE DEFENDANT: In the name. of ihe people of the State of Michigan you are notified: . woe ee
C7 to.recover possession, after land contract forfeiture, of _ of

1. ‘The plaintiff has fed a complaint against you and wants [1 amoneyjudgmentfor st : oe
. G2) to evict you from re Coe

 

. ‘Address or description of preries
| 6 Appleshire Ct
. Freeland, MI 48025-6016 -

 
    
 

 

 

 

  
 

  

the edniens apaie, ~K

you'will lose this right. .

4, If you are in district court on time, you will have an opportunity to give. the reasons why you feel yau should not be evicted.
re witnesses, : regelets, and other necessary papers with you.

¢ not jn disf frict court on-time, you. may be evicted without stone lapel agaist you, co - ;

, "This document must be sealed iby the ‘al ofthe court.

  

 

. Court clerk
“The certificate of matling apples to- landlordtontant cates only. ;
CERTIFICATE OF MAILING BY count. ,

 

 

 

#
j

 

i :

. 1 certify that on this sate J served @ copy | of this summons sand the’ com p aint and: fouir id atechmeny ‘on ‘the. dete fants by first

ei elr last-known addresses as defined in MCR p1O7(CKQ ; a

bedi pas

  
  

; sa yet)

aint. and required attachments: on. vthe defendants by frst
R 2. TO7CCNS) i-have attached a receipt of malting fr from. the: os

ee . Pie ek a . oe 7 Ey a free: : : . ‘ll
gt RIG? ty bel d ah é hued isn ipn nme oe

  
  

post office,

  

 

“Date Planiif signature — —
i gendiord, a "MCL 600.5736, -
are ec Landiady = == MOR2.108, MOR 4201(C), NOR A2tHE)

—

| oe es
DC 104 (3/08) eusawons, LANDLORD-TENaNT TEL

 
  
   

RECOVER POSSESSION OF

  
 
 

 

# hacen"

fon DC-Saginaw yw |. 4 cp PROPERTY.

 

 

 

 

 

 

 

 

 

 

 

 

” Court address |: coors ; J Lo 3
“411i Michigan Ave, Saginaw, hit 48602- 2019 oo mA md: f A J Oe , a
Plaintiff name(a), address(es), and telephone no.(s) , Delendant rameter and Saarastied) A
Federal Home Loar: Morigage Corporation oR 1 i. ‘Nitin M Amersey and.all other occupants. , ar:
j a . , ' YY | | SAppleshire Ct = 2 4
Freeland, Mil 48623-6016
yy, ; TAT #3181 99603. m
ott & Trot, B.C. no., address, and tefephane no. J Property situated in Township of Thomas. . _ ¥
.. | Donald J. King P55358, Primary Aitorey - ee 3
‘| Thomas A. Balinski P41771 . . ge meen a Ras P4470) ) re
34440 Northwestern Hwy Ste 200 ~ 2 4 ay if Gr en PLLC - —_ a
‘| Farmington Hills, Mi 48334-5422 - + -[ >’, | Home Legal Group. ae 4
248.723, 6452 . | 3050 Union Lake Rd. Sie. SF : co
.| Commerce Township, M MI 48382
+1 (248) 462-3021
The plaintiff states:

1. ) There is-no other pending of resolved civil action. arising out. of the: same transaction or occurrerice alleged in this complaint: -

GA civil action between these parties or other parties arising out of the transaction or occurrence alleged | in this complaint has been
previously filed in m Court. The docket number and assigned judge are . . ; .

- The'action - O remains oi isnolongerpending, =“ ey Hf pe

, 2 Attached to this complaint is a copy of the lease or occupancy ayreement, if any, ure we possession is claimed, ‘and a copy of ©
‘, . the notice to quit or demand for possession showing when and how it was served: no .

a : ®. The person entitled to possession of the property described oe
in.the attached notice/demand ‘Glas follows: see the attached Sheriff's Deed, recorded on Octo 26, 2012 in Liber, 2605 on Pee,

     
   

 

   

 

 

 

; ‘ , 10§9,in Saginaw. County Records is the Plaintiff as referenced above...
Le f The lefendantis in possession of the following. portion of the. property: all ofthe above captioned property _ Coen de .
a. “ee ; rn %

- 4 LT 1€:plaintiff has a Tight to possession of the Property.» because: : .
ae O @ilease expiredon | . Ob tenancy terminated byn notice to quit ~ t
» . 1 cease terminated: per provision in Tease (para no. ), Od. defendantis a trespasser. Explain in space beneath item f° oe
B BH e. forcible entry made or possession held by foroe afier. peaceful eniry. - LBB et .
* : (3) £, other: So

 

Describe in detail how the traspass ‘occured or how the premises are being iHegally rel ‘State that no > Tawtl fonancy existed between nthe parties in
"the time that has passed since the trespasser took possession, Defendants are holding over after the expiration of the redemption-period: . -.
- following a mortgage foreclosure sale. A 9D Day Notice to Vacate letter was mailed to the defendants in.accordance with P.L. 147-
22(702) (See attached). ‘No lawful tenancy existed between the parties in the time that ha. passed since the trespasser took
possession. -

O16. (lf applicable) The tenancy involves reguiated housing operated by or under rules ofa governmental unit, The rule or ew under .
which the tenancy is ended is _

1 7. The Plaintiff dectares that this residential property was kept fit for the use intended and hes been Kept in reasonable repair during» a
sv... the term of the lease. . Lo st ; #
GV 8. The defendant remains in possession of the property. Ce ag a :
9, Plaintiff asks for a judgment of possession and costs.
- O 10. The Paint demands a ary trial.

 

   
 

 

 

   
   

i [ SUPPLEMENTAL COMPLAINT |:
fe

Oo. Mt Capo is made and and judgment eeu for for:monéy: sed oaint the ident as

“rl bps he

 

 

= MCR 2. 2.413(0), MCR 4.204(8), MCL

DC 402e (1/12) COMPLAINT TO RECOVER POSSESSION OF PROPERTY eoou.s7ia

   

 

 
